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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:parkerwaterandsanitationdistrictvreinno23sa1412024co71november4,2024"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2024 CO 71&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Parker Water and Sanitation District, a Colorado special district&lt;/span&gt;, &lt;span class="ldml-role"&gt;Applicant&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt;: and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Meridian Metropolitan District, Arapahoe County Water and Wastewater Authority, East Cherry Creek Valley Water and Sanitation District, Rangeview Metropolitan District, Town of Castle Rock, Cherry Creek Project Water Authority&lt;/span&gt;&lt;/span&gt;, and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;South Metro Water Supply Authority&lt;/span&gt;, &lt;span class="ldml-role"&gt;Intervenors&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellants&lt;/span&gt;&lt;/span&gt;: &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Kevin G. Rein&lt;/span&gt;&lt;/span&gt;, in his official capacities as the &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;State Engineer for the State of Colorado and Director of the Colorado Division of Water Resources&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Colorado Division of Water Resources&lt;/span&gt;&lt;/span&gt;; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Corey DeAngelis&lt;/span&gt;&lt;/span&gt;, in his official capacity as the &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Division Engineer for &lt;span class="ldml-cite"&gt;Division 1&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-role"&gt;Appellees&lt;/span&gt;&lt;/span&gt;: &lt;/b&gt;&lt;b class="ldml-bold"&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;City of Aurora and City of Greeley&lt;/span&gt;, &lt;span class="ldml-role"&gt;Intervenors&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellees&lt;/span&gt;&lt;/span&gt;: &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 23SA141&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;November 4, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="826" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="826" data-sentence-id="838" class="ldml-sentence"&gt;Appeal
 from &lt;span class="ldml-entity"&gt;the District Court&lt;/span&gt; &lt;span class="ldml-entity"&gt;District Court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_838"&gt;&lt;span class="ldml-refname"&gt;Water Division 1&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;Case No. 21CW3046&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Honorable Todd L. Taylor&lt;/span&gt;, Water Judge&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_961" data-val="2"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="961" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="961" data-sentence-id="974" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-role"&gt;Applicant&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-lawfirm"&gt;Hoffmann, Parker, Wilson
 &amp; Carberry, P.C.&lt;/span&gt; &lt;span class="ldml-entity"&gt;Jefferson H. Parker M. Patrick&lt;/span&gt; &lt;span class="ldml-entity"&gt;Wilson
 Kathryn M. Sellars&lt;/span&gt; &lt;span class="ldml-entity"&gt;Daniel P. Harvey Denver&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1144" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="1144" data-sentence-id="1157" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Intervenor&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt; Meridian Metropolitan
 District&lt;/span&gt;: &lt;span class="ldml-entity"&gt;Carlson, Hammond &amp; Paddock, LLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Mason Hamill&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Brown Denver&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1293" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="1293" data-sentence-id="1306" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Intervenor&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt; Rangeview Metropolitan
 District&lt;/span&gt;: &lt;span class="ldml-entity"&gt;Hayes Poznanovic Korver LLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Eric K. Trout Denver&lt;/span&gt;,
 Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1435" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="1435" data-sentence-id="1448" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Intervenors&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellants&lt;/span&gt;&lt;/span&gt; Town of Castle Rock&lt;/span&gt; and
 South Metro Water Supply Authority: &lt;span class="ldml-lawfirm"&gt;Lyons Gaddis, PC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Madoline
 Wallace-Gross Longmont&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1606" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="1606" data-sentence-id="1619" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellees&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip J. Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Christopher R. Stork&lt;/span&gt;, Senior Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;
 Denver, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1753" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="1753" data-sentence-id="1766" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Intervenor&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;&lt;/span&gt; City of Aurora&lt;/span&gt;: &lt;span class="ldml-lawfirm"&gt;Hamre,
 Rodriguez, Ostrander &amp; Dingess, P.C.&lt;/span&gt; &lt;span class="ldml-entity"&gt;Austin Hamre&lt;/span&gt; &lt;span class="ldml-entity"&gt;Teri L.
 Petitt&lt;/span&gt; Englewood, Colorado&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_1910" data-val="3"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1910" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="1910" data-sentence-id="1923" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Intervenor&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;&lt;/span&gt; City of Greeley&lt;/span&gt;: &lt;span class="ldml-lawfirm"&gt;Welborn
 Sullivan Meck &amp; Tooley, P.C.&lt;/span&gt; &lt;span class="ldml-entity"&gt;Carolyn F. Burr&lt;/span&gt; &lt;span class="ldml-entity"&gt;James M.
 Noble Denver&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2061" class="ldml-paragraph no-indent mt-2"&gt;
 &lt;span data-paragraph-id="2061" data-sentence-id="2073" class="ldml-sentence"&gt;No
 appearance on behalf of: &lt;span class="ldml-entity"&gt;Arapahoe County Water and Wastewater
 Authority&lt;/span&gt;, Cherry Creek Project Water Authority, and &lt;span class="ldml-entity"&gt;East
 Cherry Creek Valley Water and Sanitation District&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="2250" class="ldml-paragraph "&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="2250" data-sentence-id="2263" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Berkenkotter&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, in
 which Chief Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Márquez&lt;/span&gt;&lt;/span&gt;, Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Hood&lt;/span&gt;&lt;/span&gt;, Justice
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Gabriel&lt;/span&gt;&lt;/span&gt;, Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Hart&lt;/span&gt;&lt;/span&gt;, and Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Samour&lt;/span&gt;&lt;/span&gt; joined&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="2250" data-sentence-id="2426" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Boatright&lt;/span&gt;&lt;/span&gt; dissented&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;h2 class="ldml-opinionheading content__heading content__heading--depth1" data-content-heading-label="Opinion (Berkenkotter, Márquez, Hood, Gabriel, Hart, Samour, Boatright, BERKENKOTTER, BOATRIGHT)"&gt;&lt;span data-paragraph-id="2456" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="2456" data-sentence-id="2469" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;OPINION&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/h2&gt;&lt;p data-paragraph-id="2477" class="ldml-paragraph "&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="2477" data-sentence-id="2490" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt;, JUSTICE&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_2512" data-val="4"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2512" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2512" data-sentence-id="2523" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_2523"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;This case&lt;/span&gt; concerns &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s authority&lt;/span&gt; to
 limit the total volume of nontributary groundwater that may
 be withdrawn from the Denver Basin aquifers over the lifetime
 of a well permit.&lt;/span&gt; &lt;span data-paragraph-id="2512" data-sentence-id="2722" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Appellant&lt;/span&gt; &lt;span class="ldml-entity"&gt;Parker Water and Sanitation
 District&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;Parker&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;, a quasi-municipal special
 district, applied for six permits to construct wells to
 withdraw nontributary groundwater from the aquifers
 underlying the land within Parker's boundaries, pursuant
 to multiple water decrees stretching back decades.&lt;/span&gt; &lt;span data-paragraph-id="2512" data-sentence-id="3028" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; approved Parker's applications and issued the
 permits.&lt;/span&gt; &lt;span data-paragraph-id="2512" data-sentence-id="3104" class="ldml-sentence"&gt;All six of the permits included an allowed average
 annual withdrawal-i.e., a maximum rate at which Parker is
 permitted to withdraw water from the aquifers each year-as
 required by Colorado &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2512" data-sentence-id="3305" class="ldml-sentence"&gt;But five of the six permits
 also included, for the first time, an explicit condition
 limiting the total volume of groundwater Parker could
 withdraw from the aquifers over the life of the well permits.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3509" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3509" data-sentence-id="3520" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_3520"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In response, Parker filed suit in &lt;span class="ldml-entity"&gt;Water Division One&lt;/span&gt;, arguing
 that the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; lacks the authority to impose a total
 volumetric limit on the amount of nontributary groundwater
 available for withdrawal pursuant to a Denver Basin well
 permit.&lt;/span&gt; &lt;span data-paragraph-id="3509" data-sentence-id="3776" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; counterclaimed, asserting that
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_3776"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;, and the Statewide
 Nontributary Ground Water Rules, Div. of Water Res., &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_3776"&gt;&lt;span class="ldml-cite"&gt;2 Colo.
 Code Regs. 402-7&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"the Rules"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;-the &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;
 and regulation that

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_4015" data-val="5"&gt;&lt;/span&gt;
 primarily govern the use and allocation of the groundwater at
 issue -unambiguously set forth a total volumetric limit on
 the amount of nontributary Denver Basin groundwater a
 permittee may withdraw.&lt;/span&gt; &lt;span data-paragraph-id="3509" data-sentence-id="4219" class="ldml-sentence"&gt;The water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; found in favor of the
 &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; on all issues.&lt;/span&gt; &lt;span data-paragraph-id="3509" data-sentence-id="4288" class="ldml-sentence"&gt;This appeal
 followed.&lt;/span&gt;&lt;span data-paragraph-id="3509" data-sentence-id="4310" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN1" class="ldml-noteanchor" id="note-ref-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_4313" data-val="6"&gt;&lt;/span&gt;
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; now conclude that, under the plain language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_4310"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and the Rules, any well permit issued for the
 withdrawal of nontributary groundwater from the Denver Basin
 aquifers necessarily imposes a total volumetric limit on the
 amount of water that may be withdrawn, whether expressly
 stated or not, unless an underlying water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; decree
 determining a right to use that water explicitly provides
 otherwise.&lt;/span&gt; &lt;span data-paragraph-id="3509" data-sentence-id="4751" class="ldml-sentence"&gt;This total volumetric limit is equal to the
 quantity of nontributary groundwater underlying the land
 owned by the applicant as determined by the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; at
 the time the well permit is issued, absent any statutorily
 authorized adjustments.&lt;/span&gt; &lt;span data-paragraph-id="3509" data-sentence-id="5001" class="ldml-sentence"&gt;Pumping beyond this limit would allow
 a permittee like Parker to take nontributary groundwater that
 belongs to other permittees, all of whom also have a vested
 right to use the nontributary

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_5196" data-val="7"&gt;&lt;/span&gt;
 groundwater underlying their land in the amounts determined
 by the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; at the time their permits were issued.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5320" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5320" data-sentence-id="5331" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_5331"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because the relevant statutory provisions and regulations
 unambiguously requires such a volumetric limit, the water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt; correctly concluded that the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; has the
 authority to expressly include that limit in well permits.&lt;/span&gt;
&lt;span data-paragraph-id="5320" data-sentence-id="5571" class="ldml-sentence"&gt;Therefore, for the reasons explained below, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject
 Parker's remaining contentions.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="1" data-types="background" data-content-heading-label="
 I.
Background
" data-specifier="I" data-ordinal_end="1" data-id="heading_5658" data-confidences="very_high" data-parsed="true" data-value="I.
 Background" id="heading_5658" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="5658" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="5658" data-sentence-id="5669" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="5658" data-sentence-id="5672" class="ldml-sentence"&gt;Background&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="5683" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5683" data-sentence-id="5694" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_5694"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;This case&lt;/span&gt; requires &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to decide whether the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;
 has the authority to limit the total amount of nontributary
 groundwater a permittee may withdraw from the Denver Basin
 aquifers over the lifetime of a well permit.&lt;/span&gt; &lt;span data-paragraph-id="5683" data-sentence-id="5923" class="ldml-sentence"&gt;Understanding
 the nature of this dispute-and the significance of the rights
 at stake-requires a crash course in both hydrogeology and the
 evolution of groundwater regulation in the &lt;span class="ldml-entity"&gt;State of Colorado&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="5683" data-sentence-id="6126" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin with the basics.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="1" data-content-heading-label="
 A.
 Nontributary Denver Basin Groundwater
" data-specifier="A" data-ordinal_end="1" data-id="heading_6152" data-parsed="true" data-value="A.
 Nontributary Denver Basin Groundwater" id="heading_6152" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="6152" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6152" data-sentence-id="6163" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;A.
 Nontributary Denver Basin Groundwater&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="6205" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6205" data-sentence-id="6216" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_6216"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Groundwater is water below the surface of the earth that
 occupies empty spaces in rocks, soil, and sand.&lt;/span&gt; &lt;span data-paragraph-id="6205" data-sentence-id="6326" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_6216"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Colo.
 Ground Water Comm'n v. N. Kiowa-Bijou Groundwater Mgmt.
 Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d 62, 69&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6205" data-sentence-id="6426" class="ldml-sentence"&gt;This water is in
 constant, albeit slow, motion: Once water permeates the soil,
 gravity and pressure draw it both downward and sideways
 through small spaces between rocks and sediment.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_6613" data-val="8"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="6205" data-sentence-id="6614" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Peter E. Barkmann&lt;/span&gt; et &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;al., &lt;em class="ldml-emphasis"&gt;ON-010&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Colorado Groundwater
 Atlas&lt;/em&gt;, Colo. Geological&lt;/span&gt; &lt;span class="ldml-cite"&gt;Surv. 02.01-02.02&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 https://coloradogeologicalsurvey.org/water/colorado-groundwater-atlas/
 &lt;span class="ldml-parenthetical"&gt;[https://perma.cc/XX9E-FCEP]&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6205" data-sentence-id="6822" class="ldml-sentence"&gt;A significant portion of
 Colorado's groundwater exists in aquifers, underground
 layers of saturated rock and sediment through which
 groundwater flows.&lt;/span&gt; &lt;span data-paragraph-id="6205" data-sentence-id="6976" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_6822"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="6205" data-sentence-id="7007" class="ldml-sentence"&gt;These aquifers essentially act as reservoirs from which water
 may be mined via wells and put to beneficial use.&lt;/span&gt; &lt;span data-paragraph-id="6205" data-sentence-id="7120" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="supra" data-prop-ids="sentence_7007"&gt;&lt;span class="ldml-refname"&gt;Barkmann&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;supra&lt;/em&gt;, at 02.01&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6205" data-sentence-id="7148" class="ldml-sentence"&gt;Put simply, the drilling of a well
 creates a hole in the aquifer.&lt;/span&gt; &lt;span data-paragraph-id="6205" data-sentence-id="7215" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at 02.05&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6205" data-sentence-id="7229" class="ldml-sentence"&gt;Because
 water flows from areas of high pressure to low pressure,
 water stored in the aquifer-under pressure from the
 surrounding rock and sediment-flows toward that empty space,
 where it is pulled by gravity into the hole, and pumped to
 the surface.&lt;/span&gt; &lt;span data-paragraph-id="6205" data-sentence-id="7484" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_7229"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7488" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7488" data-sentence-id="7499" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_7499"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Given &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s arid climate and population growth, it
 would be difficult to overstate the importance of groundwater
 to Coloradans today.&lt;/span&gt; &lt;span data-paragraph-id="7488" data-sentence-id="7645" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at 01.01-01.02&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7488" data-sentence-id="7665" class="ldml-sentence"&gt;According
 to the Colorado Geological Survey, there are currently more
 than 285,000 groundwater wells throughout &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; and
 approximately 18% of &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s water needs are
 fulfilled by groundwater resources.&lt;/span&gt; &lt;span data-paragraph-id="7488" data-sentence-id="7880" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at 01.01,
 01.03&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7488" data-sentence-id="7902" class="ldml-sentence"&gt;In recognition of the importance of this resource, &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt; has, over time, created a comprehensive
 regulatory scheme for its management.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8049" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8049" data-sentence-id="8060" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_8060"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 All of Colorado's groundwater is classified and regulated
 based on its physical location and relationship with surface
 waters.&lt;/span&gt; &lt;span data-paragraph-id="8049" data-sentence-id="8193" class="ldml-sentence"&gt;Groundwater is tributary

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_8220" data-val="9"&gt;&lt;/span&gt;
 if it is &lt;span class="ldml-quotation quote"&gt;"hydraulically connected to the surface waters
 of a stream."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="8049" data-sentence-id="8293" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_8193"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;see also&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_8193"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.5)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="8049" data-sentence-id="8367" class="ldml-sentence"&gt;Because of this connection, withdrawal of tributary
 groundwater may have the effect of depleting available
 surface water.&lt;/span&gt; &lt;span data-paragraph-id="8049" data-sentence-id="8491" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_8367"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8049" data-sentence-id="8522" class="ldml-sentence"&gt;Thus,
 rights to use tributary groundwater, like surface water, are
 determined by &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; and administered
 by the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; under the constitutional doctrine of
 prior appropriation.&lt;/span&gt; &lt;span data-paragraph-id="8049" data-sentence-id="8729" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_8522"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8733" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8733" data-sentence-id="8744" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_8744"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Nontributary groundwater, on the other hand, is &lt;span class="ldml-quotation quote"&gt;"either
 not hydrologically connected or is minimally connected to any
 surface stream."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="8733" data-sentence-id="8885" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_8885"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Water Rts. of Park Cnty.
 Sportsmen's Ranch LLP v. Bargas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d 262,
 265-66&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;as modified on denial of
 reh'g&lt;/em&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Oct. 4, 1999&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8733" data-sentence-id="9028" class="ldml-sentence"&gt;This water is not subject to
 the doctrine of prior appropriation; rather, the General
 Assembly exercises plenary authority over nontributary
 groundwater and is empowered to administer and allocate the
 water as it sees fit.&lt;/span&gt; &lt;span data-paragraph-id="8733" data-sentence-id="9255" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_9028"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 266-67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9270" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9270" data-sentence-id="9281" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_9281"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 This appeal specifically concerns nontributary groundwater
 within the Denver Basin, &lt;span class="ldml-quotation quote"&gt;"a large kidney-shaped region
 measuring approximately 6,700 square miles in area with
 approximate boundaries stretching from Greeley on the north,
 Colorado Springs on the south, the front-range hogback on the
 west, and Limon on the east."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9270" data-sentence-id="9614" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_9281"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;77 P.3d at 72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9270" data-sentence-id="9646" class="ldml-sentence"&gt;The Denver Basin consists of four bedrock
 aquifers: Dawson, Denver, Arapahoe, and &lt;span class="ldml-entity"&gt;Laramie-Fox Hills&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="9270" data-sentence-id="9748" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_9646"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_9752" data-val="10"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="9270" data-sentence-id="9753" class="ldml-sentence"&gt;These aquifers are stacked upon one another and are separated
 by impermeable, confining layers.&lt;/span&gt; &lt;span data-paragraph-id="9270" data-sentence-id="9850" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_9753"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9270" data-sentence-id="9854" class="ldml-sentence"&gt;Water
 contained in bedrock aquifers, including those that make up
 the Denver Basin, &lt;span class="ldml-quotation quote"&gt;"represents] a tremendous volume when
 taken in the aggregate."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9270" data-sentence-id="10004" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_9854"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9270" data-sentence-id="10015" class="ldml-sentence"&gt;Estimates
 have placed the total volume of recoverable water in the
 Denver Basin aquifers as high as 292 million
 acre-feet,&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN2" class="ldml-noteanchor" id="note-ref-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; some 1,200 times the volume of water
 contained in Dillon Reservoir.&lt;/span&gt; &lt;span data-paragraph-id="9270" data-sentence-id="10212" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_10015"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 72 n.18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10228" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10228" data-sentence-id="10239" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(Image
 &lt;span class="ldml-referencenote"&gt;Omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10256" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10256" data-sentence-id="10267" class="ldml-sentence"&gt;Figure
 1 depicts a cross-&lt;span class="ldml-entity"&gt;section&lt;/span&gt; of the formations containing the
 Denver Basin aquifers.&lt;/span&gt; &lt;span data-paragraph-id="10256" data-sentence-id="10358" class="ldml-sentence"&gt;The Denver Basin cross-&lt;span class="ldml-entity"&gt;sections&lt;/span&gt; shown
 in this figure, from top to bottom, are the Dawson Formation,
 Denver Formation, Arapahoe Formation, Laramie Formation, and
 Fox Hills Sandstone.&lt;/span&gt; &lt;span data-paragraph-id="10256" data-sentence-id="10543" class="ldml-sentence"&gt;The figure is reproduced from the
 &lt;span class="ldml-entity"&gt;Colorado Division of Water Resources&lt;/span&gt; and the Colorado
 Geological Survey Special Publication 53.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10675" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10675" data-sentence-id="10686" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_10686"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Like all surface and groundwater in Colorado, &lt;span class="ldml-quotation quote"&gt;"Denver
 Basin aquifer water is a public resource,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895313245" data-vids="895313245" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_10686"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Chatfield
 E. Well Co. v. Chatfield E. Prop. Owners Ass'n&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;956
 P.2d 1260, 1264&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1998&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and any groundwater right is a
 use right, not &lt;span class="ldml-quotation quote"&gt;"an absolute

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_10945" data-val="11"&gt;&lt;/span&gt;
 right to ownership of water underneath &lt;span class="ldml-parenthetical"&gt;[the]&lt;/span&gt; land,"&lt;/span&gt;
&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895313245" data-vids="895313245" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_10686"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt; at 1268&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889107724" data-vids="889107724" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_10686"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bayou Land Co. v.
 Talley&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;924 P.2d 136, 146-47&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10675" data-sentence-id="11082" class="ldml-sentence"&gt;Because of
 its unique characteristics and significant economic
 importance, however, Denver Basin aquifer water is classified
 and managed separately from the rest of &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="10675" data-sentence-id="11276" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895313245" data-vids="895313245" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_11082"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1270&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10675" data-sentence-id="11289" class="ldml-sentence"&gt;Owing to the region's
 geology, groundwater in the Denver Basin aquifers is only
 directly recharged by precipitation where there are
 outcroppings along the basin edges.&lt;/span&gt; &lt;span data-paragraph-id="10675" data-sentence-id="11460" class="ldml-sentence"&gt;U.S. Geological Surv.,
 &lt;em class="ldml-emphasis"&gt;Groundwater Availability of the Denver Basin Aquifer
 System, Colorado&lt;/em&gt; viii &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;Suzanne S. Paschke&lt;/span&gt; &lt;span class="ldml-cite"&gt;ed., 2011&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;,
 https://pubs.usgs.gov/pp/&lt;span class="ldml-entity"&gt;1770&lt;/span&gt;/ &lt;span class="ldml-parenthetical"&gt;[https://perma.cc/2WBP-KCUM]&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="10675" data-sentence-id="11654" class="ldml-sentence"&gt;Thus, while &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;ributary waters are not subject to
 eventual depletion because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are annually
 replenished"&lt;/span&gt; by precipitation, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11654" data-reftype="reporter" data-refglobal="case:colorado,departmentofnaturalresources,divisionofwaterresources,stateengineervsouthwesterncoloradowaterconservationdistrictno79sa38671p2d1294july18,1983"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;State v. Sw. Colo.
 Water Conservation Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;671 P.2d 1294, 1313&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the same is not true of Denver Basin aquifer water.&lt;/span&gt;
&lt;span data-paragraph-id="10675" data-sentence-id="11915" class="ldml-sentence"&gt;Indeed, well pumping of Denver Basin aquifer water has long
 exceeded recharge,&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN3" class="ldml-noteanchor" id="note-ref-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; resulting in a so-called &lt;span class="ldml-quotation quote"&gt;"mining
 condition"&lt;/span&gt; that will eventually drain the Basin of
 recoverable water.&lt;/span&gt; &lt;span data-paragraph-id="10675" data-sentence-id="12102" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11915" data-reftype="ibid" data-refglobal="case:colorado,departmentofnaturalresources,divisionofwaterresources,stateengineervsouthwesterncoloradowaterconservationdistrictno79sa38671p2d1294july18,1983"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_11915"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N.
 Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 72 n.18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_12152" data-val="12"&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;observing&lt;/span&gt; that pumping from the Denver Basin aquifers
 exceeds recharge in the Basin)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10675" data-sentence-id="12241" class="ldml-sentence"&gt;Because it is not readily
 replenished and is instead subject to depletion over time,
 &lt;span class="ldml-quotation quote"&gt;"there is a need to conserve this finite resource to
 offset the mining of the aquifers caused by pumping that may
 reduce discharge &lt;span class="ldml-parenthetical"&gt;[to surface streams]&lt;/span&gt; and deplete water
 storage."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10675" data-sentence-id="12511" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_12241"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10675" data-sentence-id="12542" class="ldml-sentence"&gt;The
 total amount of nontributary groundwater in the Denver Basin
 is further limited given the estimate that roughly 50% of the
 groundwater in the Basin is not recoverable.&lt;/span&gt; &lt;span data-paragraph-id="10675" data-sentence-id="12717" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;M.W. Bittinger&lt;/span&gt;,
 &lt;em class="ldml-emphasis"&gt;The Denver Basin: Its Bedrock Aquifers&lt;/em&gt; 3 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;1978&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10675" data-sentence-id="12783" class="ldml-sentence"&gt;For
 all these reasons, Denver Basin groundwater is recognized by
 Colorado law as a nonrenewable, exhaustible resource.&lt;/span&gt;
&lt;span data-paragraph-id="10675" data-sentence-id="12904" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895313245" data-vids="895313245" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_12783"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Chatfield&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;956 P.2d at 1265&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="10675" data-sentence-id="12932" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN4" class="ldml-noteanchor" id="note-ref-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12935" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12935" data-sentence-id="12946" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_12946"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_12946"&gt;&lt;span class="ldml-cite"&gt;Colorado Groundwater Management Act, sections 37-90-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 to -143, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;, governs Denver Basin groundwater.&lt;/span&gt;
&lt;span data-paragraph-id="12935" data-sentence-id="13070" class="ldml-sentence"&gt;Unlike groundwater in the rest of &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Act&lt;/span&gt;
 categorized Denver Basin aquifer water as either nontributary
 or not nontributary.&lt;/span&gt;&lt;span data-paragraph-id="12935" data-sentence-id="13207" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN5" class="ldml-noteanchor" id="note-ref-ftn.FN5"&gt;5&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Each category is subject to different
 regulations.&lt;/span&gt; &lt;span data-paragraph-id="12935" data-sentence-id="13262" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_13266" data-val="13"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13207"&gt;&lt;span class="ldml-cite"&gt;§§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.5)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(10.7)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, -137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12935" data-sentence-id="13304" class="ldml-sentence"&gt;Denver Basin
 aquifer water is nontributary if its withdrawal &lt;span class="ldml-quotation quote"&gt;"will
 not, within one hundred years of continuous withdrawal,
 deplete the flow of a natural stream ... at an annual rate
 greater than one-tenth of one percent of the annual rate of
 withdrawal."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12935" data-sentence-id="13564" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13304"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12935" data-sentence-id="13583" class="ldml-sentence"&gt;Denver Basin
 groundwater is not nontributary&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN6" class="ldml-noteanchor" id="note-ref-ftn.FN6"&gt;6&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; if it is hydrologically connected
 to a surface stream such that its withdrawal will
 &lt;span class="ldml-quotation quote"&gt;"deplete the flow of a natural stream"&lt;/span&gt; at a rate
 greater than that.&lt;/span&gt; &lt;span data-paragraph-id="12935" data-sentence-id="13786" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13583"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.7)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13805" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="13805" data-sentence-id="13816" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13816"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The General Assembly exercises plenary authority over
 nontributary Denver Basin aquifer water and is empowered to
 administer and allocate the water

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_13973" data-val="14"&gt;&lt;/span&gt;
 as it sees fit.&lt;/span&gt; &lt;span data-paragraph-id="13805" data-sentence-id="13991" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_13816"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bargas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d at 266&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13805" data-sentence-id="14016" class="ldml-sentence"&gt;The
 regulatory scheme imposed by the General Assembly through a
 series of &lt;span class="ldml-entity"&gt;enactments&lt;/span&gt; over a half-century reflect the General
 Assembly's attempt to strike a delicate balance between
 &lt;span class="ldml-quotation quote"&gt;"two primary concerns"&lt;/span&gt;: &lt;span class="ldml-quotation quote"&gt;"diminishment of the
 historically available supply of the South Platte River
 system through well pumping"&lt;/span&gt; and the &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-quotation quote"&gt;'great
 economic importance'&lt;/span&gt;"&lt;/span&gt; of Denver Basin groundwater to
 overlying landowners.&lt;/span&gt; &lt;span data-paragraph-id="13805" data-sentence-id="14426" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895313245" data-vids="895313245" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_14016"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Chatfield&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;956 P.2d at 1270&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_14016"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13805" data-sentence-id="14483" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; turn now to discuss that
 regulatory scheme.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="2" data-content-heading-label="
 B.
Administration and Allocation of Nontributary Denver Basin
 Groundwater
" data-specifier="B" data-ordinal_end="2" data-id="heading_14531" data-parsed="true" data-value="B.
 Administration and Allocation of Nontributary Denver Basin
 Groundwater" id="heading_14531" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="14531" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="14531" data-sentence-id="14542" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="14531" data-sentence-id="14545" class="ldml-sentence"&gt;Administration and Allocation of Nontributary Denver Basin
 Groundwater&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="14617" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14617" data-sentence-id="14628" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_14628"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As part of its plenary authority over water resources in
 Colorado, the General Assembly is entrusted with implementing
 laws related to nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="14617" data-sentence-id="14796" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14628" data-reftype="reporter" data-refglobal="case:colorado,departmentofnaturalresources,divisionofwaterresources,stateengineervsouthwesterncoloradowaterconservationdistrictno79sa38671p2d1294july18,1983"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Sw. Colo. Water
 Conservation Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;671 P.2d at 1307&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14617" data-sentence-id="14851" class="ldml-sentence"&gt;Colorado law
 governing nontributary groundwater &lt;span class="ldml-quotation quote"&gt;"has developed more
 slowly than that with respect to tributary water."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="14617" data-sentence-id="14972" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14851" data-reftype="ibid" data-refglobal="case:colorado,departmentofnaturalresources,divisionofwaterresources,stateengineervsouthwesterncoloradowaterconservationdistrictno79sa38671p2d1294july18,1983"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1311&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14617" data-sentence-id="14985" class="ldml-sentence"&gt;Prior to &lt;span class="ldml-entity"&gt;1965&lt;/span&gt;, the General Assembly
 &lt;span class="ldml-quotation quote"&gt;"acted only sparingly"&lt;/span&gt; with regard to groundwater
 regulation and made no distinction between tributary and
 nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="14617" data-sentence-id="15157" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14985" data-reftype="ibid" data-refglobal="case:colorado,departmentofnaturalresources,divisionofwaterresources,stateengineervsouthwesterncoloradowaterconservationdistrictno79sa38671p2d1294july18,1983"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1311-12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14617" data-sentence-id="15173" class="ldml-sentence"&gt;Motivated,
 however, by the &lt;span class="ldml-quotation quote"&gt;"need to ration use of essentially
 non-renewable ground water in the high plains region,"&lt;/span&gt;
&lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; enacted the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_15173"&gt;&lt;span class="ldml-cite"&gt;Colorado Ground Water Management
 Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; in &lt;span class="ldml-entity"&gt;1965&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_15173"&gt;&lt;span class="ldml-cite"&gt;1965 Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14617" data-sentence-id="15380" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889610767" data-vids="889610767" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_15173"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Upper Black Squirrel
 Creek Ground Water Mgmt. Dist. v. Goss&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;993 P.2d 1177,
 1182&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_15477" data-val="15"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15477" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="15477" data-sentence-id="15488" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_15488"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_15488"&gt;&lt;span class="ldml-cite"&gt;1965 Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; recognized that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[u]&lt;/span&gt;nderground water basins
 require management that is different from the management of
 surface streams and underground waters tributary to such
 streams."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15477" data-sentence-id="15680" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892150776" data-vids="892150776" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_15488"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Fundingsland v. Colo. Ground Water
 Comm'n&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;468 P.2d 835, 839&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1970&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15477" data-sentence-id="15756" class="ldml-sentence"&gt;This is
 because nontributary groundwater &lt;span class="ldml-quotation quote"&gt;"is not subject to the
 same ready replenishment enjoyed by surface streams and
 tributary ground water"&lt;/span&gt; and may be withdrawn at &lt;span class="ldml-quotation quote"&gt;"a
 rate in excess of the annual recharge creating what is called
 a mining condition."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15477" data-sentence-id="16015" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892150776" data-vids="892150776" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_15756"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15477" data-sentence-id="16019" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[u]&lt;/span&gt;nless
 the rate of pumping is regulated, mining &lt;span class="ldml-parenthetical"&gt;[of nontributary
 groundwater]&lt;/span&gt; must ultimately result in lowering the water
 balance below a level from which water may be economically
 withdrawn."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15477" data-sentence-id="16226" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892150776" data-vids="892150776" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_16019"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16230" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16230" data-sentence-id="16241" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_16241"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_16241"&gt;&lt;span class="ldml-cite"&gt;1965 Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; required &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; wishing to drill a new well or
 expand the production of an existing well to first obtain a
 permit from the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16230" data-sentence-id="16401" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="embeddedsentence_16445,sentence_16241"&gt;&lt;span class="ldml-cite"&gt;§ 148-18-36&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;, C.R.S.
 &lt;span class="ldml-parenthetical"&gt;(1963 &amp;1965 Supp.)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"From and after &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;May 17, 1965&lt;/span&gt;]&lt;/span&gt;,
 no new wells shall be constructed outside the boundaries of a
 designated ground water basin, nor the supply of water from
 existing wells outside the boundaries of a designated ground
 water basin increased or extended, unless the user shall make
 an application in writing to &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; engineer for a
 &lt;span class="ldml-quotation quote"&gt;'permit to construct a well ....'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16230" data-sentence-id="16819" class="ldml-sentence"&gt;This new
 &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt; authorized the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; to issue well
 permits for the construction of all wells in &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;,
 including &lt;span class="ldml-parenthetical"&gt;(though not explicitly)&lt;/span&gt; wells to withdraw
 nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="16230" data-sentence-id="17027" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_16819"&gt;&lt;span class="ldml-cite"&gt;Ch. 319, sec. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_17044" data-val="16"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_16819"&gt;&lt;span class="ldml-cite"&gt;§ 148-18-37&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_16819"&gt;&lt;span class="ldml-cite"&gt;1965 Colo. Sess. Laws 1246, 1266-67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16230" data-sentence-id="17098" class="ldml-sentence"&gt;It
 did not consider ownership of the overlying land in
 determining the amount of nontributary groundwater a
 potential permittee could withdraw.&lt;/span&gt; &lt;span data-paragraph-id="16230" data-sentence-id="17245" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889107724" data-vids="889107724" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_17098"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bayou Land Co.&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;924 P.2d at 147&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17279" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17279" data-sentence-id="17290" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_17290"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;1973&lt;/span&gt;, responding to concerns about the potential depletion
 of nontributary groundwater resources throughout &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;,
 the General Assembly enacted &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213.&lt;/span&gt; &lt;span data-paragraph-id="17279" data-sentence-id="17465" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_17290"&gt;&lt;span class="ldml-refname"&gt;William
 Fronczak, &lt;em class="ldml-emphasis"&gt;Designated Ground Water: Colorado's Unique
 Way of Administering Its Underground Resources&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;7 U.
 Denv.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17279" data-sentence-id="17588" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_17290"&gt;&lt;span class="ldml-refname"&gt;Water&lt;/span&gt; &lt;span class="ldml-cite"&gt;L. Rev. 111, 123&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17279" data-sentence-id="17619" class="ldml-sentence"&gt;The first &lt;span class="ldml-entity"&gt;legislative
 enactment&lt;/span&gt; to expressly regulate nontributary groundwater,
 &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213, amended &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_17619"&gt;&lt;span class="ldml-cite"&gt;section 148-18-36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; - later
 re-codified at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_17619"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; -to limit nontributary
 groundwater withdrawals to &lt;span class="ldml-quotation quote"&gt;"only that quantity of water
 underlying the land owned by the applicant"&lt;/span&gt; and
 established a &lt;span class="ldml-quotation quote"&gt;"sip slowly"&lt;/span&gt; rationing provision
 intended to ensure a &lt;span class="ldml-quotation quote"&gt;"minimum useful life of the aquifer
 &lt;span class="ldml-parenthetical"&gt;[of]&lt;/span&gt; one hundred years."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17279" data-sentence-id="18050" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_17619"&gt;&lt;span class="ldml-cite"&gt;Ch. 441, sec. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_17619"&gt;&lt;span class="ldml-cite"&gt;§
 148-18-36&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_17619"&gt;&lt;span class="ldml-cite"&gt;1973 Colo. Sess. Laws 1520, 1520&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="17279" data-sentence-id="18117" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN7" class="ldml-noteanchor" id="note-ref-ftn.FN7"&gt;7&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Put another way,
 through &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; conditioned the
 right to withdraw nontributary groundwater &lt;span class="ldml-quotation quote"&gt;"upon

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_18247" data-val="17"&gt;&lt;/span&gt;
 overlying land ownership . . . with available quantity
 determined by a 100 year aquifer life expectancy."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="17279" data-sentence-id="18356" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_18117"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bargas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d at 266&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18381" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="18381" data-sentence-id="18392" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_18392"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;1985&lt;/span&gt;, the General Assembly statutorily defined
 nontributary groundwater for the first time through &lt;span class="ldml-entity"&gt;the
 enactment of Senate Bill&lt;/span&gt; 5, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;see&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_18392"&gt;&lt;span class="ldml-cite"&gt;Ch. 285, sec. 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_18392"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_18392"&gt;&lt;span class="ldml-cite"&gt;1985 Colo. Sess. Laws 1160, 1161&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and
 set out a comprehensive regulatory scheme for its allocation
 and administration, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_18392"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt; at 1160-69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_18392"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N.
 Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 71 n.13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18381" data-sentence-id="18747" class="ldml-sentence"&gt;While largely retaining
 the language of &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; also
 authorized the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; to promulgate rules and
 regulations for the administration of nontributary
 groundwater and the standardization of well permitting,
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;see&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_18747"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and, at the same time,
 subjected Denver Basin groundwater to the new water use
 system laid out in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_18747"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895313245" data-vids="895313245" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_18747"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Chatfield&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;956 P.2d at 1270&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18381" data-sentence-id="19166" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 5 amended &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_19166"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"to define the legal standards for issuing well permits
 and decrees for the use of Denver Basin aquifer water"&lt;/span&gt;
 and established specific criteria for use by the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; in determining whether to issue a well permit for
 the withdrawal of nontributary groundwater.&lt;/span&gt;
&lt;span data-paragraph-id="18381" data-sentence-id="19482" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895313245" data-vids="895313245" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_19166"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Chatfield&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;956 P.2d at 1269&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19166" data-reftype="reporter" data-refglobal="case:colorado,departmentofnaturalresources,divisionofwaterresources,stateengineervsouthwesterncoloradowaterconservationdistrictno79sa38671p2d1294july18,1983"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Sw. Colo.
 Water Conservation Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;671 P.2d at 1314&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19575" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19575" data-sentence-id="19586" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_19586"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The legislature&lt;/span&gt;, recognizing the &lt;span class="ldml-quotation quote"&gt;"unique, finite nature
 of nontributary ground water resources,"&lt;/span&gt; declared that
 &lt;span class="ldml-quotation quote"&gt;"such nontributary ground water shall be devoted to
 beneficial use in amounts based upon conservation of the
 resource and

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_19829" data-val="18"&gt;&lt;/span&gt;
 protection of vested water rights"&lt;/span&gt; and that &lt;span class="ldml-quotation quote"&gt;"the
 development of nontributary ground water resources consonant
 with conservation shall be the policy of this state."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="19575" data-sentence-id="19997" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_19586"&gt;&lt;span class="ldml-cite"&gt;Ch. 285, sec. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_19586"&gt;&lt;span class="ldml-cite"&gt;§37-90-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_19586"&gt;&lt;span class="ldml-cite"&gt;1985 Colo. Sess. Laws
 1160, 1160-61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19575" data-sentence-id="20067" class="ldml-sentence"&gt;Acknowledging that the regulatory framework
 enacted through &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 5 was based upon &lt;span class="ldml-quotation quote"&gt;"the best
 available evidence at this time,"&lt;/span&gt; the General Assembly
 further declared that such water &lt;span class="ldml-quotation quote"&gt;"shall be allocated . .
 . upon the basis of ownership of the overlying land."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="19575" data-sentence-id="20336" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_20067"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19575" data-sentence-id="20340" class="ldml-sentence"&gt;Thus, the &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;legislature&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;enactment of
 Senate Bill&lt;/span&gt; 5 confirmed and clarified the connection between
 ownership of land and nontributary ground water rights, which
 was first announced in &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19575" data-sentence-id="20545" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889107724" data-vids="889107724" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_20340"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bayou Land
 Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;924 P.2d at 148&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19575" data-sentence-id="20579" class="ldml-sentence"&gt;Further, &lt;span class="ldml-entity"&gt;these enactments&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"created an inchoate right to control and use a
 specified amount of nontributary ground water in owners of
 the overlying land."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19575" data-sentence-id="20735" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889107724" data-vids="889107724" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_20579"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 149&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20747" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20747" data-sentence-id="20758" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_20758"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;1986&lt;/span&gt;, pursuant to its newly delegated authority, the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; promulgated the Statewide Nontributary Ground Water
 Rules, a comprehensive set of rules related to the
 nontributary groundwater provisions in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_20758"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="20747" data-sentence-id="20998" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt; Div. of Water Res., &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_20998"&gt;&lt;span class="ldml-cite"&gt;2 Colo. Code Regs. 402-7&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20747" data-sentence-id="21055" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_21055"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he total amount of
 water recoverable from a specific aquifer from a well or
 wells shall be determined by multiplying the number of acres
 of overlying land . . . by the average number of feet of
 saturated aquifer materials in the aquifer underlying those
 lands by the average specific yield of

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_21383" data-val="19"&gt;&lt;/span&gt;
 those saturated aquifer materials."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20747" data-sentence-id="21421" class="ldml-sentence"&gt;Div. of Water Res.,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_21421"&gt;&lt;span class="ldml-cite"&gt;2 Colo. Code Regs. 402-7:8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20747" data-sentence-id="21480" class="ldml-sentence"&gt;This total is then used
 to calculate the average annual amount of withdrawal, which
 &lt;span class="ldml-quotation quote"&gt;"shall be 1% of the total recoverable water."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="20747" data-sentence-id="21612" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_21612"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; Rule 8&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; echoes &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_21612"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_21612"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20747" data-sentence-id="21670" class="ldml-sentence"&gt;It bases the allowed average annual withdrawal
 on an aquifer life of one hundred years and states that
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he allowed average annual amount of withdrawal for
 all of the wells on the overlying land shall not exceed one
 percent of the total amount of water, exclusive of artificial
 recharge, recoverable from a specific aquifer beneath the
 overlying land."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20747" data-sentence-id="22031" class="ldml-sentence"&gt;Div. of Water Res., &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_22031"&gt;&lt;span class="ldml-cite"&gt;2 Colo. Code Regs.
 402-7:8&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22090" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="22090" data-sentence-id="22101" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_22101"&gt;&lt;span class="ldml-cite"&gt;¶21
 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; landowner's inchoate right to use nontributary Denver
 Basin groundwater vests once &lt;span class="ldml-entity"&gt;they&lt;/span&gt; construct a well in
 accordance with a well permit issued by the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="22090" data-sentence-id="22278" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_22101"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22090" data-sentence-id="22309" class="ldml-sentence"&gt;Alternatively, a
 landowner can seek a decree from the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; determining
 their right to withdraw nontributary Denver Basin
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="22090" data-sentence-id="22453" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_22309"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22090" data-sentence-id="22457" class="ldml-sentence"&gt;Like the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s
 issuance of a well permit, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s
 determination of a groundwater right is governed by &lt;span class="ldml-entity"&gt;the
 statutory scheme&lt;/span&gt; allocating groundwater on the basis of land
 ownership.&lt;/span&gt; &lt;span data-paragraph-id="22090" data-sentence-id="22660" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_22457"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22090" data-sentence-id="22664" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;37-92-203&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_22664"&gt;&lt;span class="ldml-cite"&gt;Water Right Determination and Administration
 Act of 1969&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; is authorized to determine the
 amount of nontributary Denver Basin groundwater an overlying
 landowner is entitled to withdraw.&lt;/span&gt; &lt;span data-paragraph-id="22090" data-sentence-id="22918" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_22664"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;77 P.3d at 75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22090" data-sentence-id="22950" class="ldml-sentence"&gt;And, like

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_22962" data-val="20"&gt;&lt;/span&gt;
 construction of a permitted well, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;uch an
 adjudication by the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; creates a vested water use
 property right in the overlying landowner."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22090" data-sentence-id="23114" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_22950"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;
 at 71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23126" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23126" data-sentence-id="23137" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_23137"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Whether a use right is established by a well permit or by a
 decree of the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;, a landowner must obtain a permit
 from the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; before &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can construct a well to
 withdraw nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="23126" data-sentence-id="23360" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_23137"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-137&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23126" data-sentence-id="23389" class="ldml-sentence"&gt;And, in any event, withdrawals are
 subject to the conditions and &lt;span class="ldml-entity"&gt;standards set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_23389"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; and the Rules.&lt;/span&gt; &lt;span data-paragraph-id="23126" data-sentence-id="23512" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_23389"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at
 72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23126" data-sentence-id="23544" class="ldml-sentence"&gt;Taken together, the statutory provisions and the Rules
 establish that: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; withdrawals are based on an expected
 aquifer life of one hundred years; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the allowed average
 amount of withdrawal, exclusive of artificial recharge,
 cannot exceed one percent of the total amount of water
 recoverable from the portion of the aquifer underlying the
 land; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the allowed amount of withdrawal under a permit and
 decree shall be the same; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; a reduction in either
 hydrostatic pressure or water level in the aquifer caused by
 withdrawals shall not result in a material injury to vested
 nontributary groundwater rights.&lt;/span&gt; &lt;span data-paragraph-id="23126" data-sentence-id="24167" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_23544"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24171" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24171" data-sentence-id="24182" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_24182"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 It is against this regulatory backdrop that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; turn to the
 facts and history of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="2" data-types="background" data-content-heading-label="
 II.
Facts and Procedural History
" data-specifier="II" data-ordinal_end="2" data-id="heading_24279" data-confidences="very_high" data-parsed="true" data-value="II.
 Facts and Procedural History" id="heading_24279" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="24279" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="24279" data-sentence-id="24290" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="24279" data-sentence-id="24294" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="24323" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24323" data-sentence-id="24334" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_24334"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Parker is a quasi-municipal Colorado special district that
 supplies water to residents and businesses within its
 boundaries for domestic and other public and

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_24501" data-val="21"&gt;&lt;/span&gt;
 private purposes.&lt;/span&gt;&lt;span data-paragraph-id="24323" data-sentence-id="24520" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN8" class="ldml-noteanchor" id="note-ref-ftn.FN8"&gt;8&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;2018&lt;/span&gt;, the most recent year for which an
 estimate is available, Parker supplied water to approximately
 53,000 Coloradans.&lt;/span&gt; &lt;span data-paragraph-id="24323" data-sentence-id="24649" class="ldml-sentence"&gt;The majority of Parker's annual water
 supply is produced by deep wells withdrawing water from the
 Denver Basin aquifers.&lt;/span&gt; &lt;span data-paragraph-id="24323" data-sentence-id="24772" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;2020&lt;/span&gt;, Parker's thirty-three
 Denver Basin wells produced some 9,500 acre-feet of water -
 constituting more than half its total water supply that year.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="1" data-content-heading-label="
 A.
 Parker's Well Permits and Decreed Rights to Nontributary
 Groundwater
" data-specifier="A" data-ordinal_end="1" data-id="heading_24927" data-parsed="true" data-value="A.
 Parker's Well Permits and Decreed Rights to Nontributary
 Groundwater" id="heading_24927" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="24927" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24927" data-sentence-id="24938" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-entity"&gt;A.
 &lt;span class="ldml-embeddedsentence"&gt;Parker&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-embeddedsentence"&gt;'s Well Permits and Decreed Rights to Nontributary
 Groundwater&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="25012" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25012" data-sentence-id="25023" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_25023"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Since Parker's inception in &lt;span class="ldml-entity"&gt;1962&lt;/span&gt;, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; has
 issued several decrees vesting Parker's rights to use
 nontributary groundwater contained in the Denver Basin
 aquifers.&lt;/span&gt; &lt;span data-paragraph-id="25012" data-sentence-id="25204" class="ldml-sentence"&gt;Beginning in &lt;span class="ldml-entity"&gt;1981&lt;/span&gt;, pursuant to its decreed rights,
 Parker sought and was issued numerous well permits allowing
 it to withdraw nontributary

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_25347" data-val="22"&gt;&lt;/span&gt;
 groundwater from the Denver Basin aquifers.&lt;/span&gt; &lt;span data-paragraph-id="25012" data-sentence-id="25393" class="ldml-sentence"&gt;Each of these
 permits contained an allowed annual average withdrawal-i.e.,
 a maximum annual rate at which Parker could withdraw water
 from the well.&lt;/span&gt; &lt;span data-paragraph-id="25012" data-sentence-id="25545" class="ldml-sentence"&gt;None of its permits explicitly imposed a total
 volumetric limit on the amount of groundwater it could
 withdraw pursuant to the permit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25682" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25682" data-sentence-id="25693" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_25693"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;January 2021&lt;/span&gt;, Parker applied for six new well permits
 pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_25693"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; that would allow it to
 withdraw nontributary groundwater from the Denver Basin
 aquifers in accordance with its decreed groundwater rights.&lt;/span&gt;
&lt;span data-paragraph-id="25682" data-sentence-id="25930" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; approved the applications and issued all
 six permits.&lt;/span&gt; &lt;span data-paragraph-id="25682" data-sentence-id="26004" class="ldml-sentence"&gt;Consistent with its earlier permits, each of
 Parker's new permits contained an allowed annual average
 withdrawal.&lt;/span&gt; &lt;span data-paragraph-id="25682" data-sentence-id="26120" class="ldml-sentence"&gt;But as noted, five of the six permits, unlike
 those issued previously, contained an explicit total
 volumetric limit on the amount of water available for
 withdrawal.&lt;/span&gt; &lt;span data-paragraph-id="25682" data-sentence-id="26288" class="ldml-sentence"&gt;It is those total volumetric limits that are the
 subject of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; now before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="2" data-types="background" data-content-heading-label="
 B.
Proceedings in the Water Court
" data-specifier="B" data-ordinal_end="2" data-id="heading_26373" data-confidences="medium" data-parsed="true" data-value="B.
 Proceedings in the Water Court" id="heading_26373" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="26373" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="26373" data-sentence-id="26384" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="26373" data-sentence-id="26387" class="ldml-sentence"&gt;Proceedings in the Water &lt;span class="ldml-entity"&gt;Court&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="26418" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26418" data-sentence-id="26429" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_26429"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Parker filed a complaint in &lt;span class="ldml-entity"&gt;Water Division One&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_26429"&gt;&lt;span class="ldml-cite"&gt;section
 24-4-106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;, of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_26429"&gt;&lt;span class="ldml-cite"&gt;State Administrative
 Procedure Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, asserting that the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; lacked the
 authority to include a total volumetric limit in a well
 permit.&lt;/span&gt; &lt;span data-paragraph-id="26418" data-sentence-id="26676" class="ldml-sentence"&gt;In Parker's view, the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s
 inclusion of the limit was arbitrary and capricious, an abuse
 of discretion, and contrary to law.&lt;/span&gt; &lt;span data-paragraph-id="26418" data-sentence-id="26815" class="ldml-sentence"&gt;Parker asserted in its

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_26840" data-val="23"&gt;&lt;/span&gt;
 amended complaint that the limit violated its statutory and
 constitutional rights, as well as its vested groundwater
 rights, as established by existing decrees of the water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26418" data-sentence-id="27025" class="ldml-sentence"&gt;Parker asked the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to declare the total
 volumetric limit unlawful, to enjoin enforcement of the
 condition, and to order the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; to reissue the
 permits without the total volumetric limit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27236" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="27236" data-sentence-id="27247" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_27247"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Shortly thereafter, the &lt;span class="ldml-entity"&gt;City of Aurora&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;Aurora&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;
 and the &lt;span class="ldml-entity"&gt;City of Greeley&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;Greeley&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; sought leave to
 intervene.&lt;/span&gt; &lt;span data-paragraph-id="27236" data-sentence-id="27367" class="ldml-sentence"&gt;Aurora argued that a decision favoring Parker
 could harm Aurora's vested nontributary and not
 nontributary groundwater rights given that its service area
 was within a half-mile of Parker's service area.&lt;/span&gt; &lt;span data-paragraph-id="27236" data-sentence-id="27573" class="ldml-sentence"&gt;Greeley
 emphasized that it disagreed with Parker's position and
 asserted that a decision in Parker's favor would impact
 other nontributary groundwater decrees and permits in other
 regions across Colorado because &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; applies to
 nontributary groundwater throughout &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27236" data-sentence-id="27860" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt;
 granted both &lt;span class="ldml-entity"&gt;motions to intervene&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27906" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="27906" data-sentence-id="27917" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_27917"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; answered Parker's complaint and
 asserted a counterclaim for declaratory relief, arguing that
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_27917"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_27917"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; describe and provide for a
 total cap on the amount of groundwater available for
 withdrawal pursuant to a well permit.&lt;/span&gt; &lt;span data-paragraph-id="27906" data-sentence-id="28191" class="ldml-sentence"&gt;Thus, the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt;, who administers and allocates nontributary
 groundwater throughout &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;, sought a declaration

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_28319" data-val="24"&gt;&lt;/span&gt;
 that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; acted within his statutory authority in including an
 explicit total volumetric limit in Parker's well permits.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28441" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="28441" data-sentence-id="28452" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_28452"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 After Parker served written discovery on the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;,
 the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; moved to stay discovery, asserting that no
 factual discovery was necessary because it intended to seek
 only a determination as to whether the plain language of &lt;span class="ldml-entity"&gt;the
 statute&lt;/span&gt; and Rules sets forth and requires a total volumetric
 limit on groundwater withdrawals.&lt;/span&gt; &lt;span data-paragraph-id="28441" data-sentence-id="28801" class="ldml-sentence"&gt;The water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; granted the
 &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s motion and stayed all discovery pending
 its ruling on the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s counterclaim
 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_28801"&gt;&lt;span class="ldml-cite"&gt;2021 Order&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28441" data-sentence-id="28953" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; then moved for a
 determination of two questions of law pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P.
 56&lt;span class="ldml-parenthetical"&gt;(h)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; whether the plain language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_28953"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 provides for a total volumetric limit applicable to well
 permits authorizing withdrawal of nontributary and Denver
 Basin groundwater and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; whether the Rules likewise set
 forth a total volumetric limit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29320" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29320" data-sentence-id="29331" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_29331"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Parker responded with a &lt;span class="ldml-entity"&gt;cross-motion for determination&lt;/span&gt; of
 three questions of law, contending that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_29331"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 unambiguously does not provide for, contemplate, or allow a
 total volumetric limit to be imposed on groundwater well
 permits; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the Rules likewise do not provide for,
 contemplate, or allow such a limit; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; lacked the authority to impose a total volumetric
 limit or to promulgate rules and regulations providing for
 such a limit.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_29819" data-val="25"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="29819" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29819" data-sentence-id="29830" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_29830"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In a &lt;span class="ldml-entity"&gt;June 2022&lt;/span&gt; order &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_29830"&gt;&lt;span class="ldml-cite"&gt;2022 Order&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;, the water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt; found in favor of the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; on all issues,
 first determining that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_29830"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; unambiguously sets
 forth a total volumetric limit on groundwater withdrawals
 pursuant to a well permit.&lt;/span&gt; &lt;span data-paragraph-id="29819" data-sentence-id="30089" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; began its analysis with
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_30089"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s provision limiting
 withdrawals to &lt;span class="ldml-quotation quote"&gt;"that quantity of water, exclusive of
 artificial recharge, underlying the land owned by the
 applicant."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29819" data-sentence-id="30295" class="ldml-sentence"&gt;This statutory language unambiguously refers
 to a volumetric limit, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; concluded.&lt;/span&gt; &lt;span data-paragraph-id="29819" data-sentence-id="30385" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"By
 definition, a &lt;em class="ldml-emphasis"&gt;quantity&lt;/em&gt; of water is a volumetric
 limit,"&lt;/span&gt; it explained, noting that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[f]&lt;/span&gt;or purposes
 of water engineering, &lt;em class="ldml-emphasis"&gt;volume&lt;/em&gt; is defined as a
 &lt;span class="ldml-quotation quote"&gt;'specific quantity of water generally expressed in terms
 of acre-feet.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29819" data-sentence-id="30610" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(Quoting &lt;span class="ldml-entity"&gt;Leonard Rice&lt;/span&gt; &amp;&lt;span class="ldml-entity"&gt;Michael
 D. White&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;Engineering Aspects of Water Law&lt;/em&gt; 179
 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;1991&lt;/span&gt;)&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29819" data-sentence-id="30699" class="ldml-sentence"&gt;Thus, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; determined that the total
 quantity limitation was both expressly stated in &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;
 and plainly understood to be the quantity of nontributary
 groundwater underlying the land owned by the applicant.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30925" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30925" data-sentence-id="30936" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_30936"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; then rejected Parker's argument that &lt;span class="ldml-entity"&gt;the
 statute&lt;/span&gt; authorizes only an average annual rate of withdrawal
 without a total volumetric limit.&lt;/span&gt; &lt;span data-paragraph-id="30925" data-sentence-id="31095" class="ldml-sentence"&gt;That position is illogical,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; explained, because under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_31095"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the average annual rate of withdrawal is
 limited to a maximum of one one-hundredth-or, said
 differently, one percent-of the total amount of water
 underlying the applicant's land.&lt;/span&gt; &lt;span data-paragraph-id="30925" data-sentence-id="31370" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Even if the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; was authorized to set

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_31423" data-val="26"&gt;&lt;/span&gt;
 only an annual average rate of withdrawal,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 continued, &lt;span class="ldml-quotation quote"&gt;"the math to determine the total volumetric
 limit would be simple: the average annual rate of withdrawal
 multiplied by 100 years equals the total amount of
 groundwater that can be withdrawn over the life of a well
 permit."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30925" data-sentence-id="31718" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; concluded that the express
 volumetric limit represented the total amount of groundwater
 underlying the applicant's land and is simply a different
 way of mathematically expressing the annualized rate limit of
 one percent of that quantity of water multiplied by the
 100-year life of the aquifer.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32033" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="32033" data-sentence-id="32044" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_32044"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Having determined that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_32044"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; unambiguously sets
 forth a volumetric limit, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; turned to whether the
 &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; was authorized to include such a limit in a
 well permit.&lt;/span&gt; &lt;span data-paragraph-id="32033" data-sentence-id="32242" class="ldml-sentence"&gt;Because the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; is obligated by
 &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"to ensure that no more water is withdrawn from
 an aquifer than what is physically available under the
 applicant's land,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; wrote, it follows that
 the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; is empowered &lt;span class="ldml-quotation quote"&gt;"to determine this total
 volumetric limit in order to enforce it."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32033" data-sentence-id="32552" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; concluded that the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; acted within the
 bounds of his statutory authority by including a total
 volumetric limit equal to the quantity of nontributary
 groundwater the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; determined was physically
 available under the applicant's land at the time the
 permit was issued.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32864" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="32864" data-sentence-id="32875" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_32875"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; likewise determined that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_32875"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, consistent with
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_32875"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, unambiguously provides for a total
 volumetric limit.&lt;/span&gt; &lt;span data-paragraph-id="32864" data-sentence-id="33018" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_33027" data-val="27"&gt;&lt;/span&gt;
 court&lt;/span&gt;'s view&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_33018"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s provision stating that the
 &lt;span class="ldml-quotation quote"&gt;"allowed average annual amount of withdrawal shall be 1%
 of the total recoverable water,"&lt;/span&gt; Div. of Water Res., &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_33018"&gt;&lt;span class="ldml-cite"&gt;2
 Colo. Code Regs. 402-7:8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, explicitly imposes a
 total volumetric limit on nontributary groundwater
 withdrawals from Denver Basin aquifers over the lifetime of a
 well permit equal to the quantity of nontributary groundwater
 the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; determined was physically available under
 the applicant's land at the time the permit was issued.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="33551" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="33551" data-sentence-id="33562" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_33562"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Following this analysis, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; granted the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt;'s motion and denied Parker's &lt;span class="ldml-entity"&gt;cross-motion&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="33673" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="33673" data-sentence-id="33684" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_33684"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; then sought resolution of the remaining
 issues raised by its counterclaim through a &lt;span class="ldml-entity"&gt;second motion for
 determination&lt;/span&gt; of questions of law.&lt;/span&gt; &lt;span data-paragraph-id="33673" data-sentence-id="33847" class="ldml-sentence"&gt;This time, the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; asked &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to determine whether &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; has the administrative authority to issue well
 permits including a total volumetric limit, even if any
 applicable water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; decree does not specifically state
 that limit; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; a total volumetric limit must be expressly
 stated in a well permit or decree to be enforceable; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;
 such a limit also applies to well permits and decrees issued
 under the prior version of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213
 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;effective &lt;span class="ldml-entity"&gt;July 6, 1973&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;, before it was amended by &lt;span class="ldml-entity"&gt;Senate
 Bill&lt;/span&gt; 5 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;effective &lt;span class="ldml-entity"&gt;July 1, 1985&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;, even if those decrees and
 well permits do not expressly include a total volumetric
 limit.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_34528" data-val="28"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34528" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="34528" data-sentence-id="34539" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_34539"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On &lt;span class="ldml-entity"&gt;March 2, 2023&lt;/span&gt;, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; again ruled in favor of the
 &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; on all issues &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_34539"&gt;&lt;span class="ldml-cite"&gt;2023 Order&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34528" data-sentence-id="34652" class="ldml-sentence"&gt;The
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; rejected Parker's contention that it has the
 right to withdraw nontributary Denver Basin groundwater at
 the stated maximum annual rate of withdrawal indefinitely if
 the decree adjudicating its groundwater right did not
 explicitly impose a total volumetric limit because
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;his contention contradicts long-standing principles
 of Colorado water law."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="34528" data-sentence-id="35025" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s view&lt;/span&gt;, the
 General Assembly made clear when it enacted &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213
 in &lt;span class="ldml-entity"&gt;1973&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"only that quantity of water underlying the
 land owned by the applicant . . . is considered to be
 unappropriated"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34528" data-sentence-id="35282" class="ldml-sentence"&gt;Thus, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; concluded that the plain
 language of the &lt;span class="ldml-entity"&gt;1973&lt;/span&gt; &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;-under which some of Parker's
 water decrees and well permits were issued-unambiguously
 provided for a total volumetric limitation on withdrawals of
 nontributary groundwater from Denver Basin wells and that the
 volumetric limitation is equal to the quantity the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; determined was physically available under the
 applicant's land at the time the permit was issued.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35738" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="35738" data-sentence-id="35749" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_35749"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"Colorado law has recognized for at least the past 50
 years that nontributary groundwater is a finite resource that
 must be responsibly managed and conserved to prolong its
 longevity,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; continued.&lt;/span&gt; &lt;span data-paragraph-id="35738" data-sentence-id="35962" class="ldml-sentence"&gt;Thus, it concluded that
 Parker's decrees &lt;span class="ldml-quotation quote"&gt;"do not grant them the right to
 unlimited pumping of nontributary groundwater."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35738" data-sentence-id="36085" class="ldml-sentence"&gt;Rather,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; determined that, consistent with the finite nature

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_36157" data-val="29"&gt;&lt;/span&gt;
 of nontributary groundwater, the decrees both implicitly and
 explicitly limit the total amount of water available for
 withdrawal to only that water underlying the land identified
 in the decree.&lt;/span&gt; &lt;span data-paragraph-id="35738" data-sentence-id="36356" class="ldml-sentence"&gt;That total amount available for withdrawal,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; explained, is the same total the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;
 determined in order to calculate the allowed annual average
 amount of withdrawal.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="36543" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36543" data-sentence-id="36554" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_36554"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; then certified the &lt;span class="ldml-entity"&gt;2021&lt;/span&gt;, &lt;span class="ldml-entity"&gt;2022&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;2023&lt;/span&gt;
 Orders as final.&lt;/span&gt; &lt;span data-paragraph-id="36543" data-sentence-id="36633" class="ldml-sentence"&gt;This appeal followed.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="3" data-types="analysis" data-content-heading-label="
 III.
Analysis
" data-specifier="III" data-ordinal_end="3" data-id="heading_36655" data-confidences="very_high" data-parsed="true" data-value="III.
 Analysis" id="heading_36655" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="36655" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="36655" data-sentence-id="36666" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="36655" data-sentence-id="36671" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="36680" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36680" data-sentence-id="36691" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_36691"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin by laying out our well-established principles of
 statutory construction and the standards of review applicable
 to &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="36680" data-sentence-id="36831" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; then address each of the issues that Parker
 raised.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="1" data-content-heading-label="
 A.
Principles of Statutory Construction and Applicable Standards
 of Review
" data-specifier="A" data-ordinal_end="1" data-id="heading_36887" data-parsed="true" data-value="A.
 Principles of Statutory Construction and Applicable Standards
 of Review" id="heading_36887" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="36887" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="36887" data-sentence-id="36898" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="36887" data-sentence-id="36901" class="ldml-sentence"&gt;Principles of Statutory Construction and Applicable Standards
 of Review&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="36974" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36974" data-sentence-id="36985" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_36985"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;This case&lt;/span&gt; turns on the meaning of several statutory
 provisions and administrative regulations.&lt;/span&gt; &lt;span data-paragraph-id="36974" data-sentence-id="37085" class="ldml-sentence"&gt;Statutory
 interpretation is a question of law that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review de novo.&lt;/span&gt;
&lt;span data-paragraph-id="36974" data-sentence-id="37156" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37085" data-reftype="reporter" data-refglobal="case:deptofnatresv5starfeedlot,inc,2021co27"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Dep't of Nat. Res. v. 5 Star Feedlot, Inc.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2021
 CO 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_37085"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888828588" data-vids="888828588" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;486 P.3d 250, 256&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="36974" data-sentence-id="37238" class="ldml-sentence"&gt;Our goal is to ascertain
 the intent of the General Assembly and &lt;span class="ldml-quotation quote"&gt;"adopt the
 statutory construction that best effectuates the purposes of
 the legislative scheme."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="36974" data-sentence-id="37402" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_37238"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bargas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d at
 268&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37238" data-reftype="reporter" data-refglobal="case:msvpeopleinintoflrs,812p2d632,635colo1991"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;M.S. v. People in Int. of L.R.S.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;812
 P.2d 632, 635&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="36974" data-sentence-id="37504" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; look to &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt;
 as a whole &lt;span class="ldml-quotation quote"&gt;"to give consistent, harmonious, and sensible
 effect to all its parts."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="36974" data-sentence-id="37621" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37504" data-reftype="citeless" data-refglobal="case:deptofnatresv5starfeedlot,inc,2021co27"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;5 Star Feedlot, Inc.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_37504"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888828588" data-vids="888828588" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;486 P.3d at 256&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_37667" data-val="30"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="36974" data-sentence-id="37668" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; read words and phrases in context and construe them
 according to their plain and ordinary meanings.&lt;/span&gt;
&lt;span data-paragraph-id="36974" data-sentence-id="37772" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_37668"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bargas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d at 268&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="36974" data-sentence-id="37797" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Words and phrases
 that have acquired a technical or particular meaning whether
 by legislative definition or otherwise,"&lt;/span&gt; however,
 &lt;span class="ldml-quotation quote"&gt;"shall be construed accordingly."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="36974" data-sentence-id="37964" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_37797"&gt;&lt;span class="ldml-cite"&gt;§ 2-4-101,
 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="37991" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="37991" data-sentence-id="38002" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_38002"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 If the language of &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; is unambiguous-i.e., it is not
 susceptible to multiple reasonable interpretations-our job is
 done, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; need look no further.&lt;/span&gt; &lt;span data-paragraph-id="37991" data-sentence-id="38166" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_38002"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bargas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d
 at 268&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37991" data-sentence-id="38192" class="ldml-sentence"&gt;But if the statutory language is ambiguous, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; may
 consider other tools of statutory construction, including the
 consequences of a given construction, the purpose of &lt;span class="ldml-entity"&gt;the
 statute&lt;/span&gt;, and legislative history.&lt;/span&gt; &lt;span data-paragraph-id="37991" data-sentence-id="38399" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_38192"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37991" data-sentence-id="38403" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 presume throughout that the General Assembly intended a just
 and reasonable result and that it favored the public interest
 over any private interest."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37991" data-sentence-id="38561" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_38403"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37991" data-sentence-id="38565" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; avoid
 statutory constructions that would lead to illogical or
 absurd results.&lt;/span&gt; &lt;span data-paragraph-id="37991" data-sentence-id="38648" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38565" data-reftype="citeless" data-refglobal="case:deptofnatresv5starfeedlot,inc,2021co27"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;5 Star Feedlot, Inc.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_38565"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888828588" data-vids="888828588" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;486
 P.3d at 256&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="38694" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="38694" data-sentence-id="38705" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_38705"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; apply these same rules of statutory construction to the
 interpretation of administrative regulations.&lt;/span&gt; &lt;span data-paragraph-id="38694" data-sentence-id="38815" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38705" data-reftype="reporter" data-refglobal="case:educhildrenllcvdouglasboardofequalizationboeno22sc7992023co29july17,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Educhildren
 LLC v. Cnty. of Douglas Bd. of Equalization&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2023 CO 29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_38705"&gt;&lt;span class="ldml-cite"&gt;¶ 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:educhildrenllcvcountyofdouglasboardofequalizationboecaseno22sc799531p3d986may30,2023"&gt;&lt;span class="ldml-cite"&gt;531 P.3d 986, 993&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38694" data-sentence-id="38911" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"While &lt;span class="ldml-entity"&gt;we&lt;/span&gt; may afford
 deference to an agency's reasonable &lt;span class="ldml-entity"&gt;interpretation of &lt;span class="ldml-entity"&gt;a
 statute&lt;/span&gt;&lt;/span&gt; that it is charged with administering, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are not
 bound by it."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38694" data-sentence-id="39063" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_39063"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_39067" data-val="31"&gt;&lt;/span&gt;
 &lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Lastly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;'s order on discovery for abuse
 of discretion.&lt;/span&gt; &lt;span data-paragraph-id="38694" data-sentence-id="39156" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39063" data-reftype="reporter" data-refglobal="case:inrepeopleininterestofjp,2023co57"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;In re People in Int. of J. P.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2023
 CO 57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_39063"&gt;&lt;span class="ldml-cite"&gt;¶ 17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradocaseno23sa126538p3d337november14,2023"&gt;&lt;span class="ldml-cite"&gt;538 P.3d 337, 343&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="2" data-content-heading-label="
 B.
Section 37-90-137 Unambiguously Imposes a Total Volumetric
 Limit on Nontributary Groundwater Withdrawals Pursuant to a
 Well Permit
" data-specifier="B" data-ordinal_end="2" data-id="heading_39225" data-parsed="true" data-value="B.
 Section 37-90-137 Unambiguously Imposes a Total Volumetric
 Limit on Nontributary Groundwater Withdrawals Pursuant to a
 Well Permit" id="heading_39225" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="39225" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="39225" data-sentence-id="39236" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="39225" data-sentence-id="39239" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_39239"&gt;&lt;span class="ldml-cite"&gt;Section 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Unambiguously Imposes a Total Volumetric
 Limit on Nontributary Groundwater Withdrawals Pursuant to a
 Well Permit&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="39372" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="39372" data-sentence-id="39383" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_39383"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; in this appeal specifically dispute the meaning
 of several provisions of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_39383"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="39372" data-sentence-id="39495" class="ldml-sentence"&gt;These
 provisions set forth the process for determining the amount
 of groundwater underlying an applicant's land and,
 accordingly, the average annual allowed withdrawal for a
 given well.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="39685" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="39685" data-sentence-id="39696" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_39696"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Parker contends that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; erred in holding that
 the plain language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_39696"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; allows the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; to limit the total volume of nontributary
 groundwater that may be withdrawn from Denver Basin aquifers
 over the lifetime of a well permit.&lt;/span&gt; &lt;span data-paragraph-id="39685" data-sentence-id="39969" class="ldml-sentence"&gt;In Parker's view, a
 permittee is entitled to withdraw all the tributary
 groundwater under its land in perpetuity, subject only to the
 annual rate of withdrawal.&lt;/span&gt; &lt;span data-paragraph-id="39685" data-sentence-id="40133" class="ldml-sentence"&gt;Thus, if it is still able to pump
 water from its wells two hundred years after the issuance of
 the well permits, it may lawfully do so, subject only to the
 average annual rate of withdrawal limitation.&lt;/span&gt; &lt;span data-paragraph-id="39685" data-sentence-id="40338" class="ldml-sentence"&gt;Under
 Parker's reading of the pertinent &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;, a landowner
 is not required to cease pumping its allowed annual
 allocation under a Denver Basin well permit until the supply
 of nontributary groundwater in the aquifer beneath its land
 is physically exhausted.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_40603" data-val="32"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="40603" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="40603" data-sentence-id="40614" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_40614"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; counters that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not err
 because &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; unambiguously imposes a total volumetric
 limit.&lt;/span&gt; &lt;span data-paragraph-id="40603" data-sentence-id="40750" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s view&lt;/span&gt;, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 correctly interpreted &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_40750"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to refer only
 to that quantity of water the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; determines is
 underlying the land at the time the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; issues the
 permit.&lt;/span&gt; &lt;span data-paragraph-id="40603" data-sentence-id="40989" class="ldml-sentence"&gt;This interpretation means a permittee withdrawing one
 percent of the total quantity of water underlying its land
 each year could only do so for one hundred years, at which
 point it would have mined the full quantity of water
 underlying its land.&lt;/span&gt; &lt;span data-paragraph-id="40603" data-sentence-id="41239" class="ldml-sentence"&gt;A permittee could, the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;
 asserts, only extend the life of a well permit beyond one
 hundred years by withdrawing, on average, less than one
 percent of that water annually until &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have withdrawn a
 total amount of water equal to the well's total
 volumetric cap.&lt;/span&gt; &lt;span data-paragraph-id="40603" data-sentence-id="41519" class="ldml-sentence"&gt;According to the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;, a permittee
 could not, under any circumstances, exceed a well's total
 volumetric limit.&lt;/span&gt; &lt;span data-paragraph-id="40603" data-sentence-id="41642" class="ldml-sentence"&gt;As a result, once a well's total
 volumetric limit is reached, the permittee must stop
 operating the well.&lt;/span&gt; &lt;span data-paragraph-id="40603" data-sentence-id="41750" class="ldml-sentence"&gt;Pumping beyond the volumetric cap would,
 the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; argues, result in the taking of
 nontributary groundwater that belongs to other permittees,
 all of whom also have a vested right to use the nontributary
 groundwater underlying their land in the amounts determined
 by the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; at the time their permits were issued.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_42088" data-val="33"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="42088" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="42088" data-sentence-id="42099" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_42099"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To address this disagreement, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; look to the plain language
 of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_42099"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42088" data-sentence-id="42190" class="ldml-sentence"&gt;It provides that &lt;span class="ldml-quotation quote"&gt;"the amount of
 . . . groundwater available for withdrawal shall be that
 &lt;em class="ldml-emphasis"&gt;quantity of water&lt;/em&gt; . . . underlying the land owned by
 the applicant,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_42190"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis
 added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, and that well permits issued pursuant to &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"shall allow withdrawals on the basis of an aquifer life
 of one hundred years."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="42088" data-sentence-id="42526" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_42190"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42088" data-sentence-id="42548" class="ldml-sentence"&gt;To
 settle this dispute, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must discern the plain and ordinary
 meaning of the word &lt;span class="ldml-quotation quote"&gt;"quantity."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="42088" data-sentence-id="42645" class="ldml-sentence"&gt;Black's Law
 Dictionary defines &lt;span class="ldml-quotation quote"&gt;"quantity"&lt;/span&gt; as &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he amount
 of something measurable; the ascertainable number of
 countable things."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="42088" data-sentence-id="42779" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;Quantity&lt;/em&gt;, Black's Law
 Dictionary &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;12th ed. 2024&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42088" data-sentence-id="42830" class="ldml-sentence"&gt;Thus, the common meaning of
 &lt;span class="ldml-quotation quote"&gt;"quantity"&lt;/span&gt; suggests that &lt;span class="ldml-quotation quote"&gt;"quantity of
 water"&lt;/span&gt; as used in &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; refers to a measurable
 amount of water.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="42969" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="42969" data-sentence-id="42980" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_42980"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Recall, however, that groundwater is not static but instead
 flows through the aquifer, albeit slowly.&lt;/span&gt; &lt;span data-paragraph-id="42969" data-sentence-id="43088" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="supra" data-prop-ids="sentence_42980"&gt;&lt;span class="ldml-refname"&gt;Barkmann&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;supra&lt;/em&gt;, at 02.01&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42969" data-sentence-id="43116" class="ldml-sentence"&gt;Because groundwater moves, and
 because cumulative withdrawals of Denver Basin groundwater
 necessarily draw down the overall quantity of water within
 the basin's aquifers, the quantity of water directly
 underlying any given parcel of land is certain to change over
 time.&lt;/span&gt; &lt;span data-paragraph-id="42969" data-sentence-id="43391" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="supra" data-prop-ids="sentence_43116"&gt;&lt;span class="ldml-refname"&gt;Barkmann&lt;/span&gt;, &lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;supra&lt;/em&gt;, at 02.01&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42969" data-sentence-id="43418" class="ldml-sentence"&gt;Thus, to issue a
 permit, the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; must first determine &lt;span class="ldml-quotation quote"&gt;"the
 amount of such groundwater available for withdrawal."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="42969" data-sentence-id="43544" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_43418"&gt;&lt;span class="ldml-cite"&gt;37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_43636,sentence_43418" data-reftype="reporter" data-refglobal="case:vbarranchllcvcotten,233p3d1200,1210colo2010"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;V Bar Ranch LLC v.
 Cotten&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;233 P.3d 1200, 1206&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt;
 that the General Assembly &lt;span class="ldml-quotation quote"&gt;"vested the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_43701" data-val="34"&gt;&lt;/span&gt;
 with administrative authority over the distribution of the
 surface and groundwaters of &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42969" data-sentence-id="43804" class="ldml-sentence"&gt;Importantly,
 this determination can only be made by calculating the amount
 of nontributary groundwater underlying the land at the time
 that the permit or decree is issued.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="43979" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="43979" data-sentence-id="43990" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_43990"&gt;&lt;span class="ldml-cite"&gt;¶51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In our view, these statutory provisions are unambiguous.&lt;/span&gt; &lt;span data-paragraph-id="43979" data-sentence-id="44052" class="ldml-sentence"&gt;When
 read together with an eye towards an interpretation that
 gives &lt;span class="ldml-quotation quote"&gt;"consistent, harmonious, and sensible effect to
 all its parts,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44052" data-reftype="citeless" data-refglobal="case:deptofnatresv5starfeedlot,inc,2021co27"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;5 Star Feedlot, Inc.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_44052"&gt;&lt;span class="ldml-cite"&gt;¶
 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888828588" data-vids="888828588" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_44052"&gt;&lt;span class="ldml-cite"&gt;486 P.3d at 256&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; necessarily impose a total
 volumetric limit on withdrawals of nontributary Denver Basin
 groundwater over the lifetime of a well permit.&lt;/span&gt; &lt;span data-paragraph-id="43979" data-sentence-id="44376" class="ldml-sentence"&gt;Put simply,
 &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; provides that a landowner is entitled to that
 quantity of nontributary groundwater underlying their land,
 as determined by the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; at the time the permit is
 issued.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="44580" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="44580" data-sentence-id="44591" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_44591"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In order to effectuate &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s stated intent to
 ensure a useful life of the Denver Basin aquifers of at least
 100 years, each permittee is allowed to withdraw their water
 at a rate no greater than one percent of their total
 allocation.&lt;/span&gt; &lt;span data-paragraph-id="44580" data-sentence-id="44846" class="ldml-sentence"&gt;The calculation of that allowed average annual
 withdrawal-which must be expressly stated in a well
 permit-cannot be accomplished without first determining the
 quantity of water underlying the land that is available for
 withdrawal by each permittee.&lt;/span&gt; &lt;span data-paragraph-id="44580" data-sentence-id="45099" class="ldml-sentence"&gt;And, importantly, the Denver
 Basin aquifers cannot be fairly rationed and allocated among
 permittees if some are allowed to

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_45227" data-val="35"&gt;&lt;/span&gt;
 exceed their allocation, as determined by the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;,
 at the cost of other permittees.&lt;/span&gt; &lt;span data-paragraph-id="44580" data-sentence-id="45325" class="ldml-sentence"&gt;This is the argument that
 was advanced by &lt;span class="ldml-entity"&gt;intervenors&lt;/span&gt; Aurora and Greeley-both of which
 also have rights to use nontributary groundwater from the
 Denver Basin-before the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="45510" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="45510" data-sentence-id="45521" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_45521"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To be sure, Parker is correct that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; mandates the
 inclusion of only an annual amount of withdrawal in well
 permits-an amount that is based on the concept of a 100-year
 aquifer life and which reflects a withdrawal rate rather than
 a total volumetric limit.&lt;/span&gt; &lt;span data-paragraph-id="45510" data-sentence-id="45796" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reiterate that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;
 requires the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; to calculate the measurable
 quantity of tributary groundwater underlying each
 applicant's land at the time the permit is issued.&lt;/span&gt;
&lt;span data-paragraph-id="45510" data-sentence-id="45990" class="ldml-sentence"&gt;Without this determination, the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; cannot
 determine the annual rate of withdrawal.&lt;/span&gt; &lt;span data-paragraph-id="45510" data-sentence-id="46086" class="ldml-sentence"&gt;Put differently, the
 &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; cannot calculate an annual rate of withdrawal
 based on an undefined quantity of water that is certain to
 change over time.&lt;/span&gt; &lt;span data-paragraph-id="45510" data-sentence-id="46248" class="ldml-sentence"&gt;This calculation also cannot be fairly
 understood to include recoverable nontributary groundwater
 underlying land not owned by the permittee.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="46392" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="46392" data-sentence-id="46403" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_46403"&gt;&lt;span class="ldml-cite"&gt;¶54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In this regard, Parker's construction of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;
 ignores the hydrogeology of the groundwater at issue.&lt;/span&gt; &lt;span data-paragraph-id="46392" data-sentence-id="46516" class="ldml-sentence"&gt;The
 impact of pumping groundwater from an aquifer ripples beyond
 the actual water that is withdrawn.&lt;/span&gt; &lt;span data-paragraph-id="46392" data-sentence-id="46619" class="ldml-sentence"&gt;Withdrawal of aquifer
 water decreases overall water levels throughout the aquifer.&lt;/span&gt;
&lt;span data-paragraph-id="46392" data-sentence-id="46703" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_46738,sentence_46619"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[P]&lt;/span&gt;umping
 that exceeds recharge will eventually deplete the usable
 water

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_46816" data-val="36"&gt;&lt;/span&gt;
 in the Denver Basin aquifers."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46392" data-sentence-id="46851" class="ldml-sentence"&gt;Importantly,
 withdrawals also result in a drop in hydrostatic pressure in
 the area surrounding the well.&lt;/span&gt; &lt;span data-paragraph-id="46392" data-sentence-id="46958" class="ldml-sentence"&gt;This creates a cone of
 depression and draws water within the well's zone of
 influence toward the well.&lt;/span&gt; &lt;span data-paragraph-id="46392" data-sentence-id="47063" class="ldml-sentence"&gt;In other words, &lt;span class="ldml-entity"&gt;the act&lt;/span&gt; of pumping
 can pull groundwater underlying a neighboring permittee's
 land toward the well.&lt;/span&gt; &lt;span data-paragraph-id="46392" data-sentence-id="47180" class="ldml-sentence"&gt;Absent a total volumetric limit, a
 permittee who continues to pump at the maximum permitted rate
 for more than 100 years would end up pulling water to its
 well that would not otherwise be underlying its land.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="47392" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="47392" data-sentence-id="47403" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_47403"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Were &lt;span class="ldml-entity"&gt;we&lt;/span&gt; to embrace Parker's interpretation that
 permittees are entitled to withdraw at the annual rate in
 perpetuity, the result would be a race to the bottom of the
 aquifer, with earlier permittees receiving a significant head
 start.&lt;/span&gt; &lt;span data-paragraph-id="47392" data-sentence-id="47647" class="ldml-sentence"&gt;This result undermines the clear &lt;span class="ldml-entity"&gt;legislative intent&lt;/span&gt; to
 balance this economically critical resource's beneficial
 use with its conservation and the protection of vested
 groundwater rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="47837" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="47837" data-sentence-id="47848" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_47848"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Three provisions of the governing &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt; in
 particular support our construction that well permits are
 subject to total volumetric limits.&lt;/span&gt; &lt;span data-paragraph-id="47837" data-sentence-id="48003" class="ldml-sentence"&gt;First, &lt;span class="ldml-entity"&gt;section&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;37-90-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, mandates that nontributary
 groundwater &lt;span class="ldml-quotation quote"&gt;"shall be &lt;em class="ldml-emphasis"&gt;allocated&lt;/em&gt; . . . upon the
 basis of ownership of the overlying land."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="47837" data-sentence-id="48166" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis
 added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="47837" data-sentence-id="48185" class="ldml-sentence"&gt;According to Black's Law Dictionary,
 &lt;span class="ldml-quotation quote"&gt;"allocation"&lt;/span&gt; means &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he amount or share of
 something that has been set aside or designated for a
 particular

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_48337" data-val="37"&gt;&lt;/span&gt;
 purpose."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="47837" data-sentence-id="48349" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;Allocation&lt;/em&gt;, Black's Law
 Dictionary &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;12th ed. 2024&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47837" data-sentence-id="48402" class="ldml-sentence"&gt;Thus, based on the plain meaning
 of the term, nontributary groundwater that is allocated to a
 particular well permit based on overlying land ownership is
 &lt;span class="ldml-quotation quote"&gt;"set aside"&lt;/span&gt; at the time the permit is issued.&lt;/span&gt;
&lt;span data-paragraph-id="47837" data-sentence-id="48605" class="ldml-sentence"&gt;Noting again that groundwater is not stationary and that
 pumping of groundwater draws water toward the well, a
 construction of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_48605"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; that would allow a
 permittee to continuously withdraw water beyond the quantity
 underlying their land when their permit was issued would
 essentially authorize the withdrawal of nontributary
 groundwater allocated to other permittees.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="48992" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="48992" data-sentence-id="49003" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_49003"&gt;&lt;span class="ldml-cite"&gt;¶57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Second, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_49003"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; imbues the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;
 with the authority to &lt;span class="ldml-quotation quote"&gt;"adopt rules and regulations to
 prescribe reasonable criteria and procedures"&lt;/span&gt; regarding
 well permits.&lt;/span&gt; &lt;span data-paragraph-id="48992" data-sentence-id="49193" class="ldml-sentence"&gt;But it limits the universe of permissible rules
 and regulations to those which &lt;span class="ldml-quotation quote"&gt;"allow the withdrawal
 pursuant to such permits of &lt;em class="ldml-emphasis"&gt;the full amount of
 groundwater&lt;/em&gt; determined under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_49193"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="48992" data-sentence-id="49390" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_49193"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="48992" data-sentence-id="49412" class="ldml-sentence"&gt;The &lt;span class="ldml-quotation quote"&gt;"full amount of
 groundwater determined"&lt;/span&gt; by the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; during the
 well permitting process is, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reiterate, necessarily a
 snapshot of the quantity underlying the land at the time the
 determination is made.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="49633" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="49633" data-sentence-id="49644" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_49644"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Third, the annual amount of withdrawal stated in a well
 permit is subject to &lt;span class="ldml-quotation quote"&gt;"subsequent adjustment . . . to
 conform to the actual aquifer characteristics encountered
 upon drilling of the well or test holes."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="49633" data-sentence-id="49861" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_49644"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49633" data-sentence-id="49881" class="ldml-sentence"&gt;This

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_49888" data-val="38"&gt;&lt;/span&gt;
 provision reflects &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s recognition of the
 difficulties inherent in determining the quantity of
 groundwater underlying an applicant's land.&lt;/span&gt; &lt;span data-paragraph-id="49633" data-sentence-id="50045" class="ldml-sentence"&gt;It also
 supports our construction of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; when taken as a
 whole.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="50119" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="50119" data-sentence-id="50130" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_50130"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 And, if upon constructing the well or drilling test holes,
 the permittee discovers that the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s
 determination of the quantity of water underlying their land
 appears to be inaccurate, under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_50130"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the
 &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; may adjust its determination of that quantity,
 thereby adjusting the annual amount of withdrawal.&lt;/span&gt; &lt;span data-paragraph-id="50119" data-sentence-id="50484" class="ldml-sentence"&gt;Under
 Parker's interpretation, this provision would serve
 little purpose: A permittee could simply withdraw groundwater
 in accordance with the stated allowed average annual amount
 of withdrawal rate until the physical supply of groundwater
 is exhausted, without the need for such an adjustment to
 conform to the actual aquifer characteristics.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="50834" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="50834" data-sentence-id="50845" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_50845"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree with the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; that a permittee could
 extend the life of a well permit beyond one hundred years by
 withdrawing less than the one percent maximum rate until &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 have reached their total volumetric limit.&lt;/span&gt; &lt;span data-paragraph-id="50834" data-sentence-id="51074" class="ldml-sentence"&gt;However, once the
 total volumetric limit is reached, the permittee must stop
 operating the well because pumping beyond the volumetric cap
 would result in the taking of nontributary groundwater that
 belongs to other permittees, each of which has their own
 vested right to use one percent of the total amount of
 nontributary

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_51405" data-val="39"&gt;&lt;/span&gt;
 groundwater underlying their land as determined by the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; at the time their permits were issued.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="51517" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="51517" data-sentence-id="51528" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_51528"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; note that the existence of a total volumetric
 limit has been implicitly recognized by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; in prior
 &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51517" data-sentence-id="51660" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889107724" data-vids="889107724" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_51660"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bayou Land Co.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, for example, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; explained
 that &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;legislature&lt;/span&gt; has created an inchoate right to
 control and use &lt;em class="ldml-emphasis"&gt;a specified amount&lt;/em&gt; of nontributary
 ground water in owners of overlying land."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="51517" data-sentence-id="51857" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889107724" data-vids="889107724" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_51660"&gt;&lt;span class="ldml-cite"&gt;924 P.2d at
 149&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51517" data-sentence-id="51892" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; later noted in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_51892"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N.
 Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; use right is a specific
 entitlement to &lt;em class="ldml-emphasis"&gt;a quantity&lt;/em&gt; of Denver Basin ground
 water underneath the applicant's land."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="51517" data-sentence-id="52051" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_51892"&gt;&lt;span class="ldml-cite"&gt;77 P.3d at
 66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51517" data-sentence-id="52084" class="ldml-sentence"&gt;Our decision today is consistent with
 these earlier pronouncements.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="52153" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="52153" data-sentence-id="52164" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_52164"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For all these reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; now hold that the plain language of
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_52164"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; unambiguously imposes a total volumetric
 limit on the amount of nontributary Denver Basin groundwater
 a permittee may withdraw over the lifetime of a well permit.&lt;/span&gt;
&lt;span data-paragraph-id="52153" data-sentence-id="52418" class="ldml-sentence"&gt;The total volumetric limit is equal to that quantity of
 nontributary groundwater underlying the applicant's land
 as determined by the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52153" data-sentence-id="52570" class="ldml-sentence"&gt;While that quantity is
 calculated at the time the permit is issued, it can be
 revised upon the presentation of new information to the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52153" data-sentence-id="52723" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; further hold that, even where not expressly
 stated, such a total volumetric limit exists by implication
 in every well permit issued pursuant to

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_52874" data-val="40"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_52723"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and is equal to one hundred times the
 maximum annual amount of withdrawal.&lt;/span&gt;&lt;span data-paragraph-id="52153" data-sentence-id="52971" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN9" class="ldml-noteanchor" id="note-ref-ftn.FN9"&gt;9&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="3" data-content-heading-label="
 C.
Well Permits Issued Under Senate Bill 213 Are Also Subject to
 a Total Volumetric Limit
" data-specifier="C" data-ordinal_end="3" data-id="heading_52974" data-parsed="true" data-value="C.
 Well Permits Issued Under Senate Bill 213 Are Also Subject to
 a Total Volumetric Limit" id="heading_52974" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="52974" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="52974" data-sentence-id="52985" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;span data-paragraph-id="52974" data-sentence-id="52988" class="ldml-sentence"&gt;Well Permits Issued Under &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213 Are Also Subject to
 a Total Volumetric Limit&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="53076" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="53076" data-sentence-id="53087" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_53087"&gt;&lt;span class="ldml-cite"&gt;¶63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Parker maintains that, even if the current version of &lt;span class="ldml-entity"&gt;the
 statute&lt;/span&gt; imposes a total volumetric limit, no such limit
 applies to its well permits issued under &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213.&lt;/span&gt;
&lt;span data-paragraph-id="53076" data-sentence-id="53266" class="ldml-sentence"&gt;According to Parker, the earlier version of the well
 permitting &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; - enacted through &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213 in &lt;span class="ldml-entity"&gt;1973&lt;/span&gt;
 and in effect until the passage of

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_53419" data-val="41"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 5 in &lt;span class="ldml-entity"&gt;1985&lt;/span&gt;-unambiguously did not provide for, set
 forth, or authorize a total volumetric limit on withdrawals
 of nontributary Denver Basin groundwater.&lt;/span&gt; &lt;span data-paragraph-id="53076" data-sentence-id="53585" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="53598" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="53598" data-sentence-id="53609" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_53609"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Recall that &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213 amended &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; to add a new
 subsection, which stated, in relevant part, that:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_53726" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="53727" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;n considering whether &lt;span class="ldml-parenthetical"&gt;[a well]&lt;/span&gt; permit shall be issued,
 only &lt;em class="ldml-emphasis"&gt;that quantity of water underlying the land owned by
 the applicant&lt;/em&gt; or by the owners of the area, by their
 consent, to be served is considered to be unappropriated;
 &lt;span class="ldml-parenthetical"&gt;[and]&lt;/span&gt; the minimum useful life of the aquifer is one hundred
 years, assuming that there is no substantial artificial
 recharge within said period ....&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="54108" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="54108" data-sentence-id="54109" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="54157" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54157" data-sentence-id="54168" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_54168"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Looking again to the plain and ordinary meaning of the
 statutory language, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; read &lt;span class="ldml-quotation quote"&gt;"that quantity of water
 underlying the land owned by the applicant"&lt;/span&gt; to have the
 same meaning as the substantially similar language in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_54168"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the phrase
 unambiguously refers to a measurable amount of water.&lt;/span&gt;
&lt;span data-paragraph-id="54157" data-sentence-id="54510" class="ldml-sentence"&gt;Merriam-Webster defines &lt;span class="ldml-quotation quote"&gt;"appropriate"&lt;/span&gt; as &lt;span class="ldml-quotation quote"&gt;"to
 take &lt;em class="ldml-emphasis"&gt;exclusive&lt;/em&gt; possession of"&lt;/span&gt; or "to set
 apart for or assign to a particular purpose or use
 &lt;em class="ldml-emphasis"&gt;Appropriate&lt;/em&gt;, Merriam-Webster Dictionary,
 https://www.merriam-webster.com/dictionary/appropriate
 &lt;span class="ldml-parenthetical"&gt;[https://perma.cc/JS4J-4SF2]&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="54157" data-sentence-id="54795" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;Senate
 Bill&lt;/span&gt; 213 clearly provided that &lt;span class="ldml-quotation quote"&gt;"only that quantity of
 water"&lt;/span&gt; not already exclusively possessed or assigned to
 another is available for withdrawal pursuant to a well
 permit.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_54985" data-val="42"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="54985" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54985" data-sentence-id="54996" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_54996"&gt;&lt;span class="ldml-cite"&gt;¶66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Moreover, in our view, the General Assembly's instruction
 that &lt;span class="ldml-quotation quote"&gt;"&lt;em class="ldml-emphasis"&gt;only&lt;/em&gt; that quantity of water"&lt;/span&gt; is
 unappropriated and therefore available for withdrawal
 evidences &lt;span class="ldml-entity"&gt;a legislative intent&lt;/span&gt; to impose a limit on the total
 quantity of groundwater a permittee may withdraw.&lt;/span&gt; &lt;span data-paragraph-id="54985" data-sentence-id="55267" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See
 Only&lt;/em&gt;, Merriam-Webster Dictionary,
 https://www.merriam-webster.com/dictionary/only
 &lt;span class="ldml-parenthetical"&gt;[https://perma.cc/76T3-3HLB]&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(defining &lt;span class="ldml-quotation quote"&gt;"only"&lt;/span&gt; as
 &lt;span class="ldml-quotation quote"&gt;"alone in a class or category"&lt;/span&gt; or &lt;span class="ldml-quotation quote"&gt;"solely,
 exclusively"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="55465" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="55465" data-sentence-id="55476" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_55476"&gt;&lt;span class="ldml-cite"&gt;¶67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 And, as with the current version of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;
 has implicitly acknowledged the existence of a total
 volumetric limit on groundwater withdrawals for permits
 issued under &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213.&lt;/span&gt; &lt;span data-paragraph-id="55465" data-sentence-id="55683" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_55683"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bargas&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, for
 example, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; explained that through &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213, &lt;span class="ldml-quotation quote"&gt;"the
 General Assembly . . . &lt;em class="ldml-emphasis"&gt;limited withdrawals&lt;/em&gt; of
 nontributary ground water &lt;em class="ldml-emphasis"&gt;to the amount of water&lt;/em&gt;
 underlying the well owner's land."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="55465" data-sentence-id="55889" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_55683"&gt;&lt;span class="ldml-cite"&gt;986 P.2d at 269
 n.16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphases added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="55929" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="55929" data-sentence-id="55940" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_55940"&gt;&lt;span class="ldml-cite"&gt;¶68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that a total volumetric limit on
 withdrawals of nontributary Denver Basin groundwater is
 implied in and applies to all well permits issued under
 &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213, even if such a limit is not explicitly
 stated in the permit or decree.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="4" data-content-heading-label="
 D.
The Statewide Nontributary Ground Water Rules Unambiguously
 Impose a Total Volumetric Limit
" data-specifier="D" data-ordinal_end="4" data-id="heading_56203" data-parsed="true" data-value="D.
 The Statewide Nontributary Ground Water Rules Unambiguously
 Impose a Total Volumetric Limit" id="heading_56203" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="56203" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="56203" data-sentence-id="56214" class="ldml-sentence"&gt;D.&lt;/span&gt;
&lt;span data-paragraph-id="56203" data-sentence-id="56217" class="ldml-sentence"&gt;The Statewide Nontributary Ground Water Rules Unambiguously
 Impose a Total Volumetric Limit&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="56310" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="56310" data-sentence-id="56321" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_56321"&gt;&lt;span class="ldml-cite"&gt;¶69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 This same logic leads &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to reject Parker's contention
 that a total volumetric limitation is not authorized by the
 Statewide Nontributary Ground Water Rules.&lt;/span&gt; &lt;span data-paragraph-id="56310" data-sentence-id="56486" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree with the
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; that the unambiguous language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_56486"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_56566" data-val="43"&gt;&lt;/span&gt;
 Statewide Nontributary Ground Water Rules imposes a total
 volumetric limit on the withdrawals of nontributary
 groundwater from Denver Basin wells.&lt;/span&gt; &lt;span data-paragraph-id="56310" data-sentence-id="56717" class="ldml-sentence"&gt;The relevant portions of
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_56717"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; read as follows:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_56767" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="56768" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-sentence-id="56771" class="ldml-sentence"&gt;The allowed average annual amount of withdrawal shall be
 based on an aquifer life of 100 years in accordance with
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;Section&lt;/span&gt; &lt;span class="ldml-cite"&gt;37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;, C.R.S.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-sentence-id="56922" class="ldml-sentence"&gt;The allowed average annual
 amount of withdrawal for all of the wells on the overlying
 land shall not exceed one percent of the total amount of
 water, exclusive of artificial recharge, recoverable from a
 specific aquifer beneath the overlying land.&lt;/span&gt; &lt;span data-sentence-id="57174" class="ldml-sentence"&gt;However, the
 allowed annual amount of withdrawal may exceed the allowed
 average annual amount of withdrawal as long as the total
 volume of water withdrawn from the well or wells does not
 exceed the product of the number of years since the . . .
 issuance of the well permit . . . times the allowed average
 annual amount of withdrawal.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_57514" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="57515" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-sentence-id="57518" class="ldml-sentence"&gt;The total amount of water recoverable from a specific
 aquifer from a well or wells shall be determined by
 multiplying the number of acres of overlying land . . . by
 the average number of feet of saturated aquifer materials in
 the aquifer underlying those lands by the average specific
 yield of those saturated aquifer materials.&lt;/span&gt; &lt;span data-sentence-id="57852" class="ldml-sentence"&gt;The allowed
 average annual amount of withdrawal shall be 1% of the total
 recoverable water....&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="57949" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="57949" data-sentence-id="57950" class="ldml-sentence"&gt;Div. of Water Res., &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_57950"&gt;&lt;span class="ldml-cite"&gt;2 Colo. Code Regs. 402-7:8&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="58005" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="58005" data-sentence-id="58016" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_58016"&gt;&lt;span class="ldml-cite"&gt;¶70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 By setting forth a formula the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; is to use in
 determining a &lt;span class="ldml-quotation quote"&gt;"total amount of water recoverable,"&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_58016"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; plainly sets forth a total quantity of water that a
 permittee is allowed to withdraw under a well permit.&lt;/span&gt; &lt;span data-paragraph-id="58005" data-sentence-id="58249" class="ldml-sentence"&gt;The
 fact that this quantity is then used to calculate the allowed
 average annual amount of withdrawal does not strip it of its
 independent significance: Over the lifetime of a well permit,
 a permittee may only withdraw &lt;span class="ldml-quotation quote"&gt;"the total amount of water

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_58501" data-val="44"&gt;&lt;/span&gt;
 recoverable,"&lt;/span&gt; as determined by the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; at the
 time the permit is issued.&lt;/span&gt; &lt;span data-paragraph-id="58005" data-sentence-id="58588" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_58588"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; explicitly states as
 much, explaining that &lt;span class="ldml-quotation quote"&gt;"the allowed average annual amount
 of withdrawal shall be 1% of the total recoverable
 water."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="58005" data-sentence-id="58738" class="ldml-sentence"&gt;This provision necessarily imposes a total
 volumetric limit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="58800" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="58800" data-sentence-id="58811" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_58811"&gt;&lt;span class="ldml-cite"&gt;¶71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 If a permittee withdraws the maximum allowed average annual
 amount of withdrawal each year, then at the end of year 100,
 the permittee will have withdrawn 100 percent of the
 &lt;span class="ldml-quotation quote"&gt;"total amount of water recoverable."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="58800" data-sentence-id="59030" class="ldml-sentence"&gt;Were &lt;span class="ldml-entity"&gt;we&lt;/span&gt; to
 adopt Parker's construction-allowing a permittee to
 continue withdrawing water in perpetuity so long as the well
 is able to draw water-then a permittee would be able to
 withdraw &lt;em class="ldml-emphasis"&gt;more than&lt;/em&gt; 100% of the quantity of water the
 &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; determined to be underlying the land.&lt;/span&gt; &lt;span data-paragraph-id="58800" data-sentence-id="59321" class="ldml-sentence"&gt;Such a
 result is plainly illogical, as it would allow for the mining
 of water beyond the amount underlying the applicant's
 land.&lt;/span&gt; &lt;span data-paragraph-id="58800" data-sentence-id="59453" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have explained, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must avoid regulatory
 interpretations that lead to illogical results.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="59549" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="59549" data-sentence-id="59560" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_59560"&gt;&lt;span class="ldml-cite"&gt;¶72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Thus, when read as a whole, the Rules unambiguously impose a
 total volumetric limit on nontributary groundwater
 withdrawals from Denver Basin wells over the lifetime of a
 well permit.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="5" data-content-heading-label="
 E.
The State Engineer Has the Authority to Impose a Total
 Volumetric Limit
" data-specifier="E" data-ordinal_end="5" data-id="heading_59752" data-parsed="true" data-value="E.
 The State Engineer Has the Authority to Impose a Total
 Volumetric Limit" id="heading_59752" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="59752" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="59752" data-sentence-id="59763" class="ldml-sentence"&gt;E.&lt;/span&gt;
&lt;span data-paragraph-id="59752" data-sentence-id="59766" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;State Engineer Has&lt;/span&gt; the Authority to Impose a Total
 Volumetric Limit&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="59839" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="59839" data-sentence-id="59850" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_59850"&gt;&lt;span class="ldml-cite"&gt;¶73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Parker next contends that the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; lacks the
 authority to impose a total volumetric limit on nontributary
 groundwater withdrawals.&lt;/span&gt; &lt;span data-paragraph-id="59839" data-sentence-id="59998" class="ldml-sentence"&gt;In Parker's

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_60012" data-val="45"&gt;&lt;/span&gt;
 view, the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s inclusion of such a limit was
 arbitrary and capricious, contrary to law, and constituted an
 abuse of discretion.&lt;/span&gt; &lt;span data-paragraph-id="59839" data-sentence-id="60156" class="ldml-sentence"&gt;Again, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="60176" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="60176" data-sentence-id="60187" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_60187"&gt;&lt;span class="ldml-cite"&gt;¶74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Through the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_60187"&gt;&lt;span class="ldml-cite"&gt;Colorado Groundwater Management Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the General
 Assembly delegated to the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; the duty and
 authority to issue and administer nontributary groundwater
 well permits in accordance with the &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60187" data-reftype="reporter" data-refglobal="case:statutevbarranchllc,233p3dat1206"&gt;&lt;span class="ldml-refname"&gt;statute. &lt;em class="ldml-emphasis"&gt;V Bar Ranch
 LLC&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;233 P.3d at 1206&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-110&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="60176" data-sentence-id="60481" class="ldml-sentence"&gt;Given our conclusion that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; and the Rules
 unambiguously limit the total amount of nontributary Denver
 Basin groundwater that may be withdrawn over the lifetime of
 a well permit, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; has the
 authority to impose such a limit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="60747" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="60747" data-sentence-id="60758" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_60758"&gt;&lt;span class="ldml-cite"&gt;¶75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reiterate that the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s inclusion of a
 stated total volumetric limit on well permits, while a change
 in form, is not a change in substance: All nontributary
 Denver Basin well permits, whether &lt;span class="ldml-entity"&gt;they&lt;/span&gt; explicitly state a
 total limit or not, necessarily include an implicit total
 volumetric limit of one hundred times the allowed average
 annual amount of withdrawal.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="6" data-content-heading-label="
 F.
The State Engineer's Inclusion of a Total Volumetric
 Limit Does Not Violate or Impair Parker's Decreed
 Nontributary Groundwater Rights
" data-specifier="F" data-ordinal_end="6" data-id="heading_61144" data-parsed="true" data-value="F.
 The State Engineer's Inclusion of a Total Volumetric
 Limit Does Not Violate or Impair Parker's Decreed
 Nontributary Groundwater Rights" id="heading_61144" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="61144" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="61144" data-sentence-id="61155" class="ldml-sentence"&gt;F.&lt;/span&gt;
&lt;span data-paragraph-id="61144" data-sentence-id="61158" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s Inclusion of a Total Volumetric
 Limit Does Not Violate or Impair Parker's Decreed
 Nontributary Groundwater Rights&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="61295" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="61295" data-sentence-id="61306" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_61306"&gt;&lt;span class="ldml-cite"&gt;¶76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As previously noted, a landowner can perfect their inchoate
 right to use nontributary groundwater either by obtaining a
 well permit and constructing a well or by applying for and
 receiving a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; decree determining their rights

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_61551" data-val="46"&gt;&lt;/span&gt;
 in the groundwater.&lt;/span&gt; &lt;span data-paragraph-id="61295" data-sentence-id="61573" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, most of Parker's well
 permits were issued pursuant to water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; decrees that
 adjudicated the groundwater underlying the land and
 established Parker's vested groundwater rights.&lt;/span&gt; &lt;span data-paragraph-id="61295" data-sentence-id="61769" class="ldml-sentence"&gt;Parker
 contends that because these decrees lacked an explicit total
 volumetric limit and many also contained language requiring
 the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; to issue permits in accordance with, and
 no more burdensome than, the terms of the decree, the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt;'s inclusion of the total volumetric limit in its
 well permits violated the terms of its existing decrees and,
 as a result, impairs its vested groundwater rights.&lt;/span&gt; &lt;span data-paragraph-id="61295" data-sentence-id="62195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; are
 not persuaded.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="62218" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="62218" data-sentence-id="62229" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_62229"&gt;&lt;span class="ldml-cite"&gt;¶77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Through the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_62229"&gt;&lt;span class="ldml-cite"&gt;Water Right Determination and Administration Act
 of 1969&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and subsequent &lt;span class="ldml-entity"&gt;amendments&lt;/span&gt;, the General Assembly
 imbued water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; with exclusive jurisdiction over water
 matters, including the authority to adjudicate and determine
 nontributary groundwater rights.&lt;/span&gt; &lt;span data-paragraph-id="62218" data-sentence-id="62508" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_62508"&gt;&lt;span class="ldml-cite"&gt;Sections 37-92-302&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to -305,
 C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;, lay out the procedure by which a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 may adjudicate water rights and rights in nontributary
 groundwater, but the extent of a right to nontributary
 groundwater is nonetheless governed by the same statutory
 provisions applicable to well permits for such groundwater.&lt;/span&gt;
&lt;span data-paragraph-id="62218" data-sentence-id="62829" class="ldml-sentence"&gt;This is apparent from the plain language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_62829"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which provides that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[r]&lt;/span&gt;ights to
 nontributary groundwater outside of designated groundwater
 basins may be determined in accordance with the procedures of
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_62829"&gt;&lt;span class="ldml-cite"&gt;sections 37-92-302 to 37-92-305&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,"&lt;/span&gt; but that any
 &lt;span class="ldml-quotation quote"&gt;"determination of

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_63121" data-val="47"&gt;&lt;/span&gt;
 the right to such water for existing and future uses . . .
 &lt;em class="ldml-emphasis"&gt;shall be&lt;/em&gt; in accordance with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_62829"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;
 of &lt;span class="ldml-entity"&gt;this section&lt;/span&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="62218" data-sentence-id="63254" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="62218" data-sentence-id="63272" class="ldml-sentence"&gt;Accordingly, any
 decree determining rights to nontributary groundwater is
 subject to the statutory limitations set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_63272"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, even if the decree is silent as to this
 limitation.&lt;/span&gt; &lt;span data-paragraph-id="62218" data-sentence-id="63474" class="ldml-sentence"&gt;And, because the plain language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_63474"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; imposes a total volumetric limit on groundwater
 withdrawals pursuant to a well permit, a total volumetric
 limit is likewise, by necessity, implied in every water
 decree determining a right to use nontributary groundwater.&lt;/span&gt;
&lt;span data-paragraph-id="62218" data-sentence-id="63756" class="ldml-sentence"&gt;Like the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;, a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; cannot calculate and
 impose an allowed annual amount of withdrawal without
 initially quantifying a total volume of water underlying an
 applicant's land.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="63951" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="63951" data-sentence-id="63962" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_63962"&gt;&lt;span class="ldml-cite"&gt;¶78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 This construction is also consistent with earlier &lt;span class="ldml-entity"&gt;decisions
 of &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;&lt;/span&gt; that have implicitly recognized such a limit.&lt;/span&gt;
&lt;span data-paragraph-id="63951" data-sentence-id="64088" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_64088"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, for example, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; explained that a
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;djudication of nondesignated
 Denver Basin ground water enabled the landowner . . . to
 obtain a decree establishing a use right to withdraw water at
 a later time for &lt;em class="ldml-emphasis"&gt;a specific quantity&lt;/em&gt; of Denver Basin
 ground water underneath her land."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="63951" data-sentence-id="64399" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_64088"&gt;&lt;span class="ldml-cite"&gt;77 P.3d at 75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="embeddedsentence_64450,sentence_64088"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt; at 66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(&lt;span class="ldml-quotation quote"&gt;"A use
 right is a specific entitlement to &lt;em class="ldml-emphasis"&gt;a quantity&lt;/em&gt; of
 Denver Basin ground water ...."&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="63951" data-sentence-id="64560" class="ldml-sentence"&gt;Before issuing a decree, &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;court&lt;/span&gt; determines &lt;em class="ldml-emphasis"&gt;the
 amount&lt;/em&gt; of

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_64624" data-val="48"&gt;&lt;/span&gt;
 nontributary ground water . . . that the landowner may
 withdraw."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="63951" data-sentence-id="64693" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_64560"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="64721" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="64721" data-sentence-id="64732" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_64732"&gt;&lt;span class="ldml-cite"&gt;¶79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reiterate that a nontributary groundwater right is an
 inchoate right in the overlying landowner to use that
 groundwater lying beneath the land.&lt;/span&gt; &lt;span data-paragraph-id="64721" data-sentence-id="64885" class="ldml-sentence"&gt;Because the
 landowner's nontributary groundwater right vests when &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; issues a decree establishing that right, the relevant
 quantity of water is that quantity underlying the land when
 the decree is issued.&lt;/span&gt; &lt;span data-paragraph-id="64721" data-sentence-id="65101" class="ldml-sentence"&gt;In other words, the total amount of
 water available for withdrawal is fixed at the time the
 decree is entered.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="65214" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="65214" data-sentence-id="65225" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_65225"&gt;&lt;span class="ldml-cite"&gt;¶80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Thus, for the same reasons that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; read &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_65225"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 as setting forth and requiring a total volumetric limit on
 the amount of water that may be withdrawn from Denver Basin
 aquifers over the lifetime of a well permit, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; now hold that
 a total volumetric limit is implied in every water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 decree establishing the right to use nontributary Denver
 Basin groundwater, unless a decree determining a right to use
 that water explicitly provides otherwise.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="7" data-content-heading-label="
 G.
The Water Court Did Not Abuse Its Discretion in Staying
 Discovery
" data-specifier="G" data-ordinal_end="7" data-id="heading_65697" data-parsed="true" data-value="G.
 The Water Court Did Not Abuse Its Discretion in Staying
 Discovery" id="heading_65697" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="65697" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="65697" data-sentence-id="65708" class="ldml-sentence"&gt;G.&lt;/span&gt;
&lt;span data-paragraph-id="65697" data-sentence-id="65711" class="ldml-sentence"&gt;The Water &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; Did Not Abuse Its Discretion in Staying
 Discovery&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="65778" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="65778" data-sentence-id="65789" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_65789"&gt;&lt;span class="ldml-cite"&gt;¶81&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; address Parker's contention that the water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt; abused its discretion by staying all discovery until it
 ruled on the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;'s counterclaim.&lt;/span&gt; &lt;span data-paragraph-id="65778" data-sentence-id="65957" class="ldml-sentence"&gt;Through its
 &lt;span class="ldml-entity"&gt;motion for discovery&lt;/span&gt;, Parker sought to introduce evidence as
 to the meaning of the applicable statutory provisions and the
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_65957"&gt;&lt;span class="ldml-cite"&gt;Rules.

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_66104" data-val="49"&gt;&lt;/span&gt;
 ¶82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 When presented with questions of statutory interpretation,
 &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; must first analyze the plain language of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="65778" data-sentence-id="66241" class="ldml-sentence"&gt;Recall that, where the language is ambiguous-i.e.,
 susceptible to multiple interpretations-&lt;span class="ldml-entity"&gt;courts&lt;/span&gt; may consider
 extraneous evidence as to its meaning and apply tools of
 statutory construction to determine &lt;span class="ldml-entity"&gt;the legislative intent&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="65778" data-sentence-id="66472" class="ldml-sentence"&gt;But if the language is unambiguous, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; must enforce &lt;span class="ldml-entity"&gt;the
 statute&lt;/span&gt; as written and &lt;span class="ldml-quotation quote"&gt;"look no further."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="65778" data-sentence-id="66575" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891159163" data-vids="891159163" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_66472"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bd.
 of Cnty. Comm'rs v. Costilla Cnty. Conservancy
 Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;88 P.3d 1188, 1193&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="65778" data-sentence-id="66668" class="ldml-sentence"&gt;Here, the water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt; found the relevant language unambiguous and resolved
 each of the questions of law before it on the plain language.&lt;/span&gt;
&lt;span data-paragraph-id="65778" data-sentence-id="66807" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree with the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; and
 the Rules are unambiguous, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 acted within its broad discretion in staying discovery.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="4" data-types="conclusion" data-content-heading-label="
 IV.
Conclusion
" data-specifier="IV" data-ordinal_end="4" data-id="heading_66984" data-confidences="very_high" data-parsed="true" data-value="IV.
 Conclusion" id="heading_66984" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="66984" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="66984" data-sentence-id="66995" class="ldml-sentence"&gt;IV.&lt;/span&gt;
&lt;span data-paragraph-id="66984" data-sentence-id="66999" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="67010" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="67010" data-sentence-id="67021" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_67021"&gt;&lt;span class="ldml-cite"&gt;¶83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For the foregoing reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_67021"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; unambiguously sets forth a total volumetric limit
 on withdrawals of nontributary Denver Basin groundwater over
 the lifetime of a well permit equal to the quantity of water
 underlying the landowner's land as determined by the
 &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; at the time the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; issues a
 permit; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; well permits issued under &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213 are
 also subject to this total volumetric limit; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the
 Statewide Nontributary Ground Water Rules likewise
 unambiguously impose a total volumetric limit; &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; the &lt;span class="ldml-entity"&gt;State
 Engineer&lt;/span&gt; has the authority to include this total

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_67656" data-val="50"&gt;&lt;/span&gt;
 volumetric limit on nontributary groundwater well permits;
 &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; decrees determining use rights for
 nontributary Denver Basin groundwater set forth a total
 volumetric limit on withdrawals unless an underlying decree
 determining a right to use that water explicitly provides
 otherwise; and &lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not abuse its
 discretion in staying discovery.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="68034" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="68034" data-sentence-id="68045" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_68045"&gt;&lt;span class="ldml-cite"&gt;¶84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the orders of the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="68104" class="ldml-paragraph "&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="68104" data-sentence-id="68117" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt; dissented&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_68146" data-val="51"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="68146" class="ldml-paragraph no-indent mt-4"&gt;

 &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Dissenting Opinion (BOATRIGHT)"&gt;&lt;span data-paragraph-id="68146" data-sentence-id="68159" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-opiniontype"&gt;dissenting&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="68190" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="68190" data-sentence-id="68201" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_68201"&gt;&lt;span class="ldml-cite"&gt;¶85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Today the majority concludes that &lt;span class="ldml-quotation quote"&gt;"the plain language of
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_68201"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;[, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;,]&lt;/span&gt;&lt;/span&gt; unambiguously imposes
 a total volumetric limit on the amount of nontributary Denver
 Basin groundwater a permittee may withdraw over the lifetime
 of a well permit."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="68190" data-sentence-id="68470" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_68201"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="68190" data-sentence-id="68485" class="ldml-sentence"&gt;But for the past
 fifty years, landowners outside of designated groundwater
 basins have believed their nontributary pumping rights to be
 limited only by &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the annual rate of withdrawal specified
 in their well permit or water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; decree, and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the
 physical quantity of recoverable water underlying their land.&lt;/span&gt;
&lt;span data-paragraph-id="68190" data-sentence-id="68804" class="ldml-sentence"&gt;By introducing a new limit-a total volumetric cap and
 interrelated 100-year permit lifetime, determined by the
 &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; at the time of permit issuance-the
 majority's ruling upends these expectations.&lt;/span&gt; &lt;span data-paragraph-id="68190" data-sentence-id="69013" class="ldml-sentence"&gt;Moreover,
 the majority's interpretation curtails vested water
 rights, not just in the Denver Basin, but statewide.&lt;/span&gt; &lt;span data-paragraph-id="68190" data-sentence-id="69130" class="ldml-sentence"&gt;This
 construction of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; requires the conclusion that the
 General Assembly abrogated these rights with neither express
 language nor &lt;em class="ldml-emphasis"&gt;any debate&lt;/em&gt; in &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="68190" data-sentence-id="69304" class="ldml-sentence"&gt;The
 plain language, lengthy legislative history, and this
 ruling's likely consequences lead me to conclude that &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt; never intended to cap pumping after 100 years.&lt;/span&gt;
&lt;span data-paragraph-id="68190" data-sentence-id="69482" class="ldml-sentence"&gt;Instead, I present the following version of events in support
 of my conclusion.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="69563" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="69563" data-sentence-id="69574" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_69574"&gt;&lt;span class="ldml-cite"&gt;¶86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;1973&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;State Engineer's Office&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;SEO&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;
 asked &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; for guidance to support the SEO's
 issuance of well permits in the Denver Basin.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_69728" data-val="52"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="69563" data-sentence-id="69729" class="ldml-sentence"&gt;Specifically, the SEO sought a statutory determination
 regarding how long of an &lt;span class="ldml-quotation quote"&gt;"aquifer life"&lt;/span&gt; it should
 use as the basis for its engineering determinations.&lt;/span&gt; &lt;span data-paragraph-id="69563" data-sentence-id="69889" class="ldml-sentence"&gt;In
 essence, the question that the SEO posed to &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;
 was: How long do you want the groundwater in &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s
 nontributary aquifers, including the Denver Basin aquifers to
 last?&lt;/span&gt; &lt;span data-paragraph-id="69563" data-sentence-id="70081" class="ldml-sentence"&gt;The answer: a&lt;em class="ldml-emphasis"&gt;t least&lt;/em&gt; 100 years.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="70113" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="70113" data-sentence-id="70124" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_70124"&gt;&lt;span class="ldml-cite"&gt;¶87&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To achieve that goal, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; enacted &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_70124"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, balancing its twin aims of economic development
 and prudential use of &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s water resources.&lt;/span&gt; &lt;span data-paragraph-id="70113" data-sentence-id="70295" class="ldml-sentence"&gt;In so
 doing, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; decided to allow continued pumping,
 but also to regulate annual withdrawal rates such that no
 landowner would exhaust their underlying water in less than
 100 years.&lt;/span&gt; &lt;span data-paragraph-id="70113" data-sentence-id="70493" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; directed the SEO to
 ensure that permittees &lt;span class="ldml-quotation quote"&gt;"sipped slowly"&lt;/span&gt; by issuing
 permits with pumping rates based on achieving a minimum
 aquifer life of 100 years.&lt;/span&gt; &lt;span data-paragraph-id="70113" data-sentence-id="70678" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;
 understood the uncertainty inherent in estimating, at the
 time of permit issuance, both the current and future
 quantities of recoverable groundwater underlying an
 applicant's land.&lt;/span&gt; &lt;span data-paragraph-id="70113" data-sentence-id="70888" class="ldml-sentence"&gt;Because of this uncertainty, &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt; knew it was possible that significant quantities
 of recoverable water might remain underlying permittees'
 lands after 100 years of pumping.&lt;/span&gt; &lt;span data-paragraph-id="70113" data-sentence-id="71076" class="ldml-sentence"&gt;To account for this
 possibility, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_71076"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; guarantees landowners a
 &lt;em class="ldml-emphasis"&gt;minimum&lt;/em&gt; of 100 years of pumping, not a
 &lt;em class="ldml-emphasis"&gt;maximum&lt;/em&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_71202" data-val="53"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="71202" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="71202" data-sentence-id="71213" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_71213"&gt;&lt;span class="ldml-cite"&gt;¶88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But now, after fifty years of slow sipping, the SEO has
 unilaterally decided that landowners are only entitled to a
 &lt;span class="ldml-quotation quote"&gt;"Total Amount of Recoverable Groundwater"&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"TAW"&lt;/span&gt;)&lt;/span&gt; and that their vested water rights expire
 after 100 years of pumping at the allowed annual rate.&lt;/span&gt; &lt;span data-paragraph-id="71202" data-sentence-id="71484" class="ldml-sentence"&gt;Under
 this regulatory scheme, any remaining water underlying their
 lands after 100 years of pumping would be left stranded and
 unused.&lt;/span&gt; &lt;span data-paragraph-id="71202" data-sentence-id="71622" class="ldml-sentence"&gt;This result would serve neither of &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt;'s goals because it would both shut down
 economic development and put additional strain on &lt;span class="ldml-entity"&gt;the
 state&lt;/span&gt;'s water resources.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="71795" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="71795" data-sentence-id="71806" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_71806"&gt;&lt;span class="ldml-cite"&gt;¶89&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 I am of the opinion that the &lt;em class="ldml-emphasis"&gt;plain language&lt;/em&gt; of &lt;span class="ldml-entity"&gt;the
 statute&lt;/span&gt; entitles the landowner to &lt;span class="ldml-quotation quote"&gt;"that quantity of
 water . . . underlying the land owned by the applicant."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="71795" data-sentence-id="71973" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_71806"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="71795" data-sentence-id="71996" class="ldml-sentence"&gt;The SEO's TAW merely
 estimates this quantity.&lt;/span&gt; &lt;span data-paragraph-id="71795" data-sentence-id="72043" class="ldml-sentence"&gt;Thus, inferring that this language
 unambiguously limits the amount of water a landowner may
 withdraw to anything other than the actual, physical amount
 of water underlying the land is contrary to the plain
 language of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;; it interferes with landowners'
 vested rights; and ultimately it will leave valuable water
 unused.&lt;/span&gt; &lt;span data-paragraph-id="71795" data-sentence-id="72378" class="ldml-sentence"&gt;Hence, I respectfully dissent.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="1" data-content-heading-label="
 I.
Imposition of a TAW Is Not Supported by the Plain Language of
 the Relevant Statutes or Regulations
" data-specifier="I" data-ordinal_end="1" data-id="heading_72409" data-parsed="true" data-value="I.
 Imposition of a TAW Is Not Supported by the Plain Language of
 the Relevant Statutes or Regulations" id="heading_72409" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="72409" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="72409" data-sentence-id="72420" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="72409" data-sentence-id="72423" class="ldml-sentence"&gt;Imposition of a TAW Is Not Supported by the Plain Language of
 the Relevant &lt;span class="ldml-entity"&gt;Statutes&lt;/span&gt; or Regulations&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="1" data-content-heading-label="
 A.
The Statutes Do Not Include Authority for a TAW
" data-specifier="A" data-ordinal_end="1" data-id="heading_72523" data-parsed="true" data-value="A.
 The Statutes Do Not Include Authority for a TAW" id="heading_72523" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="72523" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="72523" data-sentence-id="72534" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="72523" data-sentence-id="72537" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Statutes&lt;/span&gt; Do Not Include Authority for a TAW&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="72585" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="72585" data-sentence-id="72596" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_72596"&gt;&lt;span class="ldml-cite"&gt;¶90&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In construing &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; aim to effectuate &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt;'s intent by giving words their ordinary,
 common meaning at the time of &lt;span class="ldml-entity"&gt;enactment&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_72746" data-val="54"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="72585" data-sentence-id="72747" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_72596" data-reftype="reporter" data-refglobal="case:peopleexrelreinvmeagher,2020co56"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People ex rel. Rein v. Meagher&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2020 CO 56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_72596"&gt;&lt;span class="ldml-cite"&gt;¶
 22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886015661" data-vids="886015661" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;465 P.3d 554, 559&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="72585" data-sentence-id="72817" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; look to the entire &lt;span class="ldml-entity"&gt;statutory scheme&lt;/span&gt;
 to give &lt;span class="ldml-quotation quote"&gt;"consistent, harmonious, and sensible effect to
 all of its parts,"&lt;/span&gt; and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"avoid constructions that
 would render any words or phrases superfluous or that would
 lead to illogical or absurd results."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="72585" data-sentence-id="73066" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886015661" data-vids="886015661" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_73092,sentence_72817"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;465
 P.3d at 559-60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;first quoting &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885985135" data-vids="885985135" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_72817"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;UMB Bank, N.A. v. Landmark
 Towers Ass'n&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2017 CO 107&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_72817"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885985135" data-vids="885985135" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_72817"&gt;&lt;span class="ldml-cite"&gt;408 P.3d 836,
 840&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; and then quoting &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888909510" data-vids="888909510" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_72817"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Dep't of Revenue v. Agilent
 Techs., Inc.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_72817"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888909510" data-vids="888909510" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_72817"&gt;&lt;span class="ldml-cite"&gt;441 P.3d 1012,
 1016&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="72585" data-sentence-id="73287" class="ldml-sentence"&gt;Because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;we&lt;/span&gt; respect &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s choice
 of language . . . &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not add words to or subtract words
 from &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="72585" data-sentence-id="73410" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886015661" data-vids="886015661" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_73287"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;465 P.3d at 560&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="72585" data-sentence-id="73432" class="ldml-sentence"&gt;And if
 the statutory language is not susceptible to multiple
 interpretations, i.e., it is &lt;span class="ldml-quotation quote"&gt;"clear and
 unambiguous,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; look no further than the language.&lt;/span&gt;
&lt;span data-paragraph-id="72585" data-sentence-id="73588" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/938712635" data-vids="938712635" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_73432"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Larimer Cnty. Bd. of Equalization v. 1303 Frontage
 Holdings LLC&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2023 CO 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_73432"&gt;&lt;span class="ldml-cite"&gt;¶ 29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:larimercountyboardofequalizationboeandlarimerv1303frontageholdingsllccaseno22sc800531p3d1012may30,2023"&gt;&lt;span class="ldml-cite"&gt;531 P.3d 1012,
 1020&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="73694" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="73694" data-sentence-id="73705" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_73705"&gt;&lt;span class="ldml-cite"&gt;¶91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The pertinent statutory language is found in the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_73705"&gt;&lt;span class="ldml-cite"&gt;Colorado
 Groundwater Management Act &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"CGMA"&lt;/span&gt;)&lt;/span&gt;, section
 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which sets forth the parameters for wells across
 &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;, other than those in designated basins, that
 withdraw nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="73694" data-sentence-id="73967" class="ldml-sentence"&gt;In my view, the plain
 language of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_73967"&gt;&lt;span class="ldml-cite"&gt;CGMA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, along with a related portion of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_73967"&gt;&lt;span class="ldml-cite"&gt;section
 37-92-305&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;, which provides water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; with
 retained jurisdiction over determinations of rights for wells
 made pursuant to 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;, make clear that &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt; did not intend to impose a volumetric cap.

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_74285" data-val="55"&gt;&lt;/span&gt;
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_73967"&gt;&lt;span class="ldml-cite"&gt;¶92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The first relevant portion of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_73967"&gt;&lt;span class="ldml-cite"&gt;CGMA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_73967"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which contains two subsections.&lt;/span&gt; &lt;span data-paragraph-id="73694" data-sentence-id="74401" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_74401"&gt;&lt;span class="ldml-cite"&gt;Subsection
 &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; states that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[p]&lt;/span&gt;ermits issued . . . shall
 allow withdrawals on the basis of an aquifer life of one
 hundred years."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="73694" data-sentence-id="74540" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_74401"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73694" data-sentence-id="74562" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_74562"&gt;&lt;span class="ldml-cite"&gt;Subsection
 &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides that &lt;span class="ldml-quotation quote"&gt;"the amount of such groundwater
 available for withdrawal shall be that quantity of water,
 exclusive of artificial recharge, underlying the land owned
 by the applicant."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="73694" data-sentence-id="74771" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_74562"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="74794" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="74794" data-sentence-id="74805" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_74805"&gt;&lt;span class="ldml-cite"&gt;¶93&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; acknowledged in its order, and &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;
 agree, the first subsection, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_74805"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, sets
 &lt;span class="ldml-quotation quote"&gt;"the &lt;em class="ldml-emphasis"&gt;rate&lt;/em&gt; at which the available quantity of
 nontributary groundwater may be withdrawn-not the
 &lt;em class="ldml-emphasis"&gt;amount&lt;/em&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="74794" data-sentence-id="75036" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74805" data-reftype="reporter" data-refglobal="case:parkerwatersanitationdistvrein,no21cw3046,at14"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Parker Water &amp;Sanitation Dist.
 v. Rein&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;No. 21CW3046&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_74805"&gt;&lt;span class="ldml-refname"&gt;Dist. Ct., Water&lt;/span&gt; &lt;span class="ldml-cite"&gt;Div. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;Mar. 2, 2023&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="74794" data-sentence-id="75139" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The statute&lt;/span&gt; plainly directs the SEO to issue
 permits to withdraw water at rates set &lt;span class="ldml-quotation quote"&gt;"on the basis
 of"&lt;/span&gt; a 100-year aquifer life.&lt;/span&gt; &lt;span data-paragraph-id="74794" data-sentence-id="75268" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_75139"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="74794" data-sentence-id="75290" class="ldml-sentence"&gt;Importantly, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_75290"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt; say that
 the SEO must allow withdrawals &lt;em class="ldml-emphasis"&gt;for 100 years&lt;/em&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="74794" data-sentence-id="75389" class="ldml-sentence"&gt;Indeed, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_75389"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; sets no time or volume
 limitation-it only sets the rate at which the water may be
 withdrawn.&lt;/span&gt; &lt;span data-paragraph-id="74794" data-sentence-id="75513" class="ldml-sentence"&gt;It is the next subsection, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_75513"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 that, by its plain language, sets the &lt;em class="ldml-emphasis"&gt;amount&lt;/em&gt; that
 may be withdrawn: &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he amount of such groundwater
 available for withdrawal shall be that quantity of water,
 exclusive of artificial recharge, underlying the land owned
 by the applicant."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="74794" data-sentence-id="75807" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_75513"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="74794" data-sentence-id="75830" class="ldml-sentence"&gt;Again,
 importantly, the only limit &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_75830"&gt;&lt;span class="ldml-cite"&gt;subsection

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_75879" data-val="56"&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; places on the amount a landowner may withdraw is
 the actual, physical quantity of underlying water.&lt;/span&gt; &lt;span data-paragraph-id="74794" data-sentence-id="75992" class="ldml-sentence"&gt;But
 despite the plain language, the majority decides that &lt;span class="ldml-entity"&gt;the
 statute&lt;/span&gt; unambiguously requires the SEO to set a TAW.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="76109" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="76109" data-sentence-id="76120" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_76120"&gt;&lt;span class="ldml-cite"&gt;¶94&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In reaching that conclusion, the majority relies on its
 construction of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_76120"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="76109" data-sentence-id="76221" class="ldml-sentence"&gt;First, the majority
 references Black's Law Dictionary for &lt;span class="ldml-entity"&gt;the proposition&lt;/span&gt;
 that a &lt;span class="ldml-quotation quote"&gt;"quantity"&lt;/span&gt; must, by definition, be
 &lt;span class="ldml-quotation quote"&gt;"measurable."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="76109" data-sentence-id="76354" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_76221"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="76109" data-sentence-id="76369" class="ldml-sentence"&gt;Next, the
 majority reasons that because the quantity of water
 underlying an applicant's land will change over time, and
 because that quantity must be measurable, the SEO must
 calculate the quantity of available water at the time of
 permit issuance.&lt;/span&gt; &lt;span data-paragraph-id="76109" data-sentence-id="76623" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_76369"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="76109" data-sentence-id="76638" class="ldml-sentence"&gt;The majority then
 interprets the SEO's estimated quantity of water to be a
 total volumetric cap, forever limiting the landowner's
 rights in their underlying water.&lt;/span&gt; &lt;span data-paragraph-id="76109" data-sentence-id="76805" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_76638"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶ 60,
 62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="76826" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="76826" data-sentence-id="76837" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_76837"&gt;&lt;span class="ldml-cite"&gt;¶95&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 However, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; does not entitle landowners to an
 estimated quantity of water, but plainly to the
 &lt;span class="ldml-quotation quote"&gt;"quantity"&lt;/span&gt; of water underlying their land.&lt;/span&gt; &lt;span data-paragraph-id="76826" data-sentence-id="76990" class="ldml-sentence"&gt;That
 means the &lt;em class="ldml-emphasis"&gt;entire&lt;/em&gt; quantity of water under their land.&lt;/span&gt;
&lt;span data-paragraph-id="76826" data-sentence-id="77049" class="ldml-sentence"&gt;Nothing in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_77049"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires the SEO to quantify
 the amount of underlying water such that its determination
 binds landowners in perpetuity, regardless of the actual
 hydrogeology.&lt;/span&gt; &lt;span data-paragraph-id="76826" data-sentence-id="77244" class="ldml-sentence"&gt;If the General Assembly intended for permits to
 expire after 100 years of use, then why not say so?&lt;/span&gt; &lt;span data-paragraph-id="76826" data-sentence-id="77345" class="ldml-sentence"&gt;Simply
 omitting the majority's cap better aligns with the plain
 language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_77345"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, as I demonstrate below.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_77466" data-val="57"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="77466" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="77466" data-sentence-id="77477" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_77477"&gt;&lt;span class="ldml-cite"&gt;¶96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 When issuing a permit, the SEO first estimates the
 &lt;span class="ldml-quotation quote"&gt;"quantity of water . . . underlying the land owned by
 the applicant."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="77466" data-sentence-id="77605" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_77477"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="77466" data-sentence-id="77628" class="ldml-sentence"&gt;Next, the
 SEO divides this amount by 100.&lt;/span&gt; &lt;span data-paragraph-id="77466" data-sentence-id="77671" class="ldml-sentence"&gt;The resulting rate satisfies
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_77671"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s requirement that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[p]&lt;/span&gt;ermits
 issued . . . shall allow withdrawals on the basis of an
 aquifer life of one hundred years."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="77466" data-sentence-id="77846" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_77671"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="77466" data-sentence-id="77869" class="ldml-sentence"&gt;And when withdrawn at this rate, without
 a cap, the ultimate amount available to the landowner remains
 as &lt;span class="ldml-quotation quote"&gt;"that quantity of water . . . underlying the
 land,"&lt;/span&gt; as mandated by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_77869"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="77466" data-sentence-id="78068" class="ldml-sentence"&gt;Unsurprisingly, the SEO has been calculating the allowed
 annual rate of withdrawal this way for fifty years.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="78178" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="78178" data-sentence-id="78189" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_78189"&gt;&lt;span class="ldml-cite"&gt;¶97&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The second relevant aspect of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_78189"&gt;&lt;span class="ldml-cite"&gt;CGMA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is its policy of
 promoting nontributary groundwater development and its
 related provisions regarding material injury.&lt;/span&gt; &lt;span data-paragraph-id="78178" data-sentence-id="78353" class="ldml-sentence"&gt;The legislative
 declaration contained in &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;37-90-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"recognizes the unique, finite nature of nontributary
 groundwater resources outside of designated groundwater
 basins"&lt;/span&gt; and declares that this groundwater &lt;span class="ldml-quotation quote"&gt;"shall
 be devoted to beneficial use in amounts based upon
 conservation of the resource and protection of vested water
 rights."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78178" data-sentence-id="78716" class="ldml-sentence"&gt;It clarifies that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt;conomic development
 of this resource shall allow for the reduction of hydrostatic
 pressure levels and aquifer water levels consistent with the
 protection of appropriative rights in the natural stream
 system."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78178" data-sentence-id="78951" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_78716"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78178" data-sentence-id="78955" class="ldml-sentence"&gt;The declaration states

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_78980" data-val="58"&gt;&lt;/span&gt;
 that, &lt;span class="ldml-quotation quote"&gt;"To continue the development of nontributary
 groundwater resources consonant with conservation shall be
 the policy of this state."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78178" data-sentence-id="79121" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_78955"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="79125" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="79125" data-sentence-id="79136" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_79136"&gt;&lt;span class="ldml-cite"&gt;¶98&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To execute this policy, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; directs the SEO to issue
 permits to overlying landowners if it finds that &lt;span class="ldml-quotation quote"&gt;"there
 is unappropriated water available for withdrawal . . . and
 that the &lt;em class="ldml-emphasis"&gt;vested&lt;/em&gt; water rights of others will not be
 &lt;em class="ldml-emphasis"&gt;materially injured&lt;/em&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="79125" data-sentence-id="79393" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_79136"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-137&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphases added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="79125" data-sentence-id="79436" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt; clarifies that, &lt;span class="ldml-quotation quote"&gt;"Material injury to vested
 nontributary groundwater rights &lt;em class="ldml-emphasis"&gt;shall not&lt;/em&gt; be deemed
 to result from the reduction of either hydrostatic pressure
 or water level in the aquifer."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="79125" data-sentence-id="79652" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_79436"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="79125" data-sentence-id="79688" class="ldml-sentence"&gt;This language, along with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_79688"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s declaration that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt;conomic
 development of this resource shall allow for the reduction of
 hydrostatic pressure levels and aquifer water levels,"&lt;/span&gt;
 shows that &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; understood that reductions in
 pressure and water levels are the inherent results of
 nontributary groundwater development.&lt;/span&gt; &lt;span data-paragraph-id="79125" data-sentence-id="80038" class="ldml-sentence"&gt;As soon as development
 of these &lt;span class="ldml-quotation quote"&gt;"finite"&lt;/span&gt; aquifers begins, water and
 pressure levels begin to drop.&lt;/span&gt; &lt;span data-paragraph-id="79125" data-sentence-id="80139" class="ldml-sentence"&gt;Thus, because the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_80139"&gt;&lt;span class="ldml-cite"&gt;CGMA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 promotes development of nontributary groundwater, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;
 makes clear that reductions in hydrostatic pressure or water
 levels &lt;em class="ldml-emphasis"&gt;shall not&lt;/em&gt; be deemed to be material injury.&lt;/span&gt;
&lt;span data-paragraph-id="79125" data-sentence-id="80338" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_80139"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="79125" data-sentence-id="80357" class="ldml-sentence"&gt;To achieve the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_80357"&gt;&lt;span class="ldml-cite"&gt;CGMA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s policy of
 balancing development with &lt;span class="ldml-quotation quote"&gt;"conservation of the resource
 and protection of vested water rights,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_80357"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"sip slowly"&lt;/span&gt;
 provisions, discussed above, use a

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_80570" data-val="59"&gt;&lt;/span&gt;
 conservative rate of withdrawal, and relatedly, well spacing,
 to mitigate concerns regarding pressure and water levels
 being reduced too quickly.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="80720" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="80720" data-sentence-id="80731" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_80731"&gt;&lt;span class="ldml-cite"&gt;¶99&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But despite this language, the majority concludes that
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;bsent a total volumetric limit, a permittee who
 continues to pump at the maximum permitted rate for more than
 100 years would end up pulling water to its well that would
 not otherwise be underlying its land"&lt;/span&gt; and that &lt;span class="ldml-quotation quote"&gt;"the
 result would be a race to the bottom of the aquifer, with
 earlier permittees receiving a significant head start."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="80720" data-sentence-id="81137" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_80731"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶ 54-55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="80720" data-sentence-id="81156" class="ldml-sentence"&gt;While these concerns may be
 understandable from a policy perspective, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are ultimately
 concerns over reductions to later permittees' water and
 hydrostatic pressure levels.&lt;/span&gt; &lt;span data-paragraph-id="80720" data-sentence-id="81334" class="ldml-sentence"&gt;Because reductions to a
 permittee's underlying pressure and water levels are
 explicitly not material injury, in my view, the
 majority's focus on guarding them is contrary to the
 plain language of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="81547" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="81547" data-sentence-id="81558" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_81558"&gt;&lt;span class="ldml-cite"&gt;¶100&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Third and finally, when &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; fleshed out the
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_81558"&gt;&lt;span class="ldml-cite"&gt;CGMA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s nontributary groundwater scheme with &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt;
 85-5 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;, discussed further below, it also
 added language to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_81558"&gt;&lt;span class="ldml-cite"&gt;section 37-92-305&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, regarding retained
 jurisdiction for water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="81547" data-sentence-id="81817" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_81558"&gt;&lt;span class="ldml-cite"&gt;§ 37-92-305&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="81547" data-sentence-id="81834" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_81834"&gt;&lt;span class="ldml-cite"&gt;Section
 37-92-305&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; guides water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; in nontributary groundwater
 right determination and administration.&lt;/span&gt; &lt;span data-paragraph-id="81547" data-sentence-id="81942" class="ldml-sentence"&gt;The language added by
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; empowers water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; to retain jurisdiction over
 determinations of pumping rights made under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_81942"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"as necessary

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_82105" data-val="60"&gt;&lt;/span&gt;
 to provide for the adjustment of the &lt;em class="ldml-emphasis"&gt;annual&lt;/em&gt; amount
 of withdrawal allowed to conform to actual local aquifer
 characteristics."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="81547" data-sentence-id="82235" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_81942"&gt;&lt;span class="ldml-cite"&gt;§ 37-92-305&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="81547" data-sentence-id="82269" class="ldml-sentence"&gt;There is no provision for adjustment of the &lt;em class="ldml-emphasis"&gt;total&lt;/em&gt;
 allowable withdrawal.&lt;/span&gt; &lt;span data-paragraph-id="81547" data-sentence-id="82342" class="ldml-sentence"&gt;One would think that if &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;
 intended a TAW to exist, then when it updated the &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_82342"&gt;&lt;span class="ldml-cite"&gt;CGMA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_82342"&gt;&lt;span class="ldml-cite"&gt;section 37-92-305&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; it would have simultaneously empowered
 water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; to adjust this cap based on new information, as
 it did for the pumping rate.&lt;/span&gt; &lt;span data-paragraph-id="81547" data-sentence-id="82591" class="ldml-sentence"&gt;But, yet again, the plain
 language of &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt; does not provide for a total
 volumetric cap.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82689" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="82689" data-sentence-id="82700" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_82700"&gt;&lt;span class="ldml-cite"&gt;¶101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The plain language of the statues assigns nontributary
 groundwater to a definite use: &lt;span class="ldml-quotation quote"&gt;"beneficial use in
 amounts based upon conservation of the resource and
 protection of vested water rights."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="82689" data-sentence-id="82902" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_82700"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="82689" data-sentence-id="82918" class="ldml-sentence"&gt;But under the policy created by the majority today, unless
 &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; rewrites &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt;, any water remaining
 after 100 years of pumping, perhaps a substantial amount,
 will &lt;em class="ldml-emphasis"&gt;never&lt;/em&gt; be put to beneficial use as &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt; commanded.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="2" data-content-heading-label="
 B.
The Regulations Do Not Include Authority for a TAW
" data-specifier="B" data-ordinal_end="2" data-id="heading_83164" data-parsed="true" data-value="B.
 The Regulations Do Not Include Authority for a TAW" id="heading_83164" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="83164" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="83164" data-sentence-id="83175" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="83164" data-sentence-id="83178" class="ldml-sentence"&gt;The Regulations Do Not Include Authority for a TAW&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="83229" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="83229" data-sentence-id="83240" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_83240"&gt;&lt;span class="ldml-cite"&gt;¶102&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The relevant regulations, promulgated by the SEO in &lt;span class="ldml-entity"&gt;1986&lt;/span&gt;,
 also do not support the imposition of a TAW.&lt;/span&gt; &lt;span data-paragraph-id="83229" data-sentence-id="83350" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_83350"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the
 Statewide Nontributary Ground Water Rules provides the
 procedures by which the SEO calculates applicants' annual
 pumping rates.&lt;/span&gt; &lt;span data-paragraph-id="83229" data-sentence-id="83495" class="ldml-sentence"&gt;Div. of Water Res., &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_83495"&gt;&lt;span class="ldml-cite"&gt;2 Colo. Code Regs. 402-7:8&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="83229" data-sentence-id="83550" class="ldml-sentence"&gt;Accordingly, the rule is titled &lt;span class="ldml-quotation quote"&gt;"Determination
 of Allowed Annual Amount of

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_83628" data-val="61"&gt;&lt;/span&gt;
 Withdrawal."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="83229" data-sentence-id="83643" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_83643"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; Rule 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; contains two subparts:
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_83643"&gt;&lt;span class="ldml-cite"&gt;Rules 8&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_83643"&gt;&lt;span class="ldml-cite"&gt;8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="83229" data-sentence-id="83699" class="ldml-sentence"&gt;While the details of the rule are highly
 technical, the broad strokes are most relevant to the issues
 here.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="83809" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="83809" data-sentence-id="83820" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_83820"&gt;&lt;span class="ldml-cite"&gt;¶103
 Rule 8&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; reemphasizes that pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_83820"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 the SEO must set annual pumping rates based on an aquifer
 life of 100 years.&lt;/span&gt; &lt;span data-paragraph-id="83809" data-sentence-id="83967" class="ldml-sentence"&gt;Div. of Water Res., &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_83967"&gt;&lt;span class="ldml-cite"&gt;2 Colo. Code Regs.
 402-7:8&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="83809" data-sentence-id="84026" class="ldml-sentence"&gt;Next, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_84026"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; guides the SEO in
 calculating the &lt;span class="ldml-quotation quote"&gt;"allowed average annual amount of
 withdrawal."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="83809" data-sentence-id="84125" class="ldml-sentence"&gt;Div. of Water Res., &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_84125"&gt;&lt;span class="ldml-cite"&gt;2 Colo. Code Regs.
 402-7:8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="83809" data-sentence-id="84184" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_84184"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the SEO first estimates
 the total amount of recoverable water underlying an
 applicant's land.&lt;/span&gt; &lt;span data-paragraph-id="83809" data-sentence-id="84297" class="ldml-sentence"&gt;To do so, it multiplies three
 variables: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the acres of overlying land, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the saturated
 depth, and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the specific yield of the underlying aquifer.&lt;/span&gt;
&lt;span data-paragraph-id="83809" data-sentence-id="84452" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_84297"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="83809" data-sentence-id="84456" class="ldml-sentence"&gt;To finish its calculation, the SEO divides the
 product of these variables by 100.&lt;/span&gt; &lt;span data-paragraph-id="83809" data-sentence-id="84539" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_84456"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="83809" data-sentence-id="84543" class="ldml-sentence"&gt;The resulting
 &lt;span class="ldml-quotation quote"&gt;"average annual amount"&lt;/span&gt; is a rate of withdrawal
 that allows permittees to pump one onehundredth of their
 estimated underlying water per year.&lt;/span&gt; &lt;span data-paragraph-id="83809" data-sentence-id="84702" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_84543"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="83809" data-sentence-id="84706" class="ldml-sentence"&gt;This is the
 mechanism that achieves &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s goal of
 guaranteeing permittees at least a 100-year water supply.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="84828" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="84828" data-sentence-id="84839" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_84839"&gt;&lt;span class="ldml-cite"&gt;¶104&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The majority opinion leans heavily on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_84839"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; for its
 conclusion that the SEO may impose a TAW.&lt;/span&gt; &lt;span data-paragraph-id="84828" data-sentence-id="84941" class="ldml-sentence"&gt;Specifically, the
 majority relies on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_84941"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s directive that: &lt;span class="ldml-quotation quote"&gt;"The
 allowed average annual amount of withdrawal shall be 1% of
 the &lt;em class="ldml-emphasis"&gt;total recoverable water&lt;/em&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="84828" data-sentence-id="85103" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_84941"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;see also&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_84941"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="84828" data-sentence-id="85149" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_85149"&gt;&lt;span class="ldml-cite"&gt;Rule
 8&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; includes

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_85171" data-val="62"&gt;&lt;/span&gt;
 similar language, stating that the annual rate of withdrawal
 &lt;span class="ldml-quotation quote"&gt;"shall not exceed one percent of the total amount of
 water . . . recoverable."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="84828" data-sentence-id="85315" class="ldml-sentence"&gt;Div. of Water Res., &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_85315"&gt;&lt;span class="ldml-cite"&gt;2 Colo.
 Code Regs. 402-7:8&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="84828" data-sentence-id="85374" class="ldml-sentence"&gt;The majority concludes that
 this language unambiguously sets forth the SEO's
 authority to both find a TAW and impose it as a limiting cap
 on the amount of water a well permittee may use.&lt;/span&gt; &lt;span data-paragraph-id="84828" data-sentence-id="85564" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_85374"&gt;&lt;span class="ldml-cite"&gt;Maj. op.
 ¶ 70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="85580" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="85580" data-sentence-id="85591" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_85591"&gt;&lt;span class="ldml-cite"&gt;¶105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 I concede that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_85591"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; directs the SEO to estimate the amount
 of recoverable water underlying a landowner's property.&lt;/span&gt;
&lt;span data-paragraph-id="85580" data-sentence-id="85715" class="ldml-sentence"&gt;Indeed, in my view, this is the closest any language in
 either &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; or rules comes to supporting the
 majority's interpretation.&lt;/span&gt; &lt;span data-paragraph-id="85580" data-sentence-id="85852" class="ldml-sentence"&gt;However, the rule does not
 mention either finding the total amount a well may withdraw
 over its lifetime, or imposing a cap.&lt;/span&gt; &lt;span data-paragraph-id="85580" data-sentence-id="85979" class="ldml-sentence"&gt;Further, unlike the
 &lt;em class="ldml-emphasis"&gt;allowed&lt;/em&gt; annual amount of withdrawal, the total
 amount of water recoverable has no commanding verb before it.&lt;/span&gt;
&lt;span data-paragraph-id="85580" data-sentence-id="86110" class="ldml-sentence"&gt;If the SEO included &lt;span class="ldml-quotation quote"&gt;"allowed"&lt;/span&gt; when discussing the
 annual amount to be withdrawn, why would it not have used
 similar language when discussing the total amount of water
 recoverable?&lt;/span&gt; &lt;span data-paragraph-id="85580" data-sentence-id="86293" class="ldml-sentence"&gt;It appears to me that it is because the total
 amount of water recoverable is not the end goal of these
 calculations.&lt;/span&gt; &lt;span data-paragraph-id="85580" data-sentence-id="86412" class="ldml-sentence"&gt;Instead, as reinforced below, the total amount
 of recoverable water is simply a number used in calculating
 the allowed &lt;em class="ldml-emphasis"&gt;annual&lt;/em&gt; rate of withdrawal, which is the
 operative limitation authorized by &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="86618" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="86618" data-sentence-id="86629" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_86629"&gt;&lt;span class="ldml-cite"&gt;¶106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Indeed, once &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_86629"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is read in context, this purpose becomes
 clear.&lt;/span&gt; &lt;span data-paragraph-id="86618" data-sentence-id="86704" class="ldml-sentence"&gt;The rules incorporate by reference the Statement of
 Basis and Purpose for the Adoption of

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_86797" data-val="63"&gt;&lt;/span&gt;
 Statewide Nontributary Ground Water Rules &lt;span class="ldml-parenthetical"&gt;(the
 &lt;span class="ldml-quotation quote"&gt;"Statement"&lt;/span&gt;)&lt;/span&gt;, which was contemporaneously submitted
 to the Colorado Secretary of State.&lt;/span&gt; &lt;span data-paragraph-id="86618" data-sentence-id="86936" class="ldml-sentence"&gt;Div. of Water Res., &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_86936"&gt;&lt;span class="ldml-cite"&gt;2
 Colo. Code Regs. 402-7:18&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="86618" data-sentence-id="86993" class="ldml-sentence"&gt;The Statement explains
 that, &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="embeddedsentence_87023"&gt;&lt;span class="ldml-cite"&gt;Rule 8.B&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;. specifies the formula to be used to
 &lt;em class="ldml-emphasis"&gt;calculate&lt;/em&gt; the allowed average &lt;em class="ldml-emphasis"&gt;annual&lt;/em&gt; amount
 of withdrawal.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Its purpose is to &lt;em class="ldml-emphasis"&gt;standardize that
 calculation&lt;/em&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="86618" data-sentence-id="87181" class="ldml-sentence"&gt;Div. of Water Res., &lt;em class="ldml-emphasis"&gt;Statement of
 Basis and Purpose for the &lt;/em&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="at_page" data-prop-ids="sentence_87181"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Adoption of Statewide Nontributary
 Groundwater Rules&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 7&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphases added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="86618" data-sentence-id="87326" class="ldml-sentence"&gt;Thus,
 the plain language of the rules declares that the purpose of
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_87326"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is to &lt;em class="ldml-emphasis"&gt;standardize the calculation&lt;/em&gt; for
 finding the allowed average &lt;em class="ldml-emphasis"&gt;annual&lt;/em&gt; amount of
 withdrawal.&lt;/span&gt; &lt;span data-paragraph-id="86618" data-sentence-id="87502" class="ldml-sentence"&gt;The Statement does not say that the amount of
 recoverable water the SEO must estimate under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_87502"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is
 meant to be binding in perpetuity, but instead, indicates
 that this amount is merely a tool the SEO uses when
 calculating the real goal - the allowed annual withdrawal.&lt;/span&gt;
&lt;span data-paragraph-id="86618" data-sentence-id="87780" class="ldml-sentence"&gt;Nor does the Statement say that the purpose of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_87780"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is
 to determine the total amount a well may withdraw over 100
 years.&lt;/span&gt; &lt;span data-paragraph-id="86618" data-sentence-id="87908" class="ldml-sentence"&gt;Indeed, nowhere in the regulations does such a purpose
 appear.&lt;/span&gt;&lt;span data-paragraph-id="86618" data-sentence-id="87971" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN10" class="ldml-noteanchor" id="note-ref-ftn.FN10"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_87974" data-val="64"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="3" data-content-heading-label="
 C.
Review of the Plain Language
" data-specifier="C" data-ordinal_end="3" data-id="heading_87974" data-parsed="true" data-value="C.
 Review of the Plain Language" id="heading_87974" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="87974" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="87974" data-sentence-id="87985" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;span data-paragraph-id="87974" data-sentence-id="87988" class="ldml-sentence"&gt;Review of the Plain Language&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="88017" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="88017" data-sentence-id="88028" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_88028"&gt;&lt;span class="ldml-cite"&gt;¶107&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In sum, landowners who have obtained either a decree from a
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; or a well permit from the SEO enjoy a vested
 right in the actual quantity of water underlying their land.&lt;/span&gt;
&lt;span data-paragraph-id="88017" data-sentence-id="88214" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The statute&lt;/span&gt; directs the SEO to set annual pumping rates such
 that landowners are guaranteed a minimum useful aquifer life
 of 100 years.&lt;/span&gt; &lt;span data-paragraph-id="88017" data-sentence-id="88352" class="ldml-sentence"&gt;This is how the SEO has administered
 undesignated nontributary groundwater for fifty years.&lt;/span&gt;
&lt;span data-paragraph-id="88017" data-sentence-id="88445" class="ldml-sentence"&gt;Nowhere in &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt; or rules is there mention of a total
 volumetric pumping limit or related 100-year permit lifetime.&lt;/span&gt;
&lt;span data-paragraph-id="88017" data-sentence-id="88569" class="ldml-sentence"&gt;The SEO cannot now create a limitation on vested property
 rights where &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; did not command it.&lt;/span&gt; &lt;span data-paragraph-id="88017" data-sentence-id="88677" class="ldml-sentence"&gt;Accordingly,
 I am of the opinion that &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt; and rules are plain in
 their meaning, only contemplate an allowed annual withdrawal,
 and do not support the SEO's imposition of a &lt;span class="ldml-quotation quote"&gt;"total
 amount of recoverable water."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="88899" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="88899" data-sentence-id="88910" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_88910"&gt;&lt;span class="ldml-cite"&gt;¶108&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In many &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, the simplest explanation is the correct one.&lt;/span&gt; &lt;span data-paragraph-id="88899" data-sentence-id="88976" class="ldml-sentence"&gt;I
 believe that is &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; here: The plain language only refers
 to an allowed annual rate of withdrawal because that was what
 &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; intended to regulate.&lt;/span&gt; &lt;span data-paragraph-id="88899" data-sentence-id="89143" class="ldml-sentence"&gt;However, it appears
 that reasonable minds could differ in their &lt;span class="ldml-entity"&gt;interpretation of
 &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt;&lt;/span&gt; and rules, and in fact, have.&lt;/span&gt; &lt;span data-paragraph-id="88899" data-sentence-id="89270" class="ldml-sentence"&gt;Thus, because the
 relevant language is susceptible to more than one meaning, I
 assume that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; is ambiguous.&lt;/span&gt; &lt;span data-paragraph-id="88899" data-sentence-id="89389" class="ldml-sentence"&gt;Accordingly, it is
 appropriate to look to other aids of statutory construction,
 such as the legislative

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_89497" data-val="65"&gt;&lt;/span&gt;
 history.&lt;/span&gt; &lt;span data-paragraph-id="88899" data-sentence-id="89508" class="ldml-sentence"&gt;And in my opinion, the relevant history supports my
 statutory interpretation.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="2" data-content-heading-label="
 II.
The Legislative History Supports the Conclusion that the
 General Assembly Never Intended a 100-year Volumetric
 Limitation
" data-specifier="II" data-ordinal_end="2" data-id="heading_89587" data-parsed="true" data-value="II.
 The Legislative History Supports the Conclusion that the
 General Assembly Never Intended a 100-year Volumetric
 Limitation" id="heading_89587" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="89587" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="89587" data-sentence-id="89598" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="89587" data-sentence-id="89602" class="ldml-sentence"&gt;The Legislative History Supports the Conclusion that the
 General Assembly Never Intended a 100-year Volumetric
 Limitation&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="89726" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="89726" data-sentence-id="89737" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_89737"&gt;&lt;span class="ldml-cite"&gt;¶109&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 When statutory language is ambiguous, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;we&lt;/span&gt; may consider
 other aids to statutory construction, such as the
 consequences of a given construction, the end to be achieved
 by &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;, and legislative history."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="89726" data-sentence-id="89954" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/938712635" data-vids="938712635" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_89737"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;1303
 Frontage Holdings LLC&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_89737"&gt;&lt;span class="ldml-cite"&gt;¶ 29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:larimercountyboardofequalizationboeandlarimerv1303frontageholdingsllccaseno22sc800531p3d1012may30,2023"&gt;&lt;span class="ldml-cite"&gt;531 P.3d at 1020&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895783765" data-vids="895783765" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bostelman v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;162 P.3d 686, 690&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2007&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;see also&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 2-4-203, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="89726" data-sentence-id="90104" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This court&lt;/span&gt; has frequently looked to the statutory
 history of the water law &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; to find intent in what is
 admittedly a complex scheme.&lt;/span&gt; &lt;span data-paragraph-id="89726" data-sentence-id="90245" class="ldml-sentence"&gt;I begin by reviewing the history
 of &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 73-213, which adopted the first statutory
 system for allocating and administering nontributary
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="89726" data-sentence-id="90404" class="ldml-sentence"&gt;Following that, I review the history of &lt;span class="ldml-entity"&gt;Senate
 Bill&lt;/span&gt; 85-5, which clarified the law around permits for wells
 outside of designated basins.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="1" data-content-heading-label="
 A.
The History of Senate Bill 73-213 Includes No Discussion of a
 Cap
" data-specifier="A" data-ordinal_end="1" data-id="heading_90543" data-parsed="true" data-value="A.
 The History of Senate Bill 73-213 Includes No Discussion of a
 Cap" id="heading_90543" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="90543" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="90543" data-sentence-id="90554" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="90543" data-sentence-id="90557" class="ldml-sentence"&gt;The History of &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 73-213 Includes No Discussion of a
 Cap&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="90624" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="90624" data-sentence-id="90635" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_90635"&gt;&lt;span class="ldml-cite"&gt;¶110&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;1973&lt;/span&gt;, the General Assembly passed &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213
 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;, establishing that the right to
 withdraw nontributary groundwater would be subject to
 overlying land ownership.&lt;/span&gt; &lt;span data-paragraph-id="90624" data-sentence-id="90822" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_90635"&gt;&lt;span class="ldml-cite"&gt;Ch. 441, sec. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_90635"&gt;&lt;span class="ldml-cite"&gt;§ 148-18-36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_90635"&gt;&lt;span class="ldml-cite"&gt;1973 Colo. Sess. Laws 1520, 1520&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(now codified at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_90635"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="90624" data-sentence-id="90920" class="ldml-sentence"&gt;The legislative history surrounding &lt;span class="ldml-entity"&gt;the bill&lt;/span&gt;
 is lengthy and unveils what &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; hoped to achieve.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_91028" data-val="66"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="91028" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="91028" data-sentence-id="91039" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_91039"&gt;&lt;span class="ldml-cite"&gt;¶111&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At the first hearing introducing &lt;span class="ldml-entity"&gt;the bill&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Don Hamburg&lt;/span&gt;, SEO
 attorney and proponent of &lt;span class="ldml-entity"&gt;the bill&lt;/span&gt;, explained its purpose.&lt;/span&gt;
&lt;span data-paragraph-id="91028" data-sentence-id="91165" class="ldml-sentence"&gt;Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;S. Comm. on Agric., Livestock,
 &amp;Nat.&lt;/span&gt; &lt;span class="ldml-cite"&gt;Res., 49th Gen. Assemb., 1st Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Mar. 5, 1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="91028" data-sentence-id="91285" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; explained that the SEO had been &lt;span class="ldml-quotation quote"&gt;"inundated with
 requests for permits to construct wells"&lt;/span&gt; and that the
 SEO needed direction because it had no guidelines on how to
 grant the permits.&lt;/span&gt; &lt;span data-paragraph-id="91028" data-sentence-id="91472" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_91285"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="91028" data-sentence-id="91476" class="ldml-sentence"&gt;Mr. Hamburg also noted that
 there was &lt;span class="ldml-quotation quote"&gt;"a lot of water in the Denver Basin and a lot
 can be used,"&lt;/span&gt; and that lacking guidance from &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt;, the SEO had proposed language in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; that
 would set the aquifer life to 100 years.&lt;/span&gt; &lt;span data-paragraph-id="91028" data-sentence-id="91714" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_91476"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="91028" data-sentence-id="91718" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt;
 clarified: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"There is nothing sacred about that.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;If &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt; determines it should be twenty-five years,
 that's fine, or if it should be fifty, that's fine.&lt;/span&gt;
&lt;span class="ldml-embeddedsentence"&gt;If it should be 200-&lt;span class="ldml-entity"&gt;we&lt;/span&gt; don't know but all &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'re
 thinking is some type of guideline as to how to grant
 these."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="91028" data-sentence-id="91998" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_91718"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="91028" data-sentence-id="92002" class="ldml-sentence"&gt;Mr. Hamburg concluded, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;t
 boils down to a lifetime, of how long you want it to
 last."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="91028" data-sentence-id="92093" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_92002"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="92097" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="92097" data-sentence-id="92108" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_92108"&gt;&lt;span class="ldml-cite"&gt;¶112&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In response, Senator &lt;span class="ldml-entity"&gt;Harry M. Locke&lt;/span&gt; asked Mr. Hamburg
 &lt;span class="ldml-quotation quote"&gt;"How are you going to determine whose water you might be
 taking?"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="92097" data-sentence-id="92236" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_92108"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="92097" data-sentence-id="92240" class="ldml-sentence"&gt;Mr. Hamburg started by noting that
 the aquifers at issue are well-defined, and that after being
 penetrated, pumping creates a cone or cylinder of depression
 from which water is drawn down over time.&lt;/span&gt; &lt;span data-paragraph-id="92097" data-sentence-id="92442" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_92240"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="92097" data-sentence-id="92446" class="ldml-sentence"&gt;Next,
 &lt;span class="ldml-entity"&gt;he&lt;/span&gt; explained that by setting a time period, such as 100
 years, and a withdrawal rate tied to that time period, wells
 can be spaced such that the cones of depression will not
 intersect for the set time period.&lt;/span&gt; &lt;span data-paragraph-id="92097" data-sentence-id="92665" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_92665"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_92669" data-val="67"&gt;&lt;/span&gt;
 &lt;span class="ldml-cite"&gt;¶113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Jack Ross&lt;/span&gt;, an attorney representing water districts,
 summarized that nontributary groundwater is a finite
 resource, and that &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he question to &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;
 is: &lt;/span&gt;&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;'How long do you want to make that resource work for
 &lt;span class="ldml-entity"&gt;us&lt;/span&gt;?&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Do you want to let it be worked out in twenty years or
 thirty years or 100 years or 200 years?&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;You can make that as
 a legislative determination, regardless of the
 facts.'&lt;/span&gt;&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="92097" data-sentence-id="93085" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_92665"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="92097" data-sentence-id="93089" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; agreed with Mr. Hamburg
 that, with that determination, the SEO could then &lt;span class="ldml-quotation quote"&gt;"go
 back to the drawing board with our engineering evaluations
 and figure out what kind of well spacing is needed . . . to
 parcel it out within that framework."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="92097" data-sentence-id="93331" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_93089"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="93335" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="93335" data-sentence-id="93346" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_93346"&gt;&lt;span class="ldml-cite"&gt;¶114&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 From this first legislative session, it is clear that 100
 years was neither &lt;span class="ldml-quotation quote"&gt;"sacred"&lt;/span&gt; nor even tied to fact.&lt;/span&gt;
&lt;span data-paragraph-id="93335" data-sentence-id="93461" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s goal was to provide a
 declaration that the SEO could use as a basis for its
 issuance of well permits.&lt;/span&gt; &lt;span data-paragraph-id="93335" data-sentence-id="93592" class="ldml-sentence"&gt;Those permits would feature annual
 withdrawal rates that ensured a 100-year aquifer life while
 also facilitating well spacing that would avoid injury to
 others with vested rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="93775" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="93775" data-sentence-id="93786" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_93786"&gt;&lt;span class="ldml-cite"&gt;¶115
 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; few days later, &lt;span class="ldml-entity"&gt;Harlan Erker&lt;/span&gt;, SEO engineer and chief of
 ground water operations, testified that &lt;span class="ldml-quotation quote"&gt;"the gallons per
 minute is not critical, the number of acrefeet per year is
 ...."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="93975" class="ldml-sentence"&gt;Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;S. Comm. on Agric.,
 Livestock, &amp;&lt;/span&gt; &lt;span class="ldml-cite"&gt;Nat. Res., 49th Gen. Assemb., 1st Sess.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Mar. 7, 1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="94096" class="ldml-sentence"&gt;Senator Wunsch soon interjected:
 &lt;span class="ldml-quotation quote"&gt;"There's nothing about volumetric rights in your
 &lt;span class="ldml-entity"&gt;bill&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="94187" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_94096"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="94191" class="ldml-sentence"&gt;Mr. Erker

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_94203" data-val="68"&gt;&lt;/span&gt;
 responded: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Right, but that comes in, in the life of the
 aquifer again.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;In other words, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can pump-in 100 years, in
 their cylinders, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; get to pump one onehundredth of that
 cylinder in &lt;em class="ldml-emphasis"&gt;any year&lt;/em&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="94409" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_94191"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis
 added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;em class="ldml-emphasis"&gt;.&lt;/em&gt;&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="94432" class="ldml-sentence"&gt;Similarly, at a later meeting, &lt;span class="ldml-entity"&gt;Jack Ross&lt;/span&gt;
 testified that &lt;span class="ldml-quotation quote"&gt;"when someone comes to ask for a well
 permit, you analyze the depth or the thickness of the
 saturated sands, you determine the maximum pumping rate that
 you think is realistic."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="94670" class="ldml-sentence"&gt;Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the
 H. Comm. on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Nat. Res., 49th Gen. Assemb., 1st Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;June 6,
 1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="94771" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; continued, &lt;span class="ldml-quotation quote"&gt;"That is all &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; engineer
 would do."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="94829" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_94771"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="94833" class="ldml-sentence"&gt;This testimony shows that the
 drafters understood that &lt;span class="ldml-quotation quote"&gt;"all &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; engineer would
 do"&lt;/span&gt; is &lt;span class="ldml-quotation quote"&gt;"determine the maximum pumping rate."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="93775" data-sentence-id="94965" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_94833"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="93775" data-sentence-id="94969" class="ldml-sentence"&gt;There is no mention of the SEO determining a
 total volumetric limit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="95039" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="95039" data-sentence-id="95050" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_95050"&gt;&lt;span class="ldml-cite"&gt;¶116&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At another hearing, the SEO again recognized that the
 100-year aquifer life was a policy choice.&lt;/span&gt; &lt;span data-paragraph-id="95039" data-sentence-id="95154" class="ldml-sentence"&gt;Mr. Erker stated,
 &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;We&lt;/span&gt; don't know if 100 years is right.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;It's not
 an engineering decision.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;'re asking you for this
 particular figure.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;If you tell &lt;span class="ldml-entity"&gt;us&lt;/span&gt; that seventy-five years is
 right, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ll believe you.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;If you tell &lt;span class="ldml-entity"&gt;us&lt;/span&gt; that 150 years
 is right, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ll believe you."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="95039" data-sentence-id="95422" class="ldml-sentence"&gt;Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 before the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;S. Comm. on Agric., Livestock, &amp;Nat.&lt;/span&gt; &lt;span class="ldml-cite"&gt;Res.,
 49th Gen. Assemb., 1st Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Mar. 14, 1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="95039" data-sentence-id="95544" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; continued,
 &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;We&lt;/span&gt; don't really know what the life of that aquifer
 is ....&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;The life of the aquifer depends on how many wells you
 put into it."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="95039" data-sentence-id="95689" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_95544"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="95039" data-sentence-id="95693" class="ldml-sentence"&gt;When a stakeholder wondered
 where the 100-year figure originated, State Engineer &lt;span class="ldml-entity"&gt;Clarence
 J. Kuiper&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_95795" data-val="69"&gt;&lt;/span&gt;
 answered, &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Well, I can tell you where the 100 years came
 from, right off the top of my head.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;To give the committee a
 figure to start with.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; may want to go to twenty-five or
 200 . . . it's just so &lt;span class="ldml-entity"&gt;we&lt;/span&gt; can have some kind of guideline
 so when &lt;span class="ldml-entity"&gt;a subdivision&lt;/span&gt; developer goes in, that home builder
 knows that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has a water supply for a given length of
 time."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="95039" data-sentence-id="96159" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_95693"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="96163" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="96163" data-sentence-id="96174" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_96174"&gt;&lt;span class="ldml-cite"&gt;¶117&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Consultant Herb Wells responded, &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[B]&lt;/span&gt;efore &lt;span class="ldml-entity"&gt;we&lt;/span&gt; spend that
 money, I want to be darn sure that what I'm providing is
 a permanent supply of water ....&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;I want to know that when you
 go into that house you'll have water for your lifetime,
 your children will have water for their lifetime, and their
 children will.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;I'm not saying 100 years ....&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;This is a
 utility point of view."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="96163" data-sentence-id="96557" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_96174"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="96163" data-sentence-id="96561" class="ldml-sentence"&gt;Senator &lt;span class="ldml-entity"&gt;Kenneth
 Kinnie&lt;/span&gt; supported that statement by saying, &lt;span class="ldml-quotation quote"&gt;"What I think
 is important is that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have got to make up our minds how
 long &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; is going to obligate &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; in the
 life of the well, for &lt;span class="ldml-entity"&gt;the people&lt;/span&gt; that buy the homes, how long
 that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; say that &lt;span class="ldml-entity"&gt;they&lt;/span&gt;'re going to have water."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="96163" data-sentence-id="96865" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_96561"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="96163" data-sentence-id="96869" class="ldml-sentence"&gt;Soon after, Mr. Ross responded, &lt;span class="ldml-quotation quote"&gt;"It is a
 function of economics as well as a political judgment of
 sociology, because if you say it is going to be 200 years and
 that makes the well radius three miles, then no one will
 develop the resource."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="96163" data-sentence-id="97113" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_96869"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="97117" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="97117" data-sentence-id="97128" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_97128"&gt;&lt;span class="ldml-cite"&gt;¶118&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 This session shows that the legislators understood that the
 100-year aquifer life was a compromise that balanced prudent
 resource use with development.&lt;/span&gt; &lt;span data-paragraph-id="97117" data-sentence-id="97288" class="ldml-sentence"&gt;Those at the hearing
 recognized that it was a matter of economics.&lt;/span&gt; &lt;span data-paragraph-id="97117" data-sentence-id="97356" class="ldml-sentence"&gt;Expanding the

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_97372" data-val="70"&gt;&lt;/span&gt;
 aquifer life would in turn expand the size of the cone of
 depression, which would increase the spacing that would be
 required between wells.&lt;/span&gt; &lt;span data-paragraph-id="97117" data-sentence-id="97517" class="ldml-sentence"&gt;Further spaced wells would require
 more labor and materials and would therefore be more costly.&lt;/span&gt;
&lt;span data-paragraph-id="97117" data-sentence-id="97614" class="ldml-sentence"&gt;This economic consideration played a part in the
 drafters' decision to assign the aquifer a 100-year life,
 as opposed to a 200-year life.&lt;/span&gt; &lt;span data-paragraph-id="97117" data-sentence-id="97754" class="ldml-sentence"&gt;If the costs were
 &lt;span class="ldml-quotation quote"&gt;"exorbitant,"&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"no one w&lt;span class="ldml-parenthetical"&gt;[ould]&lt;/span&gt; develop the
 resource."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="97117" data-sentence-id="97827" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_97754"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="97117" data-sentence-id="97831" class="ldml-sentence"&gt;And the drafters wanted the
 resource to be developed.&lt;/span&gt; &lt;span data-paragraph-id="97117" data-sentence-id="97886" class="ldml-sentence"&gt;Nowhere in this history does anyone
 consider that well users would have to stop pumping after 100
 years if there was still water left to pump.&lt;/span&gt; &lt;span data-paragraph-id="97117" data-sentence-id="98031" class="ldml-sentence"&gt;Quite the
 opposite; the legislators were keenly aware of both the high
 cost of setting wells and that their constituents sought
 permanent water supplies.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="98188" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="98188" data-sentence-id="98199" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_98199"&gt;&lt;span class="ldml-cite"&gt;¶119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 About a month later, the committee unanimously amended the
 proposed &lt;span class="ldml-entity"&gt;legislation&lt;/span&gt; to include the word &lt;span class="ldml-quotation quote"&gt;"minimum,"&lt;/span&gt;
 setting forth that the useful life of the aquifer was to be a
 &lt;em class="ldml-emphasis"&gt;minimum&lt;/em&gt; of 100 years.&lt;/span&gt; &lt;span data-paragraph-id="98188" data-sentence-id="98403" class="ldml-sentence"&gt;Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;S. Comm. on Agric., Livestock, &amp;Nat.&lt;/span&gt; &lt;span class="ldml-cite"&gt;Res., 49th Gen.
 Assemb., 1st Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Apr. 9, 1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="98188" data-sentence-id="98524" class="ldml-sentence"&gt;Mr. Erker explained that
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;hat &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'re saying is the minimum useful life of
 the aquifer is declared to be 100 years, assuming there is no
 outside water brought in."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="98188" data-sentence-id="98692" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_98524"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="98188" data-sentence-id="98696" class="ldml-sentence"&gt;Similarly, a few
 weeks later Mr. Ross testified, stating on behalf of his
 clients, &lt;span class="ldml-quotation quote"&gt;"I want to be able to tell them, once &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 acquire a right to drill a well and develop this resource,
 that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are going to have 100-year practical life, or
 perhaps even longer, because things don't always work out
 the way the engineers expect it to."&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_99038" data-val="71"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="98188" data-sentence-id="99039" class="ldml-sentence"&gt;Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;S. Comm. on Agric., Livestock,
 &amp;Nat.&lt;/span&gt; &lt;span class="ldml-cite"&gt;Res., 49th Gen. Assemb., 1st Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;May 7, 1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="99158" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="99158" data-sentence-id="99169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_99169"&gt;&lt;span class="ldml-cite"&gt;¶120&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Including the word &lt;span class="ldml-quotation quote"&gt;"minimum"&lt;/span&gt; signals the
 drafters' acknowledgement that some wells might be able
 to pump for longer than 100 years.&lt;/span&gt; &lt;span data-paragraph-id="99158" data-sentence-id="99309" class="ldml-sentence"&gt;The legislators and the
 SEO needed to set a rate of withdrawal and decided to protect
 the expectation that the aquifer would be available to pump
 for &lt;em class="ldml-emphasis"&gt;at least&lt;/em&gt; 100 years.&lt;/span&gt; &lt;span data-paragraph-id="99158" data-sentence-id="99482" class="ldml-sentence"&gt;Similarly, Mr. Ross's
 testimony shows that those in attendance understood that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B.
 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; would give well owners a &lt;span class="ldml-quotation quote"&gt;"100-year practical life,
 or perhaps even longer."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="99158" data-sentence-id="99649" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_99482"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="99158" data-sentence-id="99653" class="ldml-sentence"&gt;There is no
 mention of a cap, or that permits would expire and pumps
 would be turned off after 100 years.&lt;/span&gt; &lt;span data-paragraph-id="99158" data-sentence-id="99761" class="ldml-sentence"&gt;If that were &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;,
 the legislators could easily have assigned each
 &lt;em class="ldml-emphasis"&gt;permit&lt;/em&gt; a life of 100 years.&lt;/span&gt; &lt;span data-paragraph-id="99158" data-sentence-id="99862" class="ldml-sentence"&gt;And one would expect
 some discussion of a hard cap during the legislative process.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="99946" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="99946" data-sentence-id="99957" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_99957"&gt;&lt;span class="ldml-cite"&gt;¶121&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In my opinion, this legislative history shows that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 was intended to set the minimum useful life of the aquifer so
 the SEO could have a measure by which to issue permits.&lt;/span&gt;
&lt;span data-paragraph-id="99946" data-sentence-id="100143" class="ldml-sentence"&gt;Throughout the history, no one mentions limits on the amount
 of water landowners may use other than their annual allotment
 and the physical quantity of underlying water.&lt;/span&gt; &lt;span data-paragraph-id="99946" data-sentence-id="100315" class="ldml-sentence"&gt;No one
 expressed nor implied that pumping would cease after 100
 years where underlying water remained.&lt;/span&gt; &lt;span data-paragraph-id="99946" data-sentence-id="100420" class="ldml-sentence"&gt;The legislators
 clearly intended that landowners would be able to use their
 underlying water to exhaustion after &lt;em class="ldml-emphasis"&gt;at least&lt;/em&gt; 100
 years of pumping.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_100567" data-val="72"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="2" data-content-heading-label="
 B.
The History of Senate Bill 85-5 Includes No Discussion of a
 Cap
" data-specifier="B" data-ordinal_end="2" data-id="heading_100567" data-parsed="true" data-value="B.
 The History of Senate Bill 85-5 Includes No Discussion of a
 Cap" id="heading_100567" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="100567" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="100567" data-sentence-id="100578" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="100567" data-sentence-id="100581" class="ldml-sentence"&gt;The History of &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 85-5 Includes No Discussion of a
 Cap&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="100646" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="100646" data-sentence-id="100657" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_100657"&gt;&lt;span class="ldml-cite"&gt;¶122&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;1985&lt;/span&gt;, the General Assembly considered &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which
 ultimately fleshed out &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt; governing
 nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="100646" data-sentence-id="100800" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; codified a definition for
 nontributary groundwater, made a legislative declaration as
 to its intended uses, further defined the system for
 allocating and administering nontributary groundwater outside
 of designated basins, and granted the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt;
 substantive rulemaking authority over the resource.&lt;/span&gt; &lt;span data-paragraph-id="100646" data-sentence-id="101118" class="ldml-sentence"&gt;Most
 relevant here, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s language in the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_101118"&gt;&lt;span class="ldml-cite"&gt;CGMA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; stating
 that &lt;span class="ldml-quotation quote"&gt;"the minimum useful life of the aquifer is one
 hundred years"&lt;/span&gt; was changed to instead say
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[p]&lt;/span&gt;ermits issued pursuant to this &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_101118"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; shall
 allow withdrawals on the basis of an aquifer life of one
 hundred years."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="100646" data-sentence-id="101407" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_101118"&gt;&lt;span class="ldml-cite"&gt;Ch. 285, sec. 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_101118"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_101118"&gt;&lt;span class="ldml-cite"&gt;1985 Colo. Sess. Laws 1160, 1163&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;see also&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_101118"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="100646" data-sentence-id="101509" class="ldml-sentence"&gt;However, the legislative history shows
 that despite this change in language, the &lt;span class="ldml-quotation quote"&gt;"minimum
 life"&lt;/span&gt; thrust of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; remained intact.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="101643" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="101643" data-sentence-id="101654" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_101654"&gt;&lt;span class="ldml-cite"&gt;¶123&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In the words of &lt;span class="ldml-entity"&gt;Charlie Elliott&lt;/span&gt;, who worked with the
 committee responsible for &lt;span class="ldml-entity"&gt;the bill&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[kept]&lt;/span&gt; the
 main &lt;span class="ldml-entity"&gt;principles of &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt;&lt;/span&gt; 213."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="101643" data-sentence-id="101807" class="ldml-sentence"&gt;Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 before the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;S. Comm. on Agric., Nat. Res., &amp;Energy&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55th
 Gen. Assemb., 1st Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Jan. 24, 1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="101643" data-sentence-id="101924" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; acknowledged,
 &lt;span class="ldml-quotation quote"&gt;"The mining of this water . . . &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'re not going to
 allow it to go in a quick amount of time, but in 100 years,
 it &lt;em class="ldml-emphasis"&gt;could conceivably&lt;/em&gt; be depleted."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="101643" data-sentence-id="102090" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_101924"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="101643" data-sentence-id="102094" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; continued, &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;t will probably last much longer than
 that ....&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;It

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_102166" data-val="73"&gt;&lt;/span&gt;
 may last 100 years, it may last 150, or even 200 years, under
 this legislative proposal, which is the same proposal put
 into effect in '73.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;'re buying time."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="101643" data-sentence-id="102330" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_102094"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="101643" data-sentence-id="102334" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; clarified, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt;on't want to shut
 it down, because that would have pretty drastic economic and
 social consequences in &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;, and that's why &lt;span class="ldml-entity"&gt;the
 state&lt;/span&gt; decided that was not the policy that &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'re going to
 follow, back in '73 ...."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="101643" data-sentence-id="102575" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_102334"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="101643" data-sentence-id="102579" class="ldml-sentence"&gt;Mr.
 Elliot's testimony recognizes that neither &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; nor
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; intended to shut down the development of nontributary
 groundwater in &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="102729" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="102729" data-sentence-id="102740" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_102740"&gt;&lt;span class="ldml-cite"&gt;¶124&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In addition to maintaining the policy goals of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213, S.B.
 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; defined material injury.&lt;/span&gt; &lt;span data-paragraph-id="102729" data-sentence-id="102836" class="ldml-sentence"&gt;At the first meeting on &lt;span class="ldml-entity"&gt;the bill&lt;/span&gt;,
 Senator &lt;span class="ldml-entity"&gt;Fred Anderson&lt;/span&gt; recognized that hydrostatic head
 pressure is affected by each new well, and that &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"you
 cannot depend on this pressure.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Because if you do, then
 you'll never develop the resource."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="102729" data-sentence-id="103074" class="ldml-sentence"&gt;Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B.
 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;S. Comm. on Agric., Nat. Res., &amp;Energy&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55th
 Gen. Assemb., 1st Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Jan. 24, 1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;em class="ldml-emphasis"&gt;.&lt;/em&gt;&lt;/span&gt; &lt;span data-paragraph-id="102729" data-sentence-id="103191" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; stated
 that in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;We&lt;/span&gt; make a very definite statement that
 it's not considered injury to the fact that you lose head
 pressure."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="102729" data-sentence-id="103329" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_103191"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="102729" data-sentence-id="103333" class="ldml-sentence"&gt;At a later meeting, &lt;span class="ldml-entity"&gt;David
 Harrison&lt;/span&gt; of the Colorado Water &lt;span class="ldml-entity"&gt;Congress&lt;/span&gt;, expanded on this
 idea, noting, &lt;span class="ldml-quotation quote"&gt;"If your water table is going down, your
 remedy is to get a bigger pump yourself."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="102729" data-sentence-id="103517" class="ldml-sentence"&gt;Hearing on
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;H. Comm. on Agric., Livestock, &amp;Nat.&lt;/span&gt;
&lt;span class="ldml-cite"&gt;Res., 55th Gen. Assemb., 1st Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;May 8, 1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="102729" data-sentence-id="103634" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also
 explained that it was &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"not possible to protect pumping
 levels of other wells, except to make sure that &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 don't get sort of an unfairly exaggerated impact.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;And
 that's

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_103817" data-val="74"&gt;&lt;/span&gt;
 what the spacing requirement is about."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="102729" data-sentence-id="103859" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_103634"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="102729" data-sentence-id="103863" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; stated: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Everybody gets the same 100-year
 &lt;em class="ldml-emphasis"&gt;based&lt;/em&gt; allowance.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;The water table is going down; help
 yourself.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;It's that kind of situation."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="102729" data-sentence-id="104012" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_103863"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;em class="ldml-emphasis"&gt;.&lt;/em&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104034" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="104034" data-sentence-id="104045" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_104045"&gt;&lt;span class="ldml-cite"&gt;¶125&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 This testimony shows that &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; never intended to
 protect hydrostatic head pressure or water levels in the
 aquifer, because doing so would severely stunt development of
 the resource.&lt;/span&gt; &lt;span data-paragraph-id="104034" data-sentence-id="104247" class="ldml-sentence"&gt;Instead, the history shows that the drafters
 chose to ensure fairness through proper well spacing, and
 relatedly, by regulating annual pumping rates.&lt;/span&gt; &lt;span data-paragraph-id="104034" data-sentence-id="104399" class="ldml-sentence"&gt;Mr.
 Harrison's statement that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt;verybody gets the same
 100-year &lt;em class="ldml-emphasis"&gt;based&lt;/em&gt; allowance"&lt;/span&gt; neither expresses nor
 implies that pumping beyond 100 years would be forbidden.&lt;/span&gt; &lt;span data-paragraph-id="104034" data-sentence-id="104565" class="ldml-sentence"&gt;The
 only end-of-life limitation implied or expressed by this
 history is the actual, physical limitation of the underlying
 water being exhausted.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="104713" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="104713" data-sentence-id="104724" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_104724"&gt;&lt;span class="ldml-cite"&gt;¶126&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At a subsequent meeting, &lt;span class="ldml-entity"&gt;David Getches&lt;/span&gt;, Executive Director of
 the &lt;span class="ldml-entity"&gt;Department of Natural Resources&lt;/span&gt;, reinforced this
 understanding when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; testified, &lt;span class="ldml-quotation quote"&gt;"The &lt;span class="ldml-entity"&gt;enactment&lt;/span&gt; of the
 proposal is effectively a legislative announcement that
 nontributary groundwater is available for &lt;em class="ldml-emphasis"&gt;total
 depletion&lt;/em&gt; in the next few generations."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="104713" data-sentence-id="105049" class="ldml-sentence"&gt;Hearing on
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;S. Comm. on Agric., Nat. Res., &amp;Energy&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;55th Gen. Assemb., 1st Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Mar. 7, 1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="104713" data-sentence-id="105182" class="ldml-sentence"&gt;Later, &lt;span class="ldml-entity"&gt;Jim Gehn&lt;/span&gt;, a consultant with the &lt;span class="ldml-entity"&gt;Colorado Ground Water
 Association&lt;/span&gt;, explained the practical reality of mining the
 Denver Basin aquifers: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Certainly it's an economic

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_105357" data-val="75"&gt;&lt;/span&gt;
 issue, also.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;In the year 2030, or '40 down the road,
 it's going to be very expensive to pump this nontributary
 water from the deeper aquifers."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="104713" data-sentence-id="105505" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_105182"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="104713" data-sentence-id="105509" class="ldml-sentence"&gt;At a
 subsequent hearing Mr. Gehn continued: &lt;span class="ldml-quotation quote"&gt;"If &lt;span class="ldml-entity"&gt;we&lt;/span&gt; look at .
 . . the maximum build-out of the Denver Basin over the next
 seventy years, and extend that on to 100 years . . . &lt;span class="ldml-entity"&gt;we&lt;/span&gt; would
 deplete those four aquifers in Denver Basin 4% their total
 depletable amount."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="104713" data-sentence-id="105776" class="ldml-sentence"&gt;Hearing on &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;H.
 Agric. Comm., 55th Gen. Assemb., 1st Sess.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Mar. 26, 1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="104713" data-sentence-id="105869" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; then summarized, &lt;span class="ldml-quotation quote"&gt;"So to say that the 100-year life is
 going to totally be exhausted in 100 years, or to understand
 it that way, is erroneous."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="104713" data-sentence-id="106017" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_105869"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="104713" data-sentence-id="106021" class="ldml-sentence"&gt;Similarly, Mr.
 Elliott emphasized that, &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 5 continues the
 conservation standard of the 100-year, &lt;em class="ldml-emphasis"&gt;minimum&lt;/em&gt;
 aquifer life.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;It doesn't say &lt;em class="ldml-emphasis"&gt;maximum&lt;/em&gt;, it says
 &lt;em class="ldml-emphasis"&gt;minimum&lt;/em&gt; ....&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;e're looking at very long
 periods of time before this water is depleted."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="104713" data-sentence-id="106278" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_106021"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="106282" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="106282" data-sentence-id="106293" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_106293"&gt;&lt;span class="ldml-cite"&gt;¶127&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 This testimony exhibits that while the drafters expected
 landowners to use their underlying water to total depletion
 eventually, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; also expected the economics of drawing from
 deeper aquifers to provide an inherent check on pumping, in
 addition to the annual allotment determined by the SEO.&lt;/span&gt;
&lt;span data-paragraph-id="106282" data-sentence-id="106597" class="ldml-sentence"&gt;Further, the above testimony shows that lawmakers understood
 that because of the vast quantity of water available, basing
 annual pumping rates on a minimum 100-year aquifer lifetime
 would not realistically result in critical depletion of the
 broader Denver Basin aquifers anytime soon.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_106887" data-val="76"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="106887" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="106887" data-sentence-id="106898" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_106898"&gt;&lt;span class="ldml-cite"&gt;¶128&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Later, Senator Anderson spoke in favor of &lt;span class="ldml-entity"&gt;the bill&lt;/span&gt;: &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"I
 want to protect agricultural water.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;And I'll tell you
 this, the decision was made twelve years ago &lt;span class="ldml-parenthetical"&gt;[with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;S.B. 213&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;]&lt;/span&gt;
 that this is indeed a finite resource.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;And &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'re going to
 use it on a conservative basis, but &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'re going to use
 it."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="106887" data-sentence-id="107197" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_106898"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="106887" data-sentence-id="107201" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; continued by explaining that
 &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt;evelopment is going to continue in Colorado.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;And if
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; don't develop this resource"&lt;/span&gt;&lt;/span&gt; the necessary water
 is &lt;span class="ldml-quotation quote"&gt;"going to come from agricultural uses."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="106887" data-sentence-id="107387" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_107201"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="107391" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="107391" data-sentence-id="107402" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_107402"&gt;&lt;span class="ldml-cite"&gt;¶129&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Senator Anderson's comments exemplify &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt;'s intent that nontributary water would be
 &lt;em class="ldml-emphasis"&gt;used&lt;/em&gt;.&lt;/span&gt; &lt;span data-paragraph-id="107391" data-sentence-id="107512" class="ldml-sentence"&gt;Curtailing its development would force
 would-be users to obtain water from others who held water
 rights, which in many instances are agricultural-use rights.&lt;/span&gt;
&lt;span data-paragraph-id="107391" data-sentence-id="107672" class="ldml-sentence"&gt;It is common knowledge that surface waters are already
 over-appropriated across &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="107391" data-sentence-id="107764" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;
 understood that leaving accessible nontributary water in the
 ground would inherently put additional strain on &lt;span class="ldml-entity"&gt;the
 state&lt;/span&gt;'s other water resources.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="3" data-content-heading-label="
 C.
Review of the Legislative History
" data-specifier="C" data-ordinal_end="3" data-id="heading_107934" data-parsed="true" data-value="C.
 Review of the Legislative History" id="heading_107934" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="107934" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="107934" data-sentence-id="107945" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;span data-paragraph-id="107934" data-sentence-id="107948" class="ldml-sentence"&gt;Review of the Legislative History&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="107982" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="107982" data-sentence-id="107993" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_107993"&gt;&lt;span class="ldml-cite"&gt;¶130&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In summary, the legislative history, like &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;'s
 plain language, never discusses imposing a lifetime
 volumetric cap on nontributary wells.&lt;/span&gt; &lt;span data-paragraph-id="107982" data-sentence-id="108147" class="ldml-sentence"&gt;Many &lt;span class="ldml-entity"&gt;people&lt;/span&gt;
 representing a wide variety of interests testified at the
 legislative hearings on both &lt;span class="ldml-entity"&gt;bills&lt;/span&gt;, and never mentioned that
 a well permit would expire after 100 years of

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_108329" data-val="77"&gt;&lt;/span&gt;
 pumping at the maximum permitted rate.&lt;/span&gt;&lt;span data-paragraph-id="107982" data-sentence-id="108369" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN11" class="ldml-noteanchor" id="note-ref-ftn.FN11"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; If &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt; ever considered such a limit, there would have
 been lengthy and heated debate over the issue.&lt;/span&gt; &lt;span data-paragraph-id="107982" data-sentence-id="108487" class="ldml-sentence"&gt;To put it
 modestly, this would have been a weighty and controversial
 policy change, even in &lt;span class="ldml-entity"&gt;1973&lt;/span&gt; and &lt;span class="ldml-entity"&gt;1985&lt;/span&gt;, when there was less
 pressure on &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s water resources than exists
 today.&lt;/span&gt; &lt;span data-paragraph-id="107982" data-sentence-id="108677" class="ldml-sentence"&gt;In my view, it makes no sense to conclude that where
 &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; is silent as to a cap, and the legislative
 history never mentions a cap, that &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;
 unambiguously intended for a cap to exist.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="3" data-content-heading-label="
 III.
The Majority's Construction Results in Consequences the
 General Assembly Never Intended
" data-specifier="III" data-ordinal_end="3" data-id="heading_108882" data-parsed="true" data-value="III.
 The Majority's Construction Results in Consequences the
 General Assembly Never Intended" id="heading_108882" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="108882" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="108882" data-sentence-id="108893" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="108882" data-sentence-id="108898" class="ldml-sentence"&gt;The Majority's Construction Results in Consequences the
 General Assembly Never Intended&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="108987" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="108987" data-sentence-id="108998" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_108998"&gt;&lt;span class="ldml-cite"&gt;¶131&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"If &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; is ambiguous, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, in determining
 the intention of the general assembly, may consider. . .
 &lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he consequences of a particular construction."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="108987" data-sentence-id="109166" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_108998"&gt;&lt;span class="ldml-cite"&gt;§
 2-4-203&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="108987" data-sentence-id="109181" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he best guide to intent is the
 declaration of policy which forms the initial part of &lt;span class="ldml-entity"&gt;an
 enactment&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="108987" data-sentence-id="109287" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893439626" data-vids="893439626" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_109181"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Walgreen Co. v. Charnes&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;819 P.2d
 1039, 1044&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="108987" data-sentence-id="109347" class="ldml-sentence"&gt;Where a particular construction of &lt;span class="ldml-entity"&gt;a
 statute&lt;/span&gt; would lead to a result contrary to the stated
 &lt;span class="ldml-entity"&gt;legislative intent&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have held that &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; did not
 intend that construction.&lt;/span&gt; &lt;span data-paragraph-id="108987" data-sentence-id="109529" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;, &lt;em class="ldml-emphasis"&gt;e.g&lt;/em&gt;.&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893439626" data-vids="893439626" class="ldml-reference" data-reftype="ibid" data-prop-ids="embeddedsentence_109557,sentence_109347"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt; at 1044-45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that where

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_109581" data-val="78"&gt;&lt;/span&gt;
 the statutory language was ambiguous, the city at issue was
 not exempt from &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; because exemption would have
 frustrated &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s stated intent&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="109747" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="109747" data-sentence-id="109758" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_109758"&gt;&lt;span class="ldml-cite"&gt;¶132&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_109758"&gt;&lt;span class="ldml-cite"&gt;CGMA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; declares that &lt;span class="ldml-quotation quote"&gt;"nontributary groundwater
 &lt;em class="ldml-emphasis"&gt;shall be devoted to beneficial use&lt;/em&gt; in amounts based
 upon conservation of the resource and protection of vested
 water rights,"&lt;/span&gt; and that to &lt;span class="ldml-quotation quote"&gt;"&lt;em class="ldml-emphasis"&gt;continue the
 development of nontributary groundwater resources . . . shall
 be the policy of this state.&lt;/em&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="109747" data-sentence-id="110068" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_109758"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphases added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="109747" data-sentence-id="110101" class="ldml-sentence"&gt;Thus, with the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_110101"&gt;&lt;span class="ldml-cite"&gt;CGMA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the General Assembly
 sought to balance its twin aims of economic development and
 conservative use of the groundwater resource.&lt;/span&gt; &lt;span data-paragraph-id="109747" data-sentence-id="110251" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The legislature&lt;/span&gt;
 achieved this balance by regulating withdrawals to ensure a
 minimum aquifer life of 100 years.&lt;/span&gt; &lt;span data-paragraph-id="109747" data-sentence-id="110364" class="ldml-sentence"&gt;It is my position that the
 majority's &lt;span class="ldml-entity"&gt;interpretation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_110364"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, which
 cuts off nontributary water rights after 100 years of pumping
 at the allowed rate, frustrates this clearly stated
 legislative purpose.&lt;/span&gt;&lt;span data-paragraph-id="109747" data-sentence-id="110586" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN12" class="ldml-noteanchor" id="note-ref-ftn.FN12"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="110589" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="110589" data-sentence-id="110600" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_110600"&gt;&lt;span class="ldml-cite"&gt;¶133&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 If the majority's construction were to be implemented,
 the most obvious question is, &lt;span class="ldml-quotation quote"&gt;"What happens next?"&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="110589" data-sentence-id="110713" class="ldml-sentence"&gt;Understandably, the majority does not enter this terrain.&lt;/span&gt; &lt;span data-paragraph-id="110589" data-sentence-id="110771" class="ldml-sentence"&gt;But
 this question helps illuminate the issue before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="110589" data-sentence-id="110828" class="ldml-sentence"&gt;As I see
 it, there are two primary possibilities regarding what might
 occur after a permit expires.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_110930" data-val="79"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="110930" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="110930" data-sentence-id="110941" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_110941"&gt;&lt;span class="ldml-cite"&gt;¶134&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The first is a true termination of the landowners' vested
 water rights, which appears to be the result the SEO
 advocates for.&lt;/span&gt; &lt;span data-paragraph-id="110930" data-sentence-id="111075" class="ldml-sentence"&gt;This option would cut off the landowners'
 water rights after the total volumetric cap is reached:
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[O]&lt;/span&gt;nce a well's total volumetric limit is reached,
 the permittee must stop operating the well."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="110930" data-sentence-id="111273" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_111075"&gt;&lt;span class="ldml-cite"&gt;Maj. op.
 ¶ 48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="110930" data-sentence-id="111289" class="ldml-sentence"&gt;And because, as noted above, an unknown quantity
 of underlying water will likely remain after a landowner
 withdraws the SEO's estimated quantity, this rule would
 leave that remaining water stranded underground.&lt;/span&gt; &lt;span data-paragraph-id="110930" data-sentence-id="111503" class="ldml-sentence"&gt;There it
 would wait, until unspecified neighbors have pumped their own
 underlying water for 100 years.&lt;/span&gt; &lt;span data-paragraph-id="110930" data-sentence-id="111608" class="ldml-sentence"&gt;After that, the remaining
 water underlying each of the properties would sit stranded
 and unused.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="111707" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="111707" data-sentence-id="111718" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_111718"&gt;&lt;span class="ldml-cite"&gt;¶135&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The second possibility is that landowners could apply for new
 permits to pump any remaining underlying water.&lt;/span&gt; &lt;span data-paragraph-id="111707" data-sentence-id="111835" class="ldml-sentence"&gt;Even though
 this option would allow the possibility of continued pumping,
 it would nonetheless inject a great degree of uncertainty
 into landowners' long-term water supplies.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="112013" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="112013" data-sentence-id="112024" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_112024"&gt;&lt;span class="ldml-cite"&gt;¶136&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Neither &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt;, the rules, nor the legislative history
 say anything about these possible consequences.&lt;/span&gt; &lt;span data-paragraph-id="112013" data-sentence-id="112140" class="ldml-sentence"&gt;In fact, none
 of these sources say anything regarding how expired permits
 should be treated.&lt;/span&gt; &lt;span data-paragraph-id="112013" data-sentence-id="112235" class="ldml-sentence"&gt;There is no direct evidence that anyone,
 including the General Assembly or the SEO, much less water
 users, ever understood or intended that the possibilities
 outlined above would occur.&lt;/span&gt; &lt;span data-paragraph-id="112013" data-sentence-id="112424" class="ldml-sentence"&gt;That silence speaks volumes about
 what &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; intended.&lt;/span&gt; &lt;span data-paragraph-id="112013" data-sentence-id="112490" class="ldml-sentence"&gt;If the General

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_112507" data-val="80"&gt;&lt;/span&gt;
 Assembly meant to cap pumping after 100 years, it would have
 instructed both the SEO and water users that this was &lt;span class="ldml-entity"&gt;the
 case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="112636" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="112636" data-sentence-id="112647" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_112647"&gt;&lt;span class="ldml-cite"&gt;¶137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 And at the same time, the majority's construction would
 have severe and unexpected consequences for water users, like
 Parker, who require a stable water supply.&lt;/span&gt; &lt;span data-paragraph-id="112636" data-sentence-id="112816" class="ldml-sentence"&gt;Upon learning that
 their nontributary water rights will be terminated or called
 into question in as little as fifty years, these landowners
 would immediately need to reorient their long-term water
 supplies.&lt;/span&gt; &lt;span data-paragraph-id="112636" data-sentence-id="113027" class="ldml-sentence"&gt;Doing so would necessarily put greater pressure on
 &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s other surface and groundwater resources.&lt;/span&gt; &lt;span data-paragraph-id="112636" data-sentence-id="113132" class="ldml-sentence"&gt;It
 would also put significant and unexpected strain on these
 users' planning departments and budgets.&lt;/span&gt; &lt;span data-paragraph-id="112636" data-sentence-id="113236" class="ldml-sentence"&gt;And all the
 while, nontributary water would remain underlying their land,
 stranded and unused.&lt;/span&gt; &lt;span data-paragraph-id="112636" data-sentence-id="113333" class="ldml-sentence"&gt;A construction of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; that leads
 to these consequences is contrary to &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s
 stated intention that &lt;span class="ldml-quotation quote"&gt;"nontributary groundwater shall be
 devoted to beneficial use"&lt;/span&gt; and that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;o continue
 the development of nontributary groundwater resources . . .
 shall be the policy of this state."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="112636" data-sentence-id="113638" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_113333"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="4" data-types="conclusion" data-content-heading-label="
 IV.
Conclusion
" data-specifier="IV" data-ordinal_end="4" data-id="heading_113654" data-confidences="very_high" data-parsed="true" data-value="IV.
 Conclusion" id="heading_113654" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="113654" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="113654" data-sentence-id="113665" class="ldml-sentence"&gt;IV.&lt;/span&gt;
&lt;span data-paragraph-id="113654" data-sentence-id="113669" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="113680" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="113680" data-sentence-id="113691" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_113691"&gt;&lt;span class="ldml-cite"&gt;¶138&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Nothing in the plain language of &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt; or rules
 provides for, much less requires, a total volumetric limit or
 related permit lifetime.&lt;/span&gt; &lt;span data-paragraph-id="113680" data-sentence-id="113841" class="ldml-sentence"&gt;Nonetheless, by declaring that &lt;span class="ldml-entity"&gt;the
 statute&lt;/span&gt; unambiguously requires a limit, the majority avoids
 consideration of both the legislative history and the
 consequences of its ruling.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_114021" data-val="81"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="114021" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="114021" data-sentence-id="114034" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_114034"&gt;&lt;span class="ldml-cite"&gt;¶139&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; But the legislative history, like the text of &lt;span class="ldml-entity"&gt;the
 statute&lt;/span&gt;, is void of any mention of a volumetric cap.&lt;/span&gt; &lt;span data-paragraph-id="114021" data-sentence-id="114143" class="ldml-sentence"&gt;Thus, to
 accept the majority's interpretation requires concluding
 that in &lt;span class="ldml-entity"&gt;1973&lt;/span&gt;, and again in &lt;span class="ldml-entity"&gt;1985&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; voted to
 curtail water rights in Colorado without &lt;em class="ldml-emphasis"&gt;anybody&lt;/em&gt;
 raising their hand to ask a question or object.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="114368" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="114368" data-sentence-id="114379" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_114379"&gt;&lt;span class="ldml-cite"&gt;¶140&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Further, the General Assembly explicitly declared that
 nontributary groundwater in Colorado is to be &lt;em class="ldml-emphasis"&gt;devoted to
 beneficial use&lt;/em&gt; and &lt;em class="ldml-emphasis"&gt;developed&lt;/em&gt; consonant with
 both &lt;em class="ldml-emphasis"&gt;conservation&lt;/em&gt; and the protection of &lt;em class="ldml-emphasis"&gt;vested
 water rights&lt;/em&gt;.&lt;/span&gt; &lt;span data-paragraph-id="114368" data-sentence-id="114606" class="ldml-sentence"&gt;But capping wells, as the majority's
 interpretation does, will leave water unused, putting
 additional pressure on &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s water resources,
 straining users' budgets, and abrogating landowners'
 vested rights.&lt;/span&gt; &lt;span data-paragraph-id="114368" data-sentence-id="114821" class="ldml-sentence"&gt;These consequences contravene &lt;span class="ldml-entity"&gt;the
 legislature&lt;/span&gt;'s declared policy of balancing conservative
 water use with economic development.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="114950" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="114950" data-sentence-id="114961" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_114961"&gt;&lt;span class="ldml-cite"&gt;¶141&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For the above reasons, I disagree with the majority's
 construction of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_114961"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; deciding that the SEO
 has the authority to impose a TAW on nontributary wells
 statewide.&lt;/span&gt; &lt;span data-paragraph-id="114950" data-sentence-id="115150" class="ldml-sentence"&gt;If in the future &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; changes its mind
 and wants these wells to cease pumping after 100 years, then
 it will use its plenary power over &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s
 nontributary water resources to direct the SEO accordingly.&lt;/span&gt;
&lt;span data-paragraph-id="114950" data-sentence-id="115371" class="ldml-sentence"&gt;Thus, I respectfully dissent.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="115401" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="115401" data-sentence-id="115402" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="115412" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="115412" data-sentence-id="115413" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN1" class="ldml-notemarker" id="note-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; have direct appellate review
 jurisdiction over water adjudications pursuant to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Colo.
 Const. art. VI, § 2&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, section 13-4-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 1&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="115412" data-sentence-id="115589" class="ldml-sentence"&gt;Parker raises the following six
 issues on appeal:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_115640" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="115641" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="115644" class="ldml-sentence"&gt;Whether the Water &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; erred in determining as a
 matter of law that the plain language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.R.S. §
 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; unambiguously sets forth, requires and/or allows
 the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; and the &lt;span class="ldml-entity"&gt;Division of Water Resources&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(collectively, the &lt;span class="ldml-quotation quote"&gt;"SEO"&lt;/span&gt;)&lt;/span&gt; to impose a total
 volumetric limit on the amount of nontributary groundwater
 that may be withdrawn pursuant to well permits issued
 pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.R.S. § 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_116056" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="116057" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-sentence-id="116060" class="ldml-sentence"&gt;Whether the Water &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; erred in determining as a
 matter of law that the Statewide Nontributary Groundwater
 Rules, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_116060"&gt;&lt;span class="ldml-cite"&gt;2 CCR 402-7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Rules"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt; unambiguously set
 forth, impose and/or require a total volumetric limit on the
 amount of nontributary groundwater that may be withdrawn
 pursuant to well permits issued pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.R.S. §
 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_116406" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="116407" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-sentence-id="116410" class="ldml-sentence"&gt;Whether the Water &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; erred in determining as a
 matter of law that the SEO has authority under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.R.S. §
 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to impose on well permits a total volumetric limit
 on the amount of nontributary groundwater that may be
 withdrawn where such limit is absent from and/or inconsistent
 with the terms of the underlying water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; decrees.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_116752" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="116753" class="ldml-sentence"&gt;4.&lt;/span&gt; &lt;span data-sentence-id="116756" class="ldml-sentence"&gt;Whether the Water &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; erred in determining as a
 matter of law that a total volumetric limit should be read
 into every water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; decree and well permit where such
 decrees and permits only provide for an allowed average
 annual withdrawal &lt;span class="ldml-parenthetical"&gt;(or its functional equivalent)&lt;/span&gt;.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_117032" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="117033" class="ldml-sentence"&gt;5.&lt;/span&gt; &lt;span data-sentence-id="117036" class="ldml-sentence"&gt;Whether the Water &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; erred in determining as a
 matter of law that the plain language of &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213 &lt;span class="ldml-parenthetical"&gt;(the
 prior version of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.R.S. § 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in effect from &lt;span class="ldml-entity"&gt;1973&lt;/span&gt;
 to &lt;span class="ldml-entity"&gt;1985&lt;/span&gt;)&lt;/span&gt; unambiguously sets forth, requires and/or allows the
 SEO to impose a total volumetric limit on the amount of
 nontributary groundwater that may be withdrawn pursuant to
 well permits issued under &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_117431" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="117432" class="ldml-sentence"&gt;6.&lt;/span&gt; &lt;span data-sentence-id="117435" class="ldml-sentence"&gt;Whether the Water &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; erred by staying all
 discovery and precluding the presentation of evidence,
 thereby making the determinations in the &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_117435"&gt;&lt;span class="ldml-cite"&gt;2022 Order and 2023&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-opinionnote"&gt;Order&lt;/span&gt;&lt;/span&gt; without affording the ability to conduct discovery or
 present evidence that would help establish and/or resolve any
 ambiguity in &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; or Rules.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="117757" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="117757" data-sentence-id="117758" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN2" class="ldml-notemarker" id="note-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; An acre-foot is the amount of water
 needed to cover one acre of land with one foot of water.&lt;/span&gt; &lt;span data-paragraph-id="117757" data-sentence-id="117855" class="ldml-sentence"&gt;It
 is equivalent to 43,560 cubic feet or 325,851 gallons of
 water.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="117924" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="117924" data-sentence-id="117925" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN3" class="ldml-notemarker" id="note-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; The United States Geological
 Survey's most recent data estimated that, by &lt;span class="ldml-entity"&gt;2003&lt;/span&gt;, dry
 climactic conditions and continued well pumping in the Denver
 Basin had resulted in an annual depletion of approximately
 41,266 acre-feet of Denver Basin aquifer water per year.&lt;/span&gt; &lt;span data-paragraph-id="117924" data-sentence-id="118194" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="supra" data-prop-ids="sentence_118194"&gt;&lt;span class="ldml-refname"&gt;U.S.
 Geological Surv.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;supra&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, at xi.&lt;/span&gt; &lt;span data-paragraph-id="117924" data-sentence-id="118232" class="ldml-sentence"&gt;Estimated annual
 storage depletion increased exponentially beginning in &lt;span class="ldml-entity"&gt;1999&lt;/span&gt;
 and was expected to continue increasing with population
 growth in the Denver metropolitan area.&lt;/span&gt; &lt;span data-paragraph-id="117924" data-sentence-id="118408" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_118408"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at
 xi-xii.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="118424" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="118424" data-sentence-id="118425" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN4" class="ldml-notemarker" id="note-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; This appeal concerns only nontributary
 groundwater in the Dawson, Denver, Arapahoe, and &lt;span class="ldml-entity"&gt;Laramie-Fox
 Hills&lt;/span&gt; aquifers that make up the Denver Basin.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="118576" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="118576" data-sentence-id="118577" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN5" class="ldml-notemarker" id="note-ftn.FN5"&gt;5&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_118577"&gt;&lt;span class="ldml-cite"&gt;Groundwater Management Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; also classified some Denver Basin groundwater
 as &lt;span class="ldml-quotation quote"&gt;"designated."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="118576" data-sentence-id="118699" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_118577"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="118576" data-sentence-id="118718" class="ldml-sentence"&gt;Designated
 groundwater is defined as that which, &lt;span class="ldml-quotation quote"&gt;"in its natural
 course would not be available to and required for the
 fulfillment of decreed surface rights"&lt;/span&gt; or that is found
 &lt;span class="ldml-quotation quote"&gt;"in areas not adjacent to a continuously flowing natural
 stream"&lt;/span&gt; where groundwater has historically
 &lt;span class="ldml-quotation quote"&gt;"constituted the principal water usage."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="118576" data-sentence-id="119040" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_118718"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="118576" data-sentence-id="119060" class="ldml-sentence"&gt;Designated groundwater is managed by the
 &lt;span class="ldml-entity"&gt;Colorado Ground Water Commission&lt;/span&gt;, which issues permits upon
 application.&lt;/span&gt; &lt;span data-paragraph-id="118576" data-sentence-id="119176" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_119060"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-107&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="118576" data-sentence-id="119207" class="ldml-sentence"&gt;Because all
 of the groundwater at issue in this appeal is nondesignated,
 nontributary groundwater, the term &lt;span class="ldml-quotation quote"&gt;"nontributary
 groundwater"&lt;/span&gt; throughout this opinion refers to
 nondesignated, nontributary groundwater unless otherwise
 indicated.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="119449" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="119449" data-sentence-id="119450" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN6" class="ldml-notemarker" id="note-ftn.FN6"&gt;6&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Not nontributary groundwater is unique
 to the Denver Basin.&lt;/span&gt; &lt;span data-paragraph-id="119449" data-sentence-id="119514" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="embeddedsentence_119533,sentence_119450"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.7)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-quotation quote"&gt;'Not
 nontributary groundwater'&lt;/span&gt; means groundwater located
 within those portions of the Dawson, Denver, Arapahoe, and
 &lt;span class="ldml-entity"&gt;Laramie-Fox Hills&lt;/span&gt; aquifers that are outside the boundaries of
 any designated groundwater basin. . . the withdrawal of which
 will, within one hundred years, deplete the flow of a natural
 stream . . . at an annual rate of greater than one-tenth of
 one percent of the annual rate of withdrawal."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_119450"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N.
 Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 73 n.21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="119449" data-sentence-id="119989" class="ldml-sentence"&gt;This classification,
 while grammatically perplexing, is intentional.&lt;/span&gt; &lt;span data-paragraph-id="119449" data-sentence-id="120059" class="ldml-sentence"&gt;It reflects
 the General Assembly's recognition that because this
 water is hydrologically connected to a surface stream, it is
 not actually nontributary.&lt;/span&gt; &lt;span data-paragraph-id="119449" data-sentence-id="120215" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_120059"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d
 at 73 n.21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="119449" data-sentence-id="120252" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The legislature&lt;/span&gt; opted, however, to administer
 this water separately from tributary water &lt;span class="ldml-quotation quote"&gt;"in
 recognition of the de minimis amount of water discharging
 from the &lt;span class="ldml-parenthetical"&gt;[Denver Basin]&lt;/span&gt; aquifers into surface streams . . .
 when compared with the great economic importance of the
 groundwater in those aquifers."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="119449" data-sentence-id="120556" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_120252"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="120576" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="120576" data-sentence-id="120577" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN7" class="ldml-notemarker" id="note-ftn.FN7"&gt;7&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Between the time &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;
 enacted &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213 and the printing of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_120577"&gt;&lt;span class="ldml-cite"&gt;1973 Colorado
 Revised Statutes&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; in &lt;span class="ldml-entity"&gt;1974&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_120577"&gt;&lt;span class="ldml-cite"&gt;section 148-18-36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; was recodified as
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_120577"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="120576" data-sentence-id="120759" class="ldml-sentence"&gt;The laws enacted and amended in &lt;span class="ldml-entity"&gt;1973&lt;/span&gt; were
 not printed in a supplement to the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_120759"&gt;&lt;span class="ldml-cite"&gt;1963 Colorado Revised
 Statutes&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; but were printed for the first time in &lt;span class="ldml-entity"&gt;1974&lt;/span&gt; using a
 new numbering system.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="120944" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="120944" data-sentence-id="120945" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN8" class="ldml-notemarker" id="note-ftn.FN8"&gt;8&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; As a quasi-municipal special district
 that provides water services to landowners within its
 boundaries, Parker has the right to withdraw and use Denver
 Basin groundwater underlying Parker's boundaries pursuant
 to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_120945"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which provides, in part:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_121212" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="121213" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;herever any existing municipal or quasi-municipal
 water supplier is obligated either by law or by contract in
 effect... to be the principal provider of public water
 service to landowners within a certain municipal or
 quasi-municipal boundary ..., said water supplier may adopt
 an ordinance or resolution. . . which incorporates
 groundwater from &lt;span class="ldml-parenthetical"&gt;[the Denver Basin aquifers]&lt;/span&gt; underlying all
 or any specified portion of such municipality's or
 quasi-municipality's boundary into its actual municipal
 service plan. . . .&lt;/span&gt; &lt;span data-sentence-id="121740" class="ldml-sentence"&gt;Upon the effective date of such ordinance
 or resolution, the owners of land which overlies such
 groundwater shall be deemed to have consented to the
 withdrawal by that water supplier of all such groundwater
 ....&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="121956" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="121956" data-sentence-id="121957" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN9" class="ldml-notemarker" id="note-ftn.FN9"&gt;9&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; note that even if &lt;span class="ldml-entity"&gt;we&lt;/span&gt; were to look
 at legislative history, &lt;span class="ldml-entity"&gt;the bill&lt;/span&gt;'s proponents
 acknowledged from the very first hearings on &lt;span class="ldml-entity"&gt;Senate Bill&lt;/span&gt; 213
 that the &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; was being inundated with permit
 applications to mine the Denver Basin aquifers from housing
 developments along the southern front range, and that the
 mining of nontributary groundwater would be a finite
 operation that would only serve the developments that relied
 on it for a relatively short period of time.&lt;/span&gt; &lt;span data-paragraph-id="121956" data-sentence-id="122445" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"All of the
 residential development in the &lt;span class="ldml-entity"&gt;Parker-Franktown-Castle Rock&lt;/span&gt;
 area taps into these supplies,"&lt;/span&gt; said &lt;span class="ldml-entity"&gt;Harlan Erker&lt;/span&gt;, the
 chief engineer in charge of groundwater operations in the
 &lt;span class="ldml-entity"&gt;Division of Water Resources&lt;/span&gt; at a meeting of the &lt;span class="ldml-entity"&gt;Senate
 Committee on Agriculture Livestock and Natural Resources&lt;/span&gt; on
 &lt;span class="ldml-entity"&gt;March 7, 1973&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="121956" data-sentence-id="122766" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Another area where &lt;span class="ldml-entity"&gt;people&lt;/span&gt; are really,
 where it's really hot is in the Parker area.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt;'re
 requesting permits out there in the Denver Basin for new
 &lt;span class="ldml-entity"&gt;subdivisions&lt;/span&gt;,"&lt;/span&gt;&lt;/span&gt; said &lt;span class="ldml-entity"&gt;Don Hamburg&lt;/span&gt;, an attorney for the
 &lt;span class="ldml-entity"&gt;State Engineer&lt;/span&gt; at a &lt;span class="ldml-entity"&gt;March 5, 1973&lt;/span&gt; meeting of that same
 committee.&lt;/span&gt; &lt;span data-paragraph-id="121956" data-sentence-id="123039" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"The way the applications are coming in in
 the Monument, Colorado Springs area, the way the applications
 have come in &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can drain that aquifer in a relatively
 short period of time if &lt;span class="ldml-entity"&gt;we&lt;/span&gt; were to grant them all,"&lt;/span&gt; said
 Hamburg.&lt;/span&gt; &lt;span data-paragraph-id="121956" data-sentence-id="123271" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The statutory scheme&lt;/span&gt; enacted by &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; was
 a way of ensuring that every landowner got their fair share
 -but no more -and stretched the life of the aquifers out to
 at least 100 years.&lt;/span&gt; &lt;span data-paragraph-id="121956" data-sentence-id="123466" class="ldml-sentence"&gt;But the rapid depletion of the Denver
 Basin aquifers, the impact of that depletion on these
 developments, and the need to avoid a race to the bottom of
 the aquifers were all looming problems that were widely
 discussed by those involved in crafting &lt;span class="ldml-entity"&gt;this
 legislation&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="123737" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="123737" data-sentence-id="123738" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN10" class="ldml-notemarker" id="note-ftn.FN10"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; In the interest of brevity, I omit a
 thorough review of the technical aspects of the rules.&lt;/span&gt;
&lt;span data-paragraph-id="123737" data-sentence-id="123834" class="ldml-sentence"&gt;However, nothing in the plain language of the rules, beyond
 the discussed portions of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_123834"&gt;&lt;span class="ldml-cite"&gt;Rule 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, seems to support the
 majority's construction.&lt;/span&gt; &lt;span data-paragraph-id="123737" data-sentence-id="123976" class="ldml-sentence"&gt;Indeed, the majority cites no
 other portions of the rules in support of its
 position.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="124064" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="124064" data-sentence-id="124065" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN11" class="ldml-notemarker" id="note-ftn.FN11"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Although my discussion of the
 legislative history has admittedly been lengthy, I have
 omitted many citations in the interest of brevity.&lt;/span&gt; &lt;span data-paragraph-id="124064" data-sentence-id="124207" class="ldml-sentence"&gt;A thorough
 review of the legislative history, including the portion
 cited by the majority in its Footnote 9, reveals no mention
 of a total volumetric cap, permit lifetime, or anything of
 the sort.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="124408" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="124408" data-sentence-id="124409" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN12" class="ldml-notemarker" id="note-ftn.FN12"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; As the majority notes in its Footnote
 4, this appeal only concerns the Denver Basin aquifers.&lt;/span&gt; &lt;span data-paragraph-id="124408" data-sentence-id="124507" class="ldml-sentence"&gt;I
 agree.&lt;/span&gt; &lt;span data-paragraph-id="124408" data-sentence-id="124517" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The statutes&lt;/span&gt; and rules at issue, however, apply
 statewide.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;p data-paragraph-id="124577" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="124577" data-sentence-id="124578" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;